PACHULSKI STANG ZIEHL & JONES LLP
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Counsel for the Debtor and Debtor in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                  §
    In re:                                                        § Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           § Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.                      §
                                                              Objection Deadline: July 21, 2021 at 5:00 p.m. (CT)
                                                                      Hearing Date: Scheduled only if necessary

             TWENTIETH MONTHLY APPLICATION FOR COMPENSATION
             AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG
               ZIEHL & JONES LLP AS COUNSEL TO THE DEBTOR FOR
               THE PERIOD FROM MAY 1, 2021 THROUGH MAY 31, 2021




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
DOCS_SF:105710.2 36027/002
 Name of Applicant:                                    Pachulski Stang Ziehl & Jones LLP

 Authorized to Provide Professional Services to:       Debtor and Debtor in Possession
                                                       October 16, 2019 by Order entered December 2,
 Date of Retention:
                                                       2019
 Period for which Compensation and
                                                       May 1, 2021 - May 31, 2021
 Reimbursement is Sought:
 Amount of Compensation Sought as Actual,
                                                       $1,603,754.00
 Reasonable and Necessary:
 Amount of Expense Reimbursement Sought as
                                                       $28,644.51
 Actual, Reasonable and Necessary:

This is a:            monthly               interim                 final application.

                  The total time expended for preparation of this monthly fee application is

approximately 10.0 hours and the corresponding compensation requested is approximately

$8,000.00.

                             PRIOR MONTHLY APPLICATIONS FILED

   Date                                   Requested        Requested         Approved          Approved
                   Period Covered
   Filed                                     Fees          Expenses             Fees           Expenses
 12/11/19       10.16.19 – 10.31.19      $ 383,583.75      $ 9,958.84       $ 383,583.75       $ 9,958.84
 12/30/19       11.01.19 – 11.30.19      $ 798,767.50      $26,317.71       $ 798,767.50       $26,317.71
 01/24/20       12.01.19 – 12.31.19      $ 589,730.75      $26,266.80       $ 589,730.75       $26,266.80
 02/20/20       01.01.20 – 01.31.20      $ 898,094.25      $28,854.75       $ 898,094.25       $28,854.75
 03/19/20       02.01.20 – 02.29.20      $ 941,043.50      $ 8,092.94       $ 941,043.50       $ 8,092.94
 04/14/20       03.01.20 – 03.31.20      $1,222,801.25     $18,747.77       $1,222,801.25      $18,747.77
 05/21/20       04.01.20 – 04.30.20      $1,113,522.50     $ 3,437.28       $1,113,522.50      $ 3,437.28
 06/23/20       05.01.20 – 05.31.20      $ 803,509.50      $ 4,372.94       $ 803,509.50       $ 4,372.94
 07/20/20       06.01.20 – 06.30.20      $ 818,786.50      $ 3,205.81       $ 818,786.50       $ 3,205.81
 08/11/20       07.01.20 – 07.31.20      $ 739,976.00      $ 1,189.12       $ 739,976.00       $ 1,189.12
 09/24/20       08.01.20 – 08.31.20      $ 672,815.00      $ 3,428.14       $ 672,815.00       $ 3,428.14
 10/21/20       09.01.20 – 09.30.20      $ 828,193.00      $ 7,707.11       $ 828,193.00       $ 7,707.11
 11/20/20       10.01.20 – 10.31.20      $1,119,675.50     $19,132.28       $1,119,675.50      $19,132.28
 12/07/20       11.01.20 – 11.30.20      $ 759,428.00      $ 1,672.80       $ 759,428.00       $ 1,672.80
 01/19/21       12.01.20 – 12.30.20      $1,046,024.00     $ 4,130.90       $1,046,024.00      $ 4,130.90
 03/16/21       01.01.21 – 01.31.21      $2,557,604.00     $32,906.65       $2,557,604.00      $32,906.65
 03/26/21       02.01.21 – 02.28.21      $1,358,786.50     $21,401.29       $1,358,786.50      $21,401.29
 04/20/21       03.01.21 – 03-31-21      $1,277,710.00     $13,687.50       $1,277,710.00      $13,687.50
 05/27/21       04.01.21 – 04.30.21      $1,286,897.00     $ 8,173.58       $1,286,897.00      $ 8,173.58




DOCS_SF:105710.2 36027/002                         2
                                  PSZ&J PROFESSIONALS

                                Position of the Applicant,      Hourly
                                 Number of Years in that        Billing    Total
  Name of Professional                                                                 Total
                                 Position, Prior Relevant        Rate      Hours
      Individual                                                                    Compensation
                              Experience, Year of Obtaining   (including   Billed
                                    License to Practice        Changes)
                             Partner 2001; Member NY Bar
 Robert J. Feinstein                                          $1,395.00    106.60   $148,707.00
                             1982
                             Partner 1987; Member CA Bar
 Ira D. Kharasch                                              $1,325.00     48.20    $63,865.00
                             1982; Member NY Bar 2011
                             Partner 1995; Member CA Bar
 Jeffrey N. Pomerantz                                         $1,295.00    138.90   $179,875.50
                             1989
                             Partner 2008; Member NY Bar
 John A. Morris                                               $1,245.00    264.70   $329,551.50
                             1991
                             Of Counsel 2020; Member TX
 Judith Elkin                                                 $1,195.00    165.60   $197,892.00
                             Bar 1982; Member NY Bar 2004
                             Of Counsel 2020; Member NY
 Karen B. Dine                                                $1,195.00     10.70    $12,786.50
                             Bar 1994
                             Partner 1999; Member NY Bar
 Iain A.W. Nasatir                                            $1,145.00      4.90     $5,610.50
                             1983; Member CA Bar 1990
                             Of Counsel 2004; Member CA
 Harry D. Hochman                                             $1,095.00     35.50    $38,872.50
                             Bar 1987
                             Partner 2014; Member CA Bar
 Gabriel I. Glazer                                            $1,050.00     17.40    $18,270.00
                             2006
                             Partner 2005; Member PA Bar
 James E. O’Neill                                             $1,050.00     12.80    $13,440.00
                             1985; Member DE Bar 2001
                             Partner 2006; Member CA Bar
 Joshua M. Fried                                              $1,050.00     73.30    $76,965.00
                             1995; Member NY Bar 1999
                             Of Counsel 1999; Member CA
 Jonathan J. Kim                                               $995.00      32.70    $32,536.50
                             Bar 1996
                             Of Counsel 2002; Member NY
 Beth E. Levine                                                $950.00       4.90     $4,655.00
                             Bar 1992
                             Of Counsel 2019; Member IL Bar
 Gregory V. Demo                                               $950.00     233.90   $222,205.00
                             2008; Member NY Bar 2015
                             Associate 2020; Member NY Bar
 Hayley R. Winograd                                            $695.00     242.00   $168,190.00
                             2018
 Leslie A. Forrester         Law Library Director              $475.00       6.70     $3,182.50
 Karina K. Yee               Paralegal                         $460.00      18.10     $8,326.00
 La Asia S. Canty            Paralegal                         $460.00     157.00    $72,220.00
 Patricia J. Jeffries        Paralegal                         $460.00       3.30     $1,518.00




DOCS_SF:105710.2 36027/002                     3
                                Position of the Applicant,      Hourly
                                Number of Years in that         Billing    Total
  Name of Professional                                                                 Total
                                 Position, Prior Relevant        Rate      Hours
      Individual                                                                    Compensation
                             Experience, Year of Obtaining    (including   Billed
                                   License to Practice         Changes)
 Sophia L. Lee               Other                              $395.00     3.30      $1,303.50
 Virginia L. Downing         Other                              $395.00     1.60        $632.00
 Beatrice M. Koveleski       Case Management Assistant          $375.00     8.40      $3,150.00

                                      Grand Total:        $1,603,754.00
                                      Total Hours:             1,590.50
                                      Blended Rate:           $1,008.33




                              COMPENSATION BY CATEGORY

              Project Categories                  Total Hours              Total Fees
 Appeals                                                  86.60             $ 83,117.00
 Asset Analysis/ Recovery                                 13.20             $ 13,338.50
 Asset Disposition                                        11.60             $ 12,559.50
 Bankruptcy Litigation                                  1119.20             $1,118,798.00
 Case Administration                                      48.20             $ 39,533.50
 Claims Administration/ Objections                       218.60             $ 239,065.50
 Compensation Professionals                               17.80             $ 17,252.00
 Compensation Professionals/ Other                         1.80             $    1,624.00
 Employee Benefits/ Pension                                8.90             $ 10,357.50
 Financial Filings                                         2.40             $    2,520.00
 General Business Advice                                  31.70             $ 34,422.00
 General Creditors’ Committee                              1.20             $    1,340.00
 Plan & Disclosure Statement                              26.30             $ 26,812.00
 Retention of Professionals/ Others                        3.00             $    3,014.50
 Total                                                 1,590.50             $1,603,754.00




DOCS_SF:105710.2 36027/002                    4
                                EXPENSE SUMMARY

                                             Service Provider               Total
          Expense Category
                                              (if applicable)              Expenses
 Attorney Service               Nationwide Legal                         $ 140.45
 Auto Travel Expense            Elite Transportation, NYC Taxi           $ 180.97
 Bloomberg – Online Research                                             $ 936.40
 Conference Call                AT&T, Loop UP                            $ 951.03
 Federal Express                                                         $ 166.81
 Filing Fee                     File & ServerXpress, Inc.                $    20.00
 Lexis/Nexis – Legal Research                                            $ 1,798.89
 Outside Services               Everlaw eDiscovery database              $11,770.00
 Pacer – Court Research                                                  $ 890.40
 Reproduction Expense                                                    $ 437.80
 Reproduction/ Scan Copy                                                 $ 1,712.70
 Transcript                     Planet Depos, TSG Reporting              $ 9,477.90
                                Chodanggol, New Moon, Potbelly
 Working Meals                  Sandwich Shop, Smith & Wollensky, Tofu   $   161.36
                                House
 Total                                                                   $28,644.71




DOCS_SF:105710.2 36027/002               5
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Counsel for the Debtor and Debtor in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                  §
    In re:                                                        § Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           § Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.                      §
                                                             Objection Deadline: July 21, 2021 at 5:00 p.m. (CT)
                                                                      Hearing Date: Scheduled only if necessary

             TWENTIETH MONTHLY APPLICATION FOR COMPENSATION
             AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG
               ZIEHL & JONES LLP AS COUNSEL TO THE DEBTOR FOR
               THE PERIOD FROM MAY 1, 2021 THROUGH MAY 31, 2021




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



DOCS_SF:105710.2 36027/002
                  Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the

“Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy Rules of the United States Bankruptcy

Court for the Northern District of Texas (collectively, the “LBR”), and the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals [Docket

No. 141] (the “Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the

“Firm”), counsel for the above-captioned debtor and debtor in possession (the “Debtor”) hereby

submits its Twentieth Monthly Application for Compensation and for Reimbursement of Expenses

for the Period from May 1, 2021 through May 31, 2021 (the “Application”).

                  By this Application, PSZ&J seeks (i) a monthly interim allowance of compensation

in the amount of $1,603,754.00 and actual and necessary expenses in the amount of $28,644.71

for a total allowance of $1,632,398.71 and (ii) payment of $1,283,003.20 (80% of the allowed fees

pursuant to the Administrative Order) and reimbursement of $28,644.71 (100% of the allowed

expenses pursuant to the Administrative Order) for a total payment of $1,311,647.91 for the period

May 1, 2021 through May 31, 2021 (the “Interim Period”). In support of this Application, PSZ&J

respectfully represents as follows:

                                               Background

                  1.         On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

for the District of Delaware (the “Delaware Court”). The Debtor has continued in the possession

of its property and has continued to operate and manage its business as a debtor-in-possession



DOCS_SF:105710.2 36027/002                           2
pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been

appointed in this chapter 11 case.

                  2.         On October 29, 2019, the Official Committee of Unsecured Creditors (the

“Committee”) was appointed by the U.S. Trustee in the Delaware Court.

                  3.         On November 14, 2019, the Delaware Court entered the Administrative

Order authorizing certain professionals and members of any official committee (collectively

referred to hereafter as “Professionals”) to submit monthly applications for interim compensation

and reimbursement of expenses pursuant to the procedures specified therein. The Administrative

Order provides, among other things, that (i) a Professional may submit monthly fee applications

and (ii) if no objections are made within twenty-one (21) days after service of the monthly fee

application, the Debtor is authorized to pay the Professional eighty percent (80%) of its requested

fees and one hundred percent (100%) of its requested expenses. The Administrative Order further

provides that, beginning with the period ending December 31, 2019, and at three-month intervals

thereafter—or such other intervals convenient to the Court—each Professional may file an interim

application with seeking Court-approval and allowance of the amounts sought in the Professional’s

monthly fee applications for that period. The Administrative Order further provides that all fees

and expenses paid during the pendency of the Debtor’s case are on an interim basis until final

allowance by the Court.

                  4.         On December 4, 2019, the Delaware Court entered an Order [Docket No.

186] transferring venue of the Debtor’s bankruptcy case to this Court.




DOCS_SF:105710.2 36027/002                           3
                  5.         The retention of PSZ&J, as counsel to the Debtor, was approved effective

as of October 16, 2019, by the Delaware Court’s Order Pursuant to Section 327(a) of the

Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule 2014-

1 Authorizing the Employment and Retention of Pachulski Stang Ziehl & Jones LLP as Counsel

for the Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date, signed on December

2, 2019 [Docket No. 183] (the “Retention Order”). The Retention Order authorized PSZ&J to be

compensated on an hourly basis and to be reimbursed for actual and necessary out-of-pocket

expenses.

                       PSZ&J’S APPLICATION FOR COMPENSATION AND
                            FOR REIMBURSEMENT OF EXPENSES

                                    Compensation Paid and Its Source

                  6.         All services for which PSZ&J requests compensation were performed for

or on behalf of the Debtor. PSZ&J has received no payment and no promises for payment from

any source other than the Debtor for services rendered or to be rendered in any capacity whatsoever

in connection with the matters covered by this Application.              There is no agreement or

understanding between PSZ&J and any other person other than the partners of PSZ&J for the

sharing of compensation to be received for services rendered in this case.

                  7.         PSZ&J had received payments from the Debtor during the year prior to the

Petition Date in the amount of $500,000, including the Debtor’s filing fee for this case, in

connection with the preparation of initial documents and the prepetition representation of the

Debtor. PSZ&J is current as of the Petition Date and has completed its final reconciliation of

prepetition fees and expenses (subject to any prepetition expenses that have not been received to


DOCS_SF:105710.2 36027/002                           4
date). Any retainer balance remaining from the prepetition payments to PSZ&J will be credited

to the Debtor and utilized as PSZ&J’s retainer to apply to postpetition fees and expenses pursuant

to the approved compensation procedures.

                                               Fee Statements

                  8.         The fee statements for the Interim Period are attached hereto as Exhibit A.

These statements contain daily time logs describing the time spent by each attorney and

paraprofessional during the Interim Period. To the best of PSZ&J’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules and the

Administrative Order. PSZ&J’s time reports are entered by or at the direction of the attorney or

paralegal performing the described services. The time reports are organized on a daily basis.

PSZ&J is particularly sensitive to issues of “lumping” and, unless time was spent in one time frame

on a variety of different matters for a particular client, separate time entries are set forth in the time

reports. PSZ&J’s charges for its professional services are based upon the time, nature, extent and

value of such services and the cost of comparable services other than in a case under the

Bankruptcy Code. PSZ&J has reduced its charges related to any non-working travel time to fifty

percent (50%) of PSZ&J’s standard hourly rate. To the extent it is feasible, PSZ&J professionals

attempt to work during travel.

                                      Actual and Necessary Expenses

                  9.         A summary of actual and necessary expenses incurred by PSZ&J for the

Interim Period is attached hereto as part of Exhibit A. PSZ&J customarily charges $0.10 per page

for photocopying expenses related to cases, such as this, arising in Delaware.                  PSZ&J’s



DOCS_SF:105710.2 36027/002                            5
photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZ&J summarizes each client’s photocopying charges on a daily basis.

                  10.        PSZ&J charges $0.25 per page for out-going facsimile transmissions. There

is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZ&J’s calculation of the actual costs incurred by PSZ&J for the

machines, supplies and extra labor expenses associated with sending telecopies and is reasonable

in relation to the amount charged by outside vendors who provide similar services. PSZ&J does

not charge the Debtor for the receipt of faxes in this case.

                  11.        With respect to providers of on-line legal research services (e.g., LEXIS and

WESTLAW), PSZ&J charges the standard usage rates these providers charge for computerized

legal research. PSZ&J bills its clients the actual amounts charged by such services, with no

premium. Any volume discount received by PSZ&J is passed on to the client.

                  12.        PSZ&J believes the foregoing rates are the market rates that the majority of

law firms charge clients for such services. In addition, PSZ&J believes that such charges are in

accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s

Statement of Principles, dated January 12, 1995, regarding billing for disbursements and other

charges.

                                       Summary of Services Rendered

                  13.        The names of the timekeepers of PSZ&J who have rendered professional

services in this case during the Interim Period are set forth in the attached Exhibit A. PSZ&J, by



DOCS_SF:105710.2 36027/002                             6
and through such persons, has prepared and assisted in the preparation of various motions and

orders submitted to the Court for consideration, advised the Debtor on a regular basis with respect

to various matters in connection with the Debtor’s case, and performed all necessary professional

services which are described and narrated in detail below. PSZ&J’s efforts have been extensive

due to the size and complexity of the Debtor’s case.

                                      Summary of Services by Project

                  14.        The services rendered by PSZ&J during the Interim Period can be grouped

into the categories set forth below. PSZ&J attempted to place the services provided in the category

that best relates to such services. However, because certain services may relate to one or more

categories, services pertaining to one category may in fact be included in another category. These

services performed, by categories, are generally described below, with a more detailed

identification of the actual services provided set forth on the attached Exhibit A. Exhibit A

identifies the attorneys and paraprofessionals who rendered services relating to each category,

along with the number of hours for each individual and the total compensation sought for each

category.

A.       Asset Analysis / Recovery and Asset Disposition

                  15.        Time billed to this category relates to the analysis of the Debtor’s assets and

issues relating to the distribution of assets of funds managed by the Debtor. During the Interim

Period, the Firm, among other things, addressed asset monetization issues, including with respect

to potential real estate and other asset disposition transactions.

                             Fees: $25,898.00               Hours: 24.80



DOCS_SF:105710.2 36027/002                             7
B.       Appeals

                  16.        Time allocated to this category during the Interim Period relates to litigation

in response to the appeals of multiple Court orders by Mr. Dondero and certain of his related

entities, including (i) pleadings for the Debtor to intervene in Mr. Dondero’s appeal of Judge

Jernigan’s order denying his request for her recusal from this chapter 11 case; and (ii) the Debtor’s

responsive pleadings in connection with the appeal of the HarbourVest settlement by the Dugaboy

and Get Good Trusts.

                             Fees: $83,117.00               Hours: 86.60

C.       Bankruptcy Litigation

                  17.        During the Interim Period, the Firm, among other things: (i) prepared

pleadings, discovery documents, depositions, and scheduling orders in connection with the

multiple adversary proceedings pending against Mr. Dondero and related defendants in order to

recover amounts on account of unpaid promissory and demand notes owed to the Debtor and the

hearing conducted by the Bankruptcy Court on May 25, 2021 on the motions to withdraw the

reference filed by certain defendants; (ii) attended depositions and responded to discovery

demands in connection the Debtor’s motion to compromise its controversies with UBS pursuant

to Bankruptcy Rule 9019; (iii) prepared for and attended the May 21, 2021 hearing on the UBS

compromise motion; (iv) drafted an objection to Mr. Dondero’s request for a stay of the permanent

injunction hearing and findings of fact and conclusions of law in connection with the preliminary

injunction hearing conducted by the Court on May 11, 2021; (v) prepared and responded to

discovery requests in connection with the permanent injunction hearing; (vi) conferred with the



DOCS_SF:105710.2 36027/002                              8
Committee’s professionals and plan litigation trustee regarding pending litigation matters; (vii)

drafted pleadings in opposition to Mr. Dondero’s motion filed before the Fifth Circuit Court of

Appeals to stay the permanent injunction proceedings before the Bankruptcy Court; (viii) drafted

an opposition to the motion to compel the filing of information pursuant to Bankruptcy Rule

2015.3 filed by the Dugaboy and Get Good Trusts; (ix) drafted pleadings and conducted discovery

with respect to the Debtor’s motion to enforce the reference of the chapter 11 case to the

Bankruptcy Court in response to actions commenced by the Charitable DAF Fund, L.P. and CLO

Holdco, Ltd. (collectively, the “DAF”); (x) researched issues and drafted an opposition to the

DAF’s motion for reconsideration of the July 16, 2020 order appointing James Seery, Jr. as the

Debtor’s CEO and CRO (xi) drafted pleadings, addressed discovery issues. and trial preparation

with respect to the Debtor’s motion to show cause why the DAF and other defendants should not

be held in contempt in preparation for the June 8, 2021 hearing conducted by the Bankruptcy

Court; (xii) drafted a motion to dismiss the DAF’s complaint filed in the District Court with respect

to the Bankruptcy Court’s approval of the HarbourVest settlement in January 2021; and (xiii)

addressed discovery issues and attended depositions in connection with the adversary proceeding

commenced by UBS against the Debtor in March 2021.

                             Fees: $1,118,798.00          Hours: 1,119.20

D.       Case Administration

                  18.        This category relates to work regarding administration of this case. During

the Interim Period, the Firm, among other things: (i) reviewed correspondences and pleadings and

forwarded them to appropriate parties; (ii) maintained a memorandum of critical dates and drafted



DOCS_SF:105710.2 36027/002                            9
memoranda of pending core issues and activities; (iii) maintained service lists; (iv) conferred and

corresponded with parties in interest regarding case status and administration issues; and (v)

participated on regular internal status calls and regarding case issues, and pending matters.

                             Fees: $39,533.50              Hours: 48.20

E.       Claims Administration/ Objections

                  19.        During the Interim Period, the Firm, among other things: (i) addressed

issues, drafted discovery requests and a discovery order in connection with the Debtor’s third

omnibus objection to claims and addressed issues in connection with that pending litigation; (ii)

drafted pleadings in connection with the motion to disqualify Wick Phillips; (iii) reviewed

objections and addressed issues in connection with the UBS 9019 motion and hearing; and (iv)

researched issues in connection with the objections to the administrative expense requests filed by

HCM Fund Advisors, L.P., NexPoint Advisors L.P., and NexBank.

                             Fees: $239,065.50             Hours: 218.60

F.       Compensation of Professionals

                  20.        Time billed to this category relates to compensation of the Firm. During

the Interim Period, the Firm prepared its April fee statement, and drafted certifications of counsel

regarding prior monthly fee statements.

                             Fees: $17,252.00              Hours: 17.80

G.       Compensation of Professionals/ Others

                  21.        Time billed to this category relates to compensation of estate professionals,

other than the Firm. During the Interim Period, the Firm assisted DSI with the preparation of the



DOCS_SF:105710.2 36027/002                            10
Debtor’s ordinary course professionals statement, addressed issues in connection with Deloitte’s

fee application, and prepared fee charts regarding professional fees.

                             Fees: $1,624.00              Hours: 1.80

H.        Employee Benefits/ Pension

                  22.        During the Interim Period, the Firm, among other things, addressed issues

in connection the Debtor’s motion for payment of pre-confirmation compensation of James

Seery, Jr.

                             Fees: $10,357.50             Hours: 8.90

I.        Financial Filing

                  23.        During the Interim Period, the Firm addressed issues in connection with the

preparation and filing of post-confirmation operating reports.

                             Fees: $2,520.00              Hours: 2.40

J.        General Business Advice

                  24.        During the Interim Period, the Firm spent time preparing for and

participating in periodic telephonic meetings with the Debtor’s independent board of directors and

also regularly communicated with members of the Board regarding a variety of general business

matters, including pending litigation, plan structure and implementation issues, and insurance

issues.

                             Fees: $34,422.00             Hours: 31.70




DOCS_SF:105710.2 36027/002                           11
K.       General Creditors’ Committee

                  25.        During the Interim Period, the Firm conferred with the Committee

professionals and plan litigation trustee concerning case issues.

                             Fees: $1,340.00               Hours: 1.20

L.       Plan & Disclosure Statement

                  26.        Time billed to this category during the Interim Period relates to issues

concerning the implementation of the Debtor’s chapter 11 plan, including the proposed exit

financing facility and plan effective date issues.

                             Fees: $26,812.00.00           Hours: 26.30

M.       Retention of Professionals / Others

                  27.        Time allocated to this category relates to issues concerning the retention of

other professionals, including services provided by Hunton, WilmerHale, and ordinary course

professional services.

                             Fees: $3,014.50               Hours: 3.00

                                            Valuation of Services

                  28.        Attorneys and paraprofessionals of PSZ&J expended a total 1,590.50 hours

in connection with their representation of the Debtor during the Interim Period, as follows:

                                     Position of the Applicant,          Hourly
                                      Number of Years in that            Billing      Total
  Name of Professional                                                                             Total
                                      Position, Prior Relevant            Rate        Hours
      Individual                                                                                Compensation
                                   Experience, Year of Obtaining       (including     Billed
                                         License to Practice            Changes)
                                  Partner 2001; Member NY Bar
 Robert J. Feinstein                                                    $1,395.00    106.60      $148,707.00
                                  1982




DOCS_SF:105710.2 36027/002                            12
                                Position of the Applicant,      Hourly
                                 Number of Years in that        Billing    Total
  Name of Professional                                                                 Total
                                 Position, Prior Relevant        Rate      Hours
      Individual                                                                    Compensation
                              Experience, Year of Obtaining   (including   Billed
                                    License to Practice        Changes)
                             Partner 1987; Member CA Bar
 Ira D. Kharasch                                              $1,325.00     48.20    $63,865.00
                             1982; Member NY Bar 2011
                             Partner 1995; Member CA Bar
 Jeffrey N. Pomerantz                                         $1,295.00    138.90   $179,875.50
                             1989
                             Partner 2008; Member NY Bar
 John A. Morris                                               $1,245.00    264.70   $329,551.50
                             1991
                             Of Counsel 2020; Member TX
 Judith Elkin                                                 $1,195.00    165.60   $197,892.00
                             Bar 1982; Member NY Bar 2004
                             Of Counsel 2020; Member NY
 Karen B. Dine                                                $1,195.00     10.70    $12,786.50
                             Bar 1994
                             Partner 1999; Member NY Bar
 Iain A.W. Nasatir                                            $1,145.00      4.90     $5,610.50
                             1983; Member CA Bar 1990
                             Of Counsel 2004; Member CA
 Harry D. Hochman                                             $1,095.00     35.50    $38,872.50
                             Bar 1987
                             Partner 2014; Member CA Bar
 Gabriel I. Glazer                                            $1,050.00     17.40    $18,270.00
                             2006
                             Partner 2005; Member PA Bar
 James E. O’Neill                                             $1,050.00     12.80    $13,440.00
                             1985; Member DE Bar 2001
                             Partner 2006; Member CA Bar
 Joshua M. Fried                                              $1,050.00     73.30    $76,965.00
                             1995; Member NY Bar 1999
                             Of Counsel 1999; Member CA
 Jonathan J. Kim                                               $995.00      32.70    $32,536.50
                             Bar 1996
                             Of Counsel 2002; Member NY
 Beth E. Levine                                                $950.00       4.90     $4,655.00
                             Bar 1992
                             Of Counsel 2019; Member IL Bar
 Gregory V. Demo                                               $950.00     233.90   $222,205.00
                             2008; Member NY Bar 2015
                             Associate 2020; Member NY Bar
 Hayley R. Winograd                                            $695.00     242.00   $168,190.00
                             2018
 Leslie A. Forrester         Law Library Director              $475.00       6.70     $3,182.50
 Karina K. Yee               Paralegal                         $460.00      18.10     $8,326.00
 La Asia S. Canty            Paralegal                         $460.00     157.00    $72,220.00
 Patricia J. Jeffries        Paralegal                         $460.00       3.30     $1,518.00




DOCS_SF:105710.2 36027/002                    13
                                     Position of the Applicant,         Hourly
                                     Number of Years in that            Billing     Total
  Name of Professional                                                                           Total
                                      Position, Prior Relevant           Rate       Hours
      Individual                                                                              Compensation
                                  Experience, Year of Obtaining       (including    Billed
                                        License to Practice            Changes)
 Sophia L. Lee                    Other                                 $395.00       3.30       $1,303.50
 Virginia L. Downing              Other                                 $395.00       1.60         $632.00
 Beatrice M. Koveleski            Case Management Assistant             $375.00       8.40       $3,150.00

                                            Grand Total:         $1,603,754.00
                                            Total Hours:              1,590.50
                                            Blended Rate:            $1,008.33


                  29.        The nature of work performed by these persons is fully set forth in

Exhibit A attached hereto. These are PSZ&J’s normal hourly rates for work of this character. The

reasonable value of the services rendered by PSZ&J for the Debtor during the Interim Period is

$1,603,754.00.

                  30.        In accordance with the factors enumerated in section 330 of the Bankruptcy

Code, it is respectfully submitted that the amount requested by PSZ&J is fair and reasonable given

(a) the complexity of this case, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services, and (e) the costs of comparable services other than in a

case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the requirements of the

Administrative Order and the Guidelines for Reviewing Applications for Compensation and

Expense Reimbursement of Professionals, effective January 1, 2001 (the “Guidelines”) and

believes that this Application complies with such Order and Guidelines.

                  WHEREFORE, PSZ&J respectfully requests that, for the period of May 1, 2021

through May 31, 2021, (i) an interim allowance be made to PSZ&J for compensation in the amount

$1,603,754.00 and actual and necessary expenses in the amount of $28,644.71 for a total allowance


DOCS_SF:105710.2 36027/002                           14
of $1,632,398.71 and (ii) payment of $1,283,003.20 (80% of the allowed fees pursuant to the

Administrative Order) and reimbursement of $28,644.71 (100% of the allowed expenses pursuant

to the Administrative Order) for a total payment of $1,311,647.91, and for such other and further

relief as this Court may deem just and proper.

 Dated: June 30, 2021                       PACHULSKI STANG ZIEHL & JONES LLP
                                             /s/ Jeffrey N. Pomerantz
                                            PACHULSKI STANG ZIEHL & JONES LLP
                                            Jeffrey N. Pomerantz (CA Bar No.143717)
                                            (admitted pro hac vice)
                                            Ira D. Kharasch (CA Bar No. 109084)
                                            (admitted pro hac vice)
                                            Gregory V. Demo (NY Bar 5371992)
                                            (admitted pro hac vice)
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                                                         gdemo@pszjlaw.com
                                            -and-

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                                            Counsel for the Debtor and
                                            Debtor in Possession




DOCS_SF:105710.2 36027/002                       15
                                CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of the foregoing Application has been served
electronically via the Court’s CM/ECF system upon all parties appearing on the attached service
list.
                                             /s/ Jeffrey N. Pomerantz
                                             Jeffrey N. Pomerantz




DOCS_SF:105710.2 36027/002
In re Highland Capital Management, L.P.
Case No. 19-34054-sgj11
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Counsel for the Debtor and Debtor in Possession

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                  §
    In re:                                                        § Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           § Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.                      §

                          CERTIFICATION OF JEFFREY N. POMERANTZ

             Jeffrey N. Pomerantz, under penalty of perjury, certifies as follows:

             1.     I am a partner with the law firm of Pachulski Stang Ziehl & Jones LLP (“PSZ&J”).

I make this certification in accordance with Appendix F of the Local Bankruptcy Rules of the



1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



DOCS_SF:105710.2 36027/002
United States Bankruptcy Court for the Northern District of Texas (“Appendix F”) regarding the

contents of applications for compensation and expenses.

         2.       I have read the Twentieth Monthly Application for Compensation and for

Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor for

the Period from May 1, 2021 to May 31, 2021 (the “Application”).

         3.       Pursuant to section I.G. of Appendix F, I hereby certify that, to the best of my

knowledge, information, and belief, formed after reasonable inquiry, that (a) the compensation and

expense reimbursement sought in the Application is in conformity with Appendix F, except as

specifically noted in the Application, and (b) the compensation and expense reimbursement

requested are billed at rates in accordance with practices no less favorable than those customarily

employed by PSZ&J and generally accepted by PSZ&J’s clients.

                  4.         I have reviewed the requirements of the Guidelines for Reviewing

Applications for Compensation and Expense Reimbursement of Professionals effective January 1,

2001 (the “Guidelines”) and I believe that the Application complies with such Guidelines.

Dated: June 30, 2021
                                                      /s/ Jeffrey N. Pomerantz
                                                      Jeffrey N. Pomerantz




DOCS_SF:105710.2 36027/002                        2
                              Exhibit A
                             May 2021 Invoice




DOCS_SF:105710.2 36027/002
                                 Pachulski Stang Ziehl & Jones LLP
                                           10100 Santa Monica Blvd.
                                                  13th Floor
                                            Los Angeles, CA 90067
                                                                       May 31, 2021
Board of Directors                                                     Invoice 127958
Highland Capital Management LP                                         Client   36027
300 Crescent Court ste. 700                                            Matter   00002
Dallas, TX 75201
                                                                                JNP

RE: Postpetition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 05/31/2021
                   FEES                                               $1,603,754.00
                   EXPENSES                                             $28,644.71
                   TOTAL CURRENT CHARGES                              $1,632,398.71

                   BALANCE FORWARD                                    $2,544,419.98
                   TOTAL BALANCE DUE                                  $4,176,818.69
Pachulski Stang Ziehl & Jones LLP                                     Page:     2
Highland Capital Management LP                                        Invoice 127958
36027 - 00002                                                         May 31, 2021




  Summary of Services by Professional
  ID        Name                        Title               Rate       Hours               Amount

 BEL        Levine, Beth E.             Counsel            950.00       4.90             $4,655.00

 BMK        Koveleski, Beatrice M.      Case Man. Asst.    375.00       8.40             $3,150.00

 GIG        Glazer, Gabriel I.          Partner           1050.00      17.40            $18,270.00

 GVD        Demo, Gregory Vincent       Counsel            950.00     233.90           $222,205.00

 HDH        Hochman, Harry D.           Counsel           1095.00      35.50            $38,872.50

 HRW        Winograd , Hayley R.        Associate          695.00     242.00           $168,190.00

 IAWN       Nasatir, Iain A. W.         Partner           1145.00       4.90             $5,610.50

 IDK        Kharasch, Ira D.            Partner           1325.00      48.20            $63,865.00

 JAM        Morris, John A.             Partner           1245.00     264.70           $329,551.50

 JE         Elkin, Judith               Counsel           1195.00     165.60           $197,892.00

 JEO        O'Neill, James E.           Partner           1050.00      12.80            $13,440.00

 JJK        Kim, Jonathan J.            Counsel            995.00      32.70            $32,536.50

 JMF        Fried, Joshua M.            Partner           1050.00      73.30            $76,965.00

 JNP        Pomerantz, Jeffrey N.       Partner           1295.00     138.90           $179,875.50

 KBD        Dine, Karen B.              Counsel           1195.00      10.70            $12,786.50

 KKY        Yee, Karina K.              Paralegal          460.00      18.10             $8,326.00

 LAF        Forrester, Leslie A.        Other              475.00       6.70             $3,182.50

 LSC        Canty, La Asia S.           Paralegal          460.00     157.00            $72,220.00

 PJJ        Jeffries, Patricia J.       Paralegal          460.00       3.30             $1,518.00

 RJF        Feinstein, Robert J.        Partner           1395.00     106.60           $148,707.00

 SLL        Lee, Sophia L.              Other              395.00       3.30             $1,303.50

 VLD        Downing, Virginia L.        Other              395.00       1.60              $632.00

                                                                    1590.50        $1,603,754.00
Pachulski Stang Ziehl & Jones LLP                              Page:     3
Highland Capital Management LP                                 Invoice 127958
36027 - 00002                                                  May 31, 2021


  Summary of Services by Task Code
  Task Code         Description                       Hours                        Amount

 AA                 Asset Analysis/Recovery[B120]      13.20                     $13,338.50

 AD                 Asset Disposition [B130]           11.60                     $12,559.50

 AP                 Appeals [B430]                     86.60                     $83,117.00

 BL                 Bankruptcy Litigation [L430]     1119.20                $1,118,798.00

 CA                 Case Administration [B110]         48.20                     $39,533.50

 CO                 Claims Admin/Objections[B310]     218.60                    $239,065.50

 CP                 Compensation Prof. [B160]          17.80                     $17,252.00

 CPO                Comp. of Prof./Others               1.80                      $1,624.00

 EB                 Employee Benefit/Pension-B220       8.90                     $10,357.50

 FF                 Financial Filings [B110]            2.40                      $2,520.00

 GB                 General Business Advice [B410]     31.70                     $34,422.00

 GC                 General Creditors Comm. [B150]      1.20                      $1,340.00

 PD                 Plan & Disclosure Stmt. [B320]     26.30                     $26,812.00

 RPO                Ret. of Prof./Other                 3.00                      $3,014.50

                                                     1590.50                $1,603,754.00
Pachulski Stang Ziehl & Jones LLP   Page:     4
Highland Capital Management LP      Invoice 127958
36027 - 00002                       May 31, 2021


  Summary of Expenses
  Description                                        Amount
Attorney Service [E107]                         $140.45
Auto Travel Expense [E109]                      $180.97
Bloomberg                                       $936.40
Working Meals [E111]                            $161.36
Conference Call [E105]                          $951.03
Federal Express [E108]                          $166.81
Filing Fee [E112]                                    $20.00
Lexis/Nexis- Legal Research [E                 $1,798.89
Outside Services                              $11,770.00
Pacer - Court Research                          $890.40
Reproduction Expense [E101]                     $437.80
Reproduction/ Scan Copy                        $1,712.70
Transcript [E116]                              $9,477.90

                                              $28,644.71
Pachulski Stang Ziehl & Jones LLP                                                               Page:     5
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

  Asset Analysis/Recovery[B120]
 05/04/2021   GVD     AA        Draft cease and desist email re HCMLP logo               0.30        950.00       $285.00

 05/04/2021   GVD     AA        Conference with F. Caruso re status of asset             0.50        950.00       $475.00
                                monetizations

 05/06/2021   GVD     AA        Conference with B. Barrett re Harko corporate            0.20        950.00       $190.00
                                issues

 05/06/2021   GVD     AA        Conference with WilmerHale and T. Surgent re             0.60        950.00       $570.00
                                corporate governance issues

 05/07/2021   GVD     AA        Conference with J. Seery re review of CLO                0.40        950.00       $380.00
                                management agreements

 05/07/2021   GVD     AA        Conference re audit letter response                      0.20        950.00       $190.00

 05/11/2021   IDK     AA        E-mails with G Demo and J Pomerantz re Targa             0.20      1325.00        $265.00
                                update on transfers and consider (.2).

 05/11/2021   GVD     AA        Review issues re portfolio company asset and             0.40        950.00       $380.00
                                correspondence re same

 05/11/2021   GVD     AA        Conference with J. Seery re portfolio company asset      0.20        950.00       $190.00

 05/11/2021   GVD     AA        Draft materials re audit request                         2.50        950.00      $2,375.00

 05/11/2021   GVD     AA        Conference with J. Romey re asset transfers              0.20        950.00       $190.00

 05/11/2021   GVD     AA        Correspondence with HCMLP team re revisions to           0.20        950.00       $190.00
                                Cornerstone Shareholder Agreement

 05/11/2021   GVD     AA        Conference with J. Seery re issues re CLOs               0.20        950.00       $190.00

 05/13/2021   GVD     AA        Multiple conferences re audit response and finalize      0.70        950.00       $665.00
                                same

 05/13/2021   GVD     AA        Conference with J. Seery re asset monetization           0.20        950.00       $190.00
                                issues

 05/14/2021   GVD     AA        Conference with J. Romey re open issues and next         0.20        950.00       $190.00
                                steps

 05/17/2021   GVD     AA        Attend conference creditors re assets and go forward     1.60        950.00      $1,520.00
                                plan

 05/18/2021   GVD     AA        Draft response to C. Taylor re Dondero resignations      0.40        950.00       $380.00

 05/20/2021   JNP     AA        Review email regarding status of private equity asset    0.10      1295.00        $129.50
                                and strategy to monetize.

 05/20/2021   GVD     AA        Conference with J. Romey re potential transfer           0.20        950.00       $190.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:     6
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                       Hours            Rate      Amount
                                issues
 05/20/2021   GVD     AA        Conference with DSI and client re follow on             0.40         950.00        $380.00
                                transition issues

 05/21/2021   IDK     AA        E-mails with J Pomerantz and G Demo re Gov Re           0.30       1325.00         $397.50
                                issues and need for call with Bermuda counsel (.2);
                                E-mails with Bermuda counsel re same (.1).

 05/24/2021   JAM     AA        Tel c. w/ J. Pomerantz, I. Kharasch, G. Demo re:        0.20       1245.00         $249.00
                                asset disposition/ordinary course issues (0.2)

 05/26/2021   JNP     AA        Conference with J. Seery, J. Romey, Gregory V.          0.70       1295.00         $906.50
                                Demo and others regarding analysis of monetization
                                of asset.

 05/26/2021   GVD     AA        Conference with F. Caruso re open deal issues           0.50         950.00        $475.00

 05/26/2021   GVD     AA        Conference with PSZJ team and HCMLP re                  0.60         950.00        $570.00
                                ownership issues

 05/27/2021   JNP     AA        Conference with Board,Gregory V. Demo, White            0.80       1295.00        $1,036.00
                                and Case, DSI and company regarding review and
                                analysis of issues relating to disposition of asset.

 05/28/2021   GVD     AA        Review discovery issues re portfolio company asset      0.20         950.00        $190.00

                                                                                        13.20                    $13,338.50

  Asset Disposition [B130]
 05/17/2021   GVD     AD        Conference with F. Caruso re asset monetization         0.20         950.00        $190.00
                                issues

 05/18/2021   JNP     AD        Review proposal for offer for real estate.              0.10       1295.00         $129.50

 05/18/2021   JNP     AD        Conference with J. Seery regarding offer regarding      0.20       1295.00         $259.00
                                real estate and next steps.

 05/19/2021   JNP     AD        Email to J. Seery regarding asset sale.                 0.10       1295.00         $129.50

 05/20/2021   JNP     AD        Emails regarding sale of asset and procedure.           0.10       1295.00         $129.50

 05/20/2021   JNP     AD        Review and respond to email regarding sale of real      0.10       1295.00         $129.50
                                estate asset.

 05/21/2021   IDK     AD        E-mails with G Demo, J Pomerantz over weekend           0.20       1325.00         $265.00
                                on asset sale issues.

 05/21/2021   JNP     AD        Conference with Board and others regarding sale of      0.80       1295.00        $1,036.00
                                real estate and strategy regarding other asset
                                dispositions.
Pachulski Stang Ziehl & Jones LLP                                                               Page:     7
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

 05/21/2021   GVD     AD        Conference with HCMLP team, board and PSZJ               0.80        950.00      $760.00
                                team re potential asset sales

 05/22/2021   JNP     AD        Email to and from institutional party regarding          0.10      1295.00       $129.50
                                interest in assets.

 05/23/2021   JNP     AD        Review and respond to Gregory V. Demo email              0.10      1295.00       $129.50
                                regarding asset sale.

 05/23/2021   GVD     AD        Multiple conferences with J. Seery re potential asset    0.50        950.00      $475.00
                                sale

 05/24/2021   IDK     AD        Attend conference call on issue on sale of stock and     0.20      1325.00       $265.00
                                protocols and potential amendment re same (.2).

 05/24/2021   JNP     AD        Conference with Gregory V. Demo, Ira D. Kharasch         0.20      1295.00       $259.00
                                and John A. Morris regarding strategy regarding
                                asset sales.

 05/24/2021   GVD     AD        Conference with PSZJ team re potential asset sale        0.20        950.00      $190.00

 05/25/2021   GVD     AD        Attend to outstanding issues re asset transactions       0.40        950.00      $380.00

 05/26/2021   JNP     AD        Review purchase agreement regarding sale of real         0.30      1295.00       $388.50
                                property and provide comments.

 05/26/2021   GVD     AD        Conference with J. Seery re potential sale               0.10        950.00       $95.00
                                transactions

 05/26/2021   GVD     AD        Conference re potential liquidation of subsidiary        0.70        950.00      $665.00
                                interest

 05/26/2021   GVD     AD        Review and comment on PSA re potential sale              0.70        950.00      $665.00

 05/26/2021   GVD     AD        Conference with HCMLP group re potential asset           0.70        950.00      $665.00
                                sale

 05/26/2021   GVD     AD        Conference with J. Pomerantz re potential asset sales    0.10        950.00       $95.00

 05/27/2021   IDK     AD        Telephone conferences with J Pomerantz re Targa          0.30      1325.00       $397.50
                                stock sale issues and consider (.3).

 05/27/2021   JNP     AD        Review and respond to Gregory V. Demo email              0.10      1295.00       $129.50
                                regarding Purchase Agreement for sale.

 05/27/2021   JNP     AD        Conference with John A. Morris and then Ira D.           0.50      1295.00       $647.50
                                Kharasch regarding call with Board regarding sale of
                                asset.

 05/27/2021   GVD     AD        Review and revise draft purchase and sale agreement      1.00        950.00      $950.00

 05/27/2021   GVD     AD        Conference with PSZJ, HCMLP and Board re                 0.80        950.00      $760.00
                                potential asset sale
Pachulski Stang Ziehl & Jones LLP                                                               Page:     8
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                       Hours            Rate      Amount

 05/28/2021   IDK     AD        E-mails with J Pomerantz, G Demo on Petrocap sale       0.20       1325.00         $265.00
                                and narrative on same, including brief review (.2).

 05/28/2021   JNP     AD        Review analysis of proposed asset sale.                 0.10       1295.00         $129.50

 05/28/2021   GVD     AD        Draft summary of sales process re potential sale        0.90         950.00        $855.00

 05/29/2021   JAM     AD        Review/revise Petrocap section 363 analysis (0.7);      0.80       1245.00         $996.00
                                e-mail to J. Pomerantz, G. Demo re: JAM comments
                                to Petrocap section 363 analysis (0.1)

                                                                                        11.60                    $12,559.50

  Appeals [B430]
 04/08/2021   LSC     AP        Preparation of attorney documents in connection         2.00         460.00        $920.00
                                with appeal.

 04/09/2021   LSC     AP        Continued preparation of required filings in the        0.90         460.00        $414.00
                                various appeals and coordinate filing of same with
                                local counsel.

 04/14/2021   LSC     AP        Prepare certificates of interested persons for the      2.10         460.00        $966.00
                                various appeals.

 05/02/2021   IDK     AP        Review of J Pomerantz comments to draft appellee        0.30       1325.00         $397.50
                                brief re Acis settlement.

 05/02/2021   JNP     AP        Review and comment on Acis appeal brief.                0.50       1295.00         $647.50

 05/03/2021   HDH     AP        Research and revise appellee brief                      1.70       1095.00        $1,861.50

 05/03/2021   IDK     AP        Review of J Pomerantz comments to draft of              0.90       1325.00        $1,192.50
                                appellee brief re Dondero appeal of Acis (.2);
                                E-mails with H Hochman, J Pomerantz re same,
                                including feedback on questions (.3); Review of H
                                Hochman’s revised appellee brief (.4).

 05/03/2021   JNP     AP        Review and respond to email from Harry D.               0.10       1295.00         $129.50
                                Hochman regarding Acis appeal.

 05/03/2021   JAM     AP        Revise draft motion to intervene in recusal appeal      1.00       1245.00        $1,245.00
                                (0.4); draft order on motion to intervene in recusal
                                appeal (0.4); e-mails with Z. Annable, J. Pomerantz,
                                H. Winograd re: issues relating to intervention in
                                recusal appeal (0.2).

 05/03/2021   HRW     AP        Draft motion to recuse in Dondero appeal.               0.40         695.00        $278.00

 05/04/2021   HDH     AP        Review correspondence and revise Acis brief             0.30       1095.00         $328.50

 05/04/2021   IDK     AP        Review of H Hochman’s revised draft appellee brief      0.40       1325.00         $530.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:     9
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount
                                (.3); E-mail CEO re same (.1).
 05/04/2021   IDK     AP        Review of 5th Cir order granting motion for direct       0.20      1325.00        $265.00
                                appeal and feedback of others (.2).

 05/04/2021   JNP     AP        Review 5th Circuit Order granting petition for direct    0.10      1295.00        $129.50
                                appeal.

 05/04/2021   JNP     AP        Conference with Ira D. Kharasch regarding appellate      0.20      1295.00        $259.00
                                issues.

 05/04/2021   JNP     AP        Conference with J. Elkin regarding various appellate     0.30      1295.00        $388.50
                                issues.

 05/04/2021   HRW     AP        Review designation of record in Dugaboy appeal of        0.50        695.00       $347.50
                                HarbourVest.

 05/05/2021   HDH     AP        Revise Acis brief                                        0.10      1095.00        $109.50

 05/05/2021   HDH     AP        Review correspondence and revise Acis brief              0.60      1095.00        $657.00

 05/05/2021   IDK     AP        E-mails with H Hochman and J Pomerantz re last           0.60      1325.00        $795.00
                                issues in draft appellee brief re Acis (.2); Numerous
                                E-mails with H Hochman, local counsel, re proposed
                                final changes to appellee brief on Acis settlement,
                                including review and my approval of same (.4).

 05/05/2021   JNP     AP        Emails regarding Acis appellate brief.                   0.10      1295.00        $129.50

 05/05/2021   JNP     AP        Review revisions to motion to intervene.                 0.10      1295.00        $129.50

 05/05/2021   JAM     AP        Review/revise Motion to Intervene in appeal of           0.70      1245.00        $871.50
                                order denying recusal motion (0.6); e-mail to J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                revised Motion to Intervene in appeal of order
                                denying recusal motion (0.1)

 05/05/2021   GVD     AP        Review issues re Acis appeal and conference with         0.40        950.00       $380.00
                                counsel to Neutra re same

 05/05/2021   HRW     AP        Edit and draft motion to intervene and related           2.90        695.00      $2,015.50
                                documents in Dondero appeal of recusal order (2.9).

 05/06/2021   JNP     AP        Review of emails and order regarding motion to           0.10      1295.00        $129.50
                                intervene.

 05/06/2021   JNP     AP        Review and forward 5th Circuit pro hac vice              0.10      1295.00        $129.50
                                application to L. Canty.

 05/06/2021   JMF     AP        Review motion to stay proceedings re pendency of         0.40      1050.00        $420.00
                                mandamus petition.

 05/06/2021   JAM     AP        Review/revise motion to intervene in Recusal             1.30      1245.00       $1,618.50
                                Appeal (0.4); draft proposed Order in connection
Pachulski Stang Ziehl & Jones LLP                                                              Page:    10
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                with motion to intervene in Recusal Appeal (0.5);
                                e-mails with J. Pomerantz, I. Kharasch, G. Demo, H.
                                Winograd re: motion to intervene and proposed
                                Order in Recusal Motion (0.2); draft e-mail to M.
                                Lang, J. Pomerantz, G. Demo re: proposed Order on
                                motion to intervene on Recusal Motion (0.2).
 05/06/2021   LSC     AP        Prepare pro hac vice applications, orders, and          1.10        460.00       $506.00
                                attachments for several attorneys in connection with
                                District Court appeals.

 05/06/2021   HRW     AP        Review motion to intervene in Dondero appeal of         1.00        695.00       $695.00
                                recusal order (0.5); Review Dondero motion to stay
                                injunction proceeding to Fifth Circuit (0.5).

 05/07/2021   JAM     AP        Revise motion and order concerning Motion to            0.40      1245.00        $498.00
                                Intervene in appeal of Recusal Order (0.3); e-mails
                                with Z. Annable, J. Pomerantz, G. Demo, H.
                                Winograd re: motion and order concerning Motion
                                to Intervene in appeal of Recusal Order (0.1).

 05/10/2021   HRW     AP        Research re: response in Dondero recusal appeal         2.70        695.00      $1,876.50
                                (2.5); Review and edit counter-designation of record
                                in Dugaboy appeal (0.2).

 05/11/2021   IDK     AP        Office conferences with H Hochman re need for           0.30      1325.00        $397.50
                                appellee brief on Dondero appeal of HarbourVest
                                settlement (.2); E-mails with J Pomerantz re same,
                                timing (.1).

 05/12/2021   IDK     AP        E-mails with H Hochman and J Morris re appeal of        0.20      1325.00        $265.00
                                HarbourVest and related issues (.2).

 05/12/2021   JAM     AP        Review documents and send e-mails to J.                 0.50      1245.00        $622.50
                                Pomerantz, I. Kharasch, R. Feinstein, G. Demo re:
                                HarbourVest appeal (0.5).

 05/12/2021   LSC     AP        Retrieve and transmit documents regarding               0.40        460.00       $184.00
                                HarbourVest settlement.

 05/17/2021   JNP     AP        Review opposition to debtors motion to intervene in     0.20      1295.00        $259.00
                                recusal motion.

 05/17/2021   JNP     AP        Emails regarding stay pending appeal.                   0.10      1295.00        $129.50

 05/17/2021   JMF     AP        Review Dugaboy appellant brief re HarbourVest           0.30      1050.00        $315.00
                                appeal.

 05/18/2021   JNP     AP        Review Dondero motion to dismiss stay and               0.10      1295.00        $129.50
                                mandamus regarding injunction order.

 05/19/2021   JNP     AP        Review Dondero reply brief regarding Acis appeal.       0.20      1295.00        $259.00
Pachulski Stang Ziehl & Jones LLP                                                             Page:    11
Highland Capital Management LP                                                                Invoice 127958
36027 - 00002                                                                                 May 31, 2021


                                                                                      Hours           Rate     Amount

 05/19/2021   HRW     AP        Draft reply in support of motion to intervene in       7.50        695.00      $5,212.50
                                appeal of recusal order (7.5).

 05/20/2021   HDH     AP        Review and analyze Harbour Vest settlement brief       1.80      1095.00       $1,971.00

 05/20/2021   HDH     AP        Begin drafting appellee brief                          2.50      1095.00       $2,737.50

 05/20/2021   IDK     AP        E-mails with H Hochman and local counsel re            0.20      1325.00        $265.00
                                HarbourVest appeal issues.

 05/20/2021   HRW     AP        Draft reply in support of motion to intervene in       8.50        695.00      $5,907.50
                                appeal of recusal order (8.5).

 05/21/2021   JNP     AP        Review and comment on reply regarding motion to        0.20      1295.00        $259.00
                                intervene.

 05/21/2021   JAM     AP        Review/revise Reply on Motion to Intervene (2.2);      2.90      1245.00       $3,610.50
                                e-mail to PSZJ team re: draft Reply on Motion to
                                Intervene (0.1); review/revise Reply on Motion to
                                Intervene (0.3); revise JAM declaration (0.1);
                                communications with H. Winograd re: Reply and
                                Declaration for Motion to Intervene (0.2).

 05/21/2021   HRW     AP        Draft reply and declaration in support of motion to    2.50        695.00      $1,737.50
                                intervene in appeal of recusal order (2.5).

 05/24/2021   HDH     AP        Review record regarding Harbour Vest settlement        3.30      1095.00       $3,613.50
                                appeal

 05/25/2021   HDH     AP        Draft appellee brief regarding Harbour Vest            3.70      1095.00       $4,051.50
                                settlement

 05/25/2021   JNP     AP        Consider retention issues regarding Fifth Circuit      0.30      1295.00        $388.50
                                Appeals and emails regarding same.

 05/26/2021   HDH     AP        Review record and draft Harbour Vest appellee brief    4.20      1095.00       $4,599.00

 05/27/2021   HDH     AP        Work on Harbour Vest settlement appellee brief         3.50      1095.00       $3,832.50

 05/27/2021   IDK     AP        E-mails with H Hochman re status, timing on            0.30      1325.00        $397.50
                                HarbourVest settlement and our appellee brief (.2);
                                E-mails with J Pomerantz re same (.1).

 05/27/2021   JNP     AP        Conference with appellate lawyers and John A.          1.50      1295.00       $1,942.50
                                Morris regarding potential retention (2x).

 05/27/2021   JNP     AP        Conference with John A. Morris and J. Seery            0.30      1295.00        $388.50
                                regarding retention of appellate lawyer.

 05/27/2021   JNP     AP        Email to appellate lawyers regarding retention.        0.20      1295.00        $259.00

 05/27/2021   JNP     AP        Email to Board regarding appellate lawyer.             0.10      1295.00        $129.50
Pachulski Stang Ziehl & Jones LLP                                                               Page:    12
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                       Hours            Rate      Amount

 05/27/2021   JAM     AP        Tel c. w/ J. Pomerantz, A. Charnes re: possible         1.40       1245.00        $1,743.00
                                engagement as appellate counsel (0.6); tel c. w/ J.
                                Pomerantz re: interview for appellate lawyer (0.1);
                                tel c. w/ J. Pomerantz, D. Geyser re: possible
                                engagement as appellate counsel (0.7)

 05/28/2021   JNP     AP        Email to and from D. Geyser regarding next steps.       0.10       1295.00         $129.50

 05/28/2021   HRW     AP        Review summary of litigation chart in connection        0.50         695.00        $347.50
                                with opposition to Advisors motion to stay pending
                                appeal in Fifth Circuit (0.5)

 05/29/2021   HDH     AP        Review record and draft Harbour Vest appellee brief     2.70       1095.00        $2,956.50

 05/29/2021   IDK     AP        Review of various drafts of opposition to motion for    0.50       1325.00         $662.50
                                stay of plan pending appeal and related
                                correspondence re same.

 05/30/2021   HDH     AP        Draft Harbour Vest appellee brief                       4.80       1095.00        $5,256.00

 05/31/2021   HDH     AP        Work on Harbour Vest brief                              6.30       1095.00        $6,898.50

                                                                                        86.60                    $83,117.00

  Bankruptcy Litigation [L430]
 04/01/2021   LSC     BL        Assist with preparation of discovery responses and      0.60         460.00        $276.00
                                correspondence regarding the same.

 04/05/2021   LSC     BL        Prepare NOA in UBS adversary proceeding.                0.20         460.00         $92.00

 04/07/2021   LSC     BL        Review, analyze, and revise adversary proceeding        3.30         460.00       $1,518.00
                                and appellate pleadings/orders and update status
                                report.

 04/07/2021   LSC     BL        Revise brief in support of Motion to Disqualify         0.90         460.00        $414.00
                                Wick Phillips.

 04/08/2021   LSC     BL        Review, analyze, and revise adversary proceeding        2.80         460.00       $1,288.00
                                pleadings and update status chart.

 04/13/2021   LSC     BL        Retrieval and preparation of document production        0.30         460.00        $138.00
                                for attorney review.

 04/19/2021   LSC     BL        Assist with finalizing discovery requests and           0.60         460.00        $276.00
                                correspondence regarding the same.

 04/20/2021   LSC     BL        Preparation of UBS document production and              3.30         460.00       $1,518.00
                                correspondence regarding the same.

 04/22/2021   LSC     BL        Preparation of additional document production to        3.00         460.00       $1,380.00
                                UBS.
Pachulski Stang Ziehl & Jones LLP                                                                Page:    13
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount

 04/26/2021   LSC     BL        Preparation of exhibits for Dondero trial, revisions      4.10        460.00      $1,886.00
                                to same, and research and correspondence in
                                connection with the same.

 04/26/2021   LSC     BL        Participate on call re outstanding litigation/appeals.    0.80        460.00       $368.00

 04/26/2021   LSC     BL        Preparation of UBS document production, address           4.80        460.00      $2,208.00
                                issues with respect to the same, and correspondence
                                in connection with the same (3.9); preparation of
                                correspondence for J. Morris regarding pending
                                litigation (.9).

 04/27/2021   LSC     BL        Review pleadings, orders, and notices and Update          2.40        460.00      $1,104.00
                                litigation chart.

 04/29/2021   LSC     BL        Review pleadings, orders, dockets, and update             1.90        460.00       $874.00
                                litigation chart and corespond with M. DesJardien
                                and B. Anavim regarding the same.

 04/29/2021   LSC     BL        Preparation of additional document production to          2.10        460.00       $966.00
                                UBS.

 05/01/2021   JAM     BL        Continued work on proposed Findings of Fact for           5.60      1245.00       $6,972.00
                                Dondero permanent injunction hearing (5.1); e-mail
                                to J. Pomerantz, I. Kharasch, G. Demo, H. Winograd
                                re: proposed Findings of Fact for Dondero
                                permanent injunction hearing (0.2); telephone
                                conference with J. Seery re: litigation matters (0.1);
                                telephone conference with J. Pomerantz re: litigation
                                matters (0.2).

 05/01/2021   GVD     BL        Further revise motion to enforce the reference            4.30        950.00      $4,085.00

 05/01/2021   HRW     BL        Draft proposed conclusions of law for trial in            6.50        695.00      $4,517.50
                                Dondero adversary proceeding.

 05/02/2021   IDK     BL        Review of J Pomerantz comments to draft                   0.30      1325.00        $397.50
                                opposition to Advisors, others motions for
                                withdrawal of reference.

 05/02/2021   JJK     BL        Analysis withdrawal issues; revise                        4.30        995.00      $4,278.50
                                NexPoint/HCMFA oppositions.

 05/02/2021   JNP     BL        Review and comment on findings of fact and                0.50      1295.00        $647.50
                                conclusions of law regarding Dondero Injunction
                                complaint.

 05/02/2021   JNP     BL        Review emails regarding removal motion and                0.10      1295.00        $129.50
                                respond.

 05/02/2021   JNP     BL        Review and comment on opposition to motion to             0.30      1295.00        $388.50
                                withdraw reference.
Pachulski Stang Ziehl & Jones LLP                                                                Page:    14
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate      Amount

 05/02/2021   RJF     BL        Review and comment on draft motion to enforce the         1.30      1395.00        $1,813.50
                                reference.

 05/02/2021   JAM     BL        Continued work on proposed Findings of Fact and           8.50      1245.00       $10,582.50
                                Conclusions of Law (7.6); e-mail to J. Seery, J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                current version of proposed Findings of Fact and
                                Conclusions of Law (0.1); telephone conference
                                with H. Winograd re: preparation of response to
                                Dondero emergency motion to continue permanent
                                injunction hearing (0.1); e-mail to J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: current
                                litigation matters (0.3); telephone conference with J.
                                Pomerantz re: litigation matters (0.1); e-mails with
                                D. Rukavina, L. Hogewood re: discovery for
                                Advisors’ adversary proceeding (0.1) J. Pomerantz
                                re: litigation matters (0.1); e-mails with D.
                                Rukavina, L. Hogewood re: discovery for Advisors’
                                adversary proceeding (0.1).

 05/02/2021   JAM     BL        E-mail to J. Pomerantz, I. Kharasch, G. Demo. H.          0.20      1245.00         $249.00
                                Winograd re: Dondero testimony concerning 9019
                                proceedings (0.2).

 05/02/2021   GVD     BL        Further revise and circulate motion to enforce the        4.80        950.00       $4,560.00
                                reference

 05/02/2021   GVD     BL        Correspondence re extension of answer date                0.20        950.00        $190.00

 05/02/2021   HRW     BL        Draft opposition to motion to stay trial in Dondero       9.50        695.00       $6,602.50
                                adversary proceeding.

 05/03/2021   IAWN BL           Telephone conference with Jeffrey N Pomerantz and         0.50      1145.00         $572.50
                                Gregory V Demo re DAF litigation and Seery

 05/03/2021   IDK     BL        Attend conference call with J Pomerantz, others, on       1.00      1325.00        $1,325.00
                                update on all litigation matters and impact of
                                potential delayed effective date, exit financing
                                motion (1.0).

 05/03/2021   IDK     BL        Review of G Demo's revised motion to enforce the          0.40      1325.00         $530.00
                                reference, as well as feedback of others on changes,
                                and consider.

 05/03/2021   IDK     BL        E-mails with J Kim re his latest revised opposition to    1.40      1325.00        $1,855.00
                                NextPoint motion to withdraw the reference, as well
                                as feedback of others re same and consider (.5)
                                Attend conference call with J Pomerantz, J Kim, G
                                Demo re open issues on draft opposition to motions
                                to withdraw reference (.3); Review of further revised
                                draft of opposition to same (.2); Attend next
                                conference call re same on next draft of opposition
Pachulski Stang Ziehl & Jones LLP                                                             Page:    15
Highland Capital Management LP                                                                Invoice 127958
36027 - 00002                                                                                 May 31, 2021


                                                                                      Hours           Rate     Amount
                                (.4).
 05/03/2021   JJK     BL        Emails Pomerantz, Demo re: opp to                      2.40        995.00      $2,388.00
                                NexPoint/HCMFA withdrawal reference motions;
                                research/analysis/revisions to same.

 05/03/2021   JJK     BL        Prepare opp to HCMFA withdrawal reference              2.70        995.00      $2,686.50
                                motion and analysis for same.

 05/03/2021   JJK     BL        Analysis/revise oppositions to NexPoint and            3.70        995.00      $3,681.50
                                HCMFA reference motions.

 05/03/2021   JJK     BL        Research/analysis re: reference withdrawal matters.    1.00        995.00       $995.00

 05/03/2021   JNP     BL        Review opposition to Dondero motion to continue        0.20      1295.00        $259.00
                                trial on injunction.

 05/03/2021   JNP     BL        Conference with John A. Morris regarding various       0.20      1295.00        $259.00
                                pending litigation issues and plan confirmation
                                issues.

 05/03/2021   JNP     BL        Conference with PSZJ team regarding litigation         1.30      1295.00       $1,683.50
                                update.

 05/03/2021   JNP     BL        Conference with John A. Morris regarding               0.20      1295.00        $259.00
                                scheduling call with M. Kirchner and others
                                regarding litigation review.

 05/03/2021   JNP     BL        Conference with Ira D. Kharasch regarding various      0.20      1295.00        $259.00
                                pending litigation issues and Plan confirmation
                                issues.

 05/03/2021   JNP     BL        Brief review of motion to enforce reference.           1.00      1295.00       $1,295.00

 05/03/2021   JNP     BL        Conference with Robert J. Feinstein regarding          0.30      1295.00        $388.50
                                motion to enforce reference and related litigation
                                matters.

 05/03/2021   JNP     BL        Conference with Robert J. Feinstein and Gregory V.     0.20      1295.00        $259.00
                                Demo regarding motion to enforce reference.

 05/03/2021   JNP     BL        Conference with Iain A. W. Nasatir and Gregory V.      0.50      1295.00        $647.50
                                Demo regarding DAF insurance issues and related
                                matters.

 05/03/2021   JNP     BL        Review revised motion to withdraw reference            0.30      1295.00        $388.50
                                response.

 05/03/2021   JNP     BL        Conference with Jonathan J. Kim, Ira D. Kharasch       0.60      1295.00        $777.00
                                and Gregory V. Demo regarding motion to withdraw
                                reference responses (2x).

 05/03/2021   RJF     BL        Litigation update call.                                1.30      1395.00       $1,813.50
Pachulski Stang Ziehl & Jones LLP                                                                 Page:    16
Highland Capital Management LP                                                                    Invoice 127958
36027 - 00002                                                                                     May 31, 2021


                                                                                          Hours           Rate      Amount

 05/03/2021   RJF     BL        Telephone conference with Jeffrey N. Pomerantz             0.20      1395.00         $279.00
                                regarding motion to enforce.

 05/03/2021   RJF     BL        Call with Jeffrey N. Pomerantz, Gregory V. Demo et         0.20      1395.00         $279.00
                                al regarding DAF.

 05/03/2021   RJF     BL        Review and revise draft motion to enforce.                 0.80      1395.00        $1,116.00

 05/03/2021   JMF     BL        Telephone call with G. Demo, J.N. Pomerantz, H.            2.10      1050.00        $2,205.00
                                Winograd, J. Morris, R. Feinstein re litigation issues
                                (1.8); review litigation memo re pending matters
                                (.3).

 05/03/2021   JMF     BL        Review proposed findings of fact re pre trial order.       0.40      1050.00         $420.00

 05/03/2021   LAF     BL        Legal research re: Investment Advisors Act.                1.50        475.00        $712.50

 05/03/2021   JAM     BL        Continued work on proposed Findings of Fact and           10.10      1245.00       $12,574.50
                                Conclusions of Law (Dondero permanent injunction
                                proceeding) (4.1); e-mail to J. Seery, J. Pomerantz, I.
                                Kharasch, G. Demo, H. Wingrad re: revised version
                                of proposed Findings of Fact and Conclusions of
                                Law (Dondero permanent injunction proceeding)
                                and related issues (0.2); review/revise objection to
                                Dondero’s motion for a continuance of the
                                permanent injunction trial (2.5); telephone
                                conference with J. Seery re: litigation matters (0.1);
                                review/revise draft joint Pre-Trial Order (0.5);
                                e-mails with B. Assink, J. Bonds, J. Omerantz, G.
                                Demo, H. Winograd re: revisions to proposed Joint
                                Pre-Trial Order (0.2); review/review proposed
                                Findings of Fact and Conclusions of Law (0.4);
                                telephone conference with J. Seery re: litigation
                                matters (0.1); telephone conference with G. Demo
                                re: litigation matters (0.1); telephone conference
                                with J. Pomerantz, F. Feinstein, I. Kharasch, G.
                                Demo, H. Winograd, J. Fried re: litigation
                                status/update (1.2); review proposed Findings of
                                Fact and Conclusions of Law (0.4); review revised
                                Joint Pre-Trial Order and e-mail to B. Assink re:
                                same (0.2); telephone conference with J. Pomerantz
                                re: litigation matters (0.1).

 05/03/2021   GVD     BL        Review findings of fact and conclusion of law re           1.00        950.00        $950.00
                                contempt hearing

 05/03/2021   GVD     BL        Review engagement letters re Reid Collins and              0.40        950.00        $380.00
                                correspondence with T. Surgent re same

 05/03/2021   GVD     BL        Further revise and circulate motion to enforce the         4.50        950.00       $4,275.00
                                reference
Pachulski Stang Ziehl & Jones LLP                                                                Page:    17
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount

 05/03/2021   GVD     BL        Conference with J. Pomerantz and R. Feinstein re          0.20        950.00       $190.00
                                DAF brief

 05/03/2021   GVD     BL        Conference with PSZJ team re indemnification              0.60        950.00       $570.00
                                issues for J. Seery

 05/03/2021   GVD     BL        Revise and serve demand letter re Dugaboy note            0.30        950.00       $285.00

 05/03/2021   GVD     BL        Revise and serve demand letter re Hunter Mountain         0.30        950.00       $285.00
                                note

 05/03/2021   GVD     BL        Conference with PSZJ team re response to                  0.40        950.00       $380.00
                                withdrawal of reference in NPA notes litigation

 05/03/2021   GVD     BL        Review and revise response to motion to enforce the       1.20        950.00      $1,140.00
                                reference in NPA notes litigation

 05/03/2021   GVD     BL        Follow up conference with PSZJ re opposition to           0.30        950.00       $285.00
                                motion to withdraw the reference in NPA litigation

 05/03/2021   GVD     BL        Conference with J. Morris re status of notes              0.20        950.00       $190.00
                                litigation

 05/03/2021   GVD     BL        Review and circulate stipulation re extension of          0.10        950.00        $95.00
                                answer deadline in UBS adversary

 05/03/2021   GVD     BL        Correspondence with Latham re additional discovery        0.30        950.00       $285.00
                                issues

 05/03/2021   JE      BL        Correspondence with Mr. Demo (.2); research for           3.40      1195.00       $4,063.00
                                response to motion on July 16 order (3.2).

 05/03/2021   HRW     BL        Prepare for PSZJ call regarding outstanding               0.20        695.00       $139.00
                                litigation.

 05/03/2021   HRW     BL        PSZJ call regarding outstanding litigation.               1.20        695.00       $834.00

 05/03/2021   HRW     BL        Draft proposed conclusions of law and findings of         4.00        695.00      $2,780.00
                                fact for trial in Dondero adversary proceeding.

 05/03/2021   HRW     BL        Review JPTOs for trial in Dondero adversary               0.90        695.00       $625.50
                                proceeding.

 05/03/2021   HRW     BL        Draft opposition to motion to stay trial in Dondero       2.50        695.00      $1,737.50
                                adversary proceeding.

 05/04/2021   IDK     BL        Review of J Kim's next version of opposition to           1.00      1325.00       $1,325.00
                                NextPoint motion to withdraw reference (.3);
                                E-mails with J Kim re my proposed changes to
                                same, as well as comments/questions from J
                                Pomerantz re same and J Kim response (.5); Review
                                of final revised opposition to same and green light to
                                file (.2).
Pachulski Stang Ziehl & Jones LLP                                                                Page:    18
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount

 05/04/2021   JJK     BL        Emails Demo, Morris, Pomerantz on withdrawal              2.20        995.00      $2,189.00
                                reference pleadings issues; research/revise
                                oppositions to reference withdrawal motions.

 05/04/2021   JJK     BL        Emails Demo on withdrawal reference pleadings             3.90        995.00      $3,880.50
                                issues; research/revise oppositions to reference
                                withdrawal motions.

 05/04/2021   JNP     BL        Conference with J. Seery regarding various litigation     0.40      1295.00        $518.00
                                issues.

 05/04/2021   JNP     BL        Review and comment on latest version on motion to         0.20      1295.00        $259.00
                                withdraw reference.

 05/04/2021   JNP     BL        Review Sentineal documents.                               0.10      1295.00        $129.50

 05/04/2021   JEO     BL        Review case deadlines                                     0.60      1050.00        $630.00

 05/04/2021   RJF     BL        Review and revise motion to enforce the reference.        1.30      1395.00       $1,813.50

 05/04/2021   RJF     BL        Review Carter Chism exhibits, related emails              0.30      1395.00        $418.50
                                Gregory V. Demo.

 05/04/2021   RJF     BL        Review new documents retrieved by DSI, related            0.50      1395.00        $697.50
                                emails.

 05/04/2021   JAM     BL        Review/revise objection to Dondero motion for stay        3.50      1245.00       $4,357.50
                                of permanent injunction trial (1.2); e-mail to J.
                                Pomerantz, I. Kharasch, G. Demo, H. Winograd re:
                                revised version of objection to Dondero motion for
                                stay of permanent injunction trial (0.1); telephone
                                conference with H. Winograd re: litigation matters
                                (0.1); review Dondero proposed Findings of Fact
                                and Conclusions of Law and pre-trial Memorandum
                                (1.2); e-mails with T. Surgent, H. Winograd, Geoff
                                re: document review (0.2); telephone conference
                                with T. Surgent, H. Winograd, Geoff re: document
                                review (0.2); telephone conference with G. Demo re:
                                litigation matters (0.1); telephone conference with J.
                                Pomerantz re: litigation matters (0.2); telephone
                                conference with J. Seery re: litigation matters (0.2);

 05/04/2021   JAM     BL        Review revise draft motion to enforce mandatory           1.80      1245.00       $2,241.00
                                reference of DAF action (1.7); e-mail to J.
                                Pomerantz, R. Feinstein, G. Demo re: revised
                                version of draft motion to enforce mandatory
                                reference of DAF action (0.1).

 05/04/2021   JAM     BL        Review draft opposition to withdraw the reference         0.40      1245.00        $498.00
                                (NexPoint) (0.4).

 05/04/2021   JAM     BL        Telephone conference with J. Pomerantz, R.                1.40      1245.00       $1,743.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:    19
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount
                                Feinstein, G. Demo re: UBS discovery (0.6);
                                telephone conference with G. Demo, T. Surgent,
                                Ashby re: background to UBS litigation (0.8).
 05/04/2021   LSC     BL        Preparation of materials in connection with              0.70        460.00       $322.00
                                upcoming contempt hearing re Dondero.

 05/04/2021   LSC     BL        Prepare additional document productions to UBS for       6.00        460.00      $2,760.00
                                G. Demo (including production to Latham) (2.7);
                                research and review of potentially responsive
                                documents in connection with the same (3.3).

 05/04/2021   GVD     BL        Conference with J. Morris re bankruptcy issues           0.10        950.00        $95.00

 05/04/2021   GVD     BL        Conference with J. Elkin re response to motion to        0.50        950.00       $475.00
                                reconsideration

 05/04/2021   GVD     BL        Review revisions to response to motion to enforce        0.70        950.00       $665.00
                                the reference

 05/04/2021   GVD     BL        Review response to withdrawal of reference motion        0.50        950.00       $475.00

 05/04/2021   GVD     BL        Review additional documents                              0.20        950.00       $190.00

 05/04/2021   GVD     BL        Conference with J. Seery re status of additional         0.30        950.00       $285.00
                                document discovery

 05/04/2021   GVD     BL        Multiple conferences with DSI re evidence                0.50        950.00       $475.00
                                preservation issues

 05/04/2021   GVD     BL        Conference with J. Morris, D. Ashby, and T. Surgent      0.80        950.00       $760.00
                                re discovery issues

 05/04/2021   GVD     BL        Compile and circulate information re UBS document        0.80        950.00       $760.00
                                requests

 05/04/2021   GVD     BL        Correspondence with group re additional discovery        0.20        950.00       $190.00
                                issues and evidence

 05/04/2021   JE      BL        Call with Mr. Demo (.3); research various issues for     7.20      1195.00       $8,604.00
                                objection to motion for reconsideration (4.7); review
                                response to request to amend complaint in district
                                court and draft motion to enforce reference (1.3);
                                call with Ms. McComas regarding appellate issues
                                (.3); call with Mr. Pomerantz regarding appellate
                                issues and objection to motion for reconsideration
                                (.4); review 5th circuit direct appeal certification
                                (.2).

 05/04/2021   HRW     BL        Edit and review opposition to Dondero motion to          1.50        695.00      $1,042.50
                                stay trial for injunctive relief for filing.

 05/04/2021   HRW     BL        Review Dondero proposed FFCC in injunction               0.50        695.00       $347.50
Pachulski Stang Ziehl & Jones LLP                                                               Page:    20
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount
                                proceeding.
 05/04/2021   HRW     BL        Call with DSI regarding NPA document production          0.50        695.00       $347.50
                                for demand note proceeding.

 05/04/2021   HRW     BL        Call with R. Half and J. Morris regarding NPA            0.20        695.00       $139.00
                                document production in demand note litigation.

 05/04/2021   HRW     BL        Prepare for call with R. Half and J. Morris regarding    1.20        695.00       $834.00
                                NPA document production in demand note
                                litigation.

 05/04/2021   HRW     BL        Review J. Seery comments to NPA R&O's in                 0.30        695.00       $208.50
                                demand in demand note litigation.

 05/05/2021   IDK     BL        E-mails with J Pomerantz, J Morris re                    1.30      1325.00       $1,722.50
                                Fund/Advisors’ settlement offer re adversary and
                                how to respond, including review of offer (.3);
                                Attend conference call with J Pomerantz, others on
                                settlement offer from Funds/Advisors on adversary
                                and how to respond (1.0).

 05/05/2021   IDK     BL        E-mails with J Pomerantz re his draft response to        0.30      1325.00        $397.50
                                DAF counsel on extension of time, including review
                                of same (.3).

 05/05/2021   JJK     BL        Research/finalize objection to Dondero motion to         3.70        995.00      $3,681.50
                                withdraw reference.

 05/05/2021   JNP     BL        Review and comment on proposed settlement offer          0.10      1295.00        $129.50
                                from Advisors and Funds.

 05/05/2021   JNP     BL        Conference with Ira D. Kharasch, Gregory V. Demo         1.00      1295.00       $1,295.00
                                and John A. Morris regarding potential resolution of
                                Advisor Fund adversary proceeding.

 05/05/2021   JNP     BL        Review revised motion to enforce reference.              0.20      1295.00        $259.00

 05/05/2021   JNP     BL        Conference with Robert J. Feinstein regarding            0.20      1295.00        $259.00
                                motion to enforce reference.

 05/05/2021   JNP     BL        Draft email to M. Sbiati regarding extension of time     0.30      1295.00        $388.50
                                and internal emails regarding same.

 05/05/2021   JNP     BL        Conference with Robert J. Feinstein and Gregory V.       0.40      1295.00        $518.00
                                Demo regarding motion to enforce reference and
                                related issues .

 05/05/2021   JNP     BL        Conference with Gregory V. Demo, Robert J.               0.40      1295.00        $518.00
                                Feinstein and John A. Morris regarding additional
                                information to provide to UBS.

 05/05/2021   JNP     BL        Conference with King and Spalding and PSZJ               0.40      1295.00        $518.00
Pachulski Stang Ziehl & Jones LLP                                                              Page:    21
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                regarding DAF lawsuit status.
 05/05/2021   JNP     BL        Review summary of litigation and provide                0.20      1295.00        $259.00
                                comments.

 05/05/2021   RJF     BL        Review and revise motion to enforce reference.          1.00      1395.00       $1,395.00

 05/05/2021   RJF     BL        Telephone conference with Jeffrey N. Pomerantz          0.20      1395.00        $279.00
                                regarding draft.

 05/05/2021   RJF     BL        Telephone conference with Jeffrey N. Pomerantz,         0.40      1395.00        $558.00
                                Gregory V. Demo and John A. Morris regarding
                                complaint.

 05/05/2021   RJF     BL        Call with CLO Holdco's attorney regarding case          0.40      1395.00        $558.00
                                status.

 05/05/2021   RJF     BL        Research response date, related emails, civil action    0.40      1395.00        $558.00
                                coversheet.

 05/05/2021   RJF     BL        Emails regarding upcoming depositions.                  0.10      1395.00        $139.50

 05/05/2021   RJF     BL        Call with Jeffrey N. Pomerantz, Gregory V. Demo         0.30      1395.00        $418.50
                                and John A. Morris regarding discovery, etc.

 05/05/2021   RJF     BL        Call with Magaliff regarding UBS 9019 motion.           0.30      1395.00        $418.50

 05/05/2021   RJF     BL        Call with Latham, Surgent's counsel regarding           0.50      1395.00        $697.50
                                interview.

 05/05/2021   JMF     BL        Review findings of fact re contempt motion.             0.70      1050.00        $735.00

 05/05/2021   JAM     BL        Telephone conference with J. Seery re: litigation       1.40      1245.00       $1,743.00
                                matters (0.3); analyze issues for Dondero permanent
                                injunction proceeding (0.8); review litigation
                                calendar for upcoming deadlines (0.2); e-mails with
                                J. Pomerantz, G. Demo, H. Winograd, L. Canty re:
                                litigation calendar (0.1).

 05/05/2021   JAM     BL        Telephone conference with J. Pomerantz, R.              1.00      1245.00       $1,245.00
                                Feinstein, G. Demo re: strategic issues concerning
                                DAF litigation (0.4); telephone conference with J.
                                Pomerantz, G. Demo, M. Maloney re: DAF
                                litigation issues including service of process and
                                timing (0.4); research re: Rule 11 motion (0.2).

 05/05/2021   JAM     BL        E-mails with B. Assink re: Dondero document             0.30      1245.00        $373.50
                                production (notes litigation (0.2); review Dondero
                                document production (0.1).

 05/05/2021   JAM     BL        Telephone conference with J. Pomerantz, R.              0.70      1245.00        $871.50
                                Feinstein, G. Demo re: strategic issues relating to
                                UBS litigation (0.4); review documents produced to
Pachulski Stang Ziehl & Jones LLP                                                                Page:    22
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount
                                UBS (0.3).
 05/05/2021   LSC     BL        Review pleadings,notices, and related documents           3.30        460.00      $1,518.00
                                and analyze status of various adversary proceedings,
                                litigation, and appeals, and create "task list" for J.
                                Morris (2.4); reconcile dates in same with internal
                                calendaring department (.9).

 05/05/2021   LSC     BL        Prepare additional document production to UBS for         2.10        460.00       $966.00
                                G. Demo.

 05/05/2021   GVD     BL        Conference with PSZJ team re NPA/HCMFA                    1.10        950.00      $1,045.00
                                preliminary injunction

 05/05/2021   GVD     BL        Draft discovery questions re NPA/HCMFA                    0.20        950.00       $190.00
                                injunction

 05/05/2021   GVD     BL        Further revise and circulate motion to enforce            2.00        950.00      $1,900.00
                                reference

 05/05/2021   GVD     BL        Conference with PSZJ and K&S re status of                 0.40        950.00       $380.00
                                DAF/CLOH litigation

 05/05/2021   GVD     BL        Conference with PSZJ team re revisions to motion to       0.40        950.00       $380.00
                                enforce reference

 05/05/2021   GVD     BL        Attend C. Chism deposition                                2.10        950.00      $1,995.00

 05/05/2021   GVD     BL        Conference with J. Romey re additional evidentiary        0.30        950.00       $285.00
                                discovery

 05/05/2021   GVD     BL        Conference with Latham, R. Feinstein, and D.              0.30        950.00       $285.00
                                Ashby re witness interviews

 05/05/2021   GVD     BL        Multiple conferences with J. Seery re additional          0.10        950.00        $95.00
                                discovery issues

 05/05/2021   GVD     BL        Conference with PSZJ team re additional discovery         0.40        950.00       $380.00
                                requirements

 05/05/2021   GVD     BL        Conference with K. George re additional discovery         0.40        950.00       $380.00
                                and next steps

 05/05/2021   GVD     BL        Correspondence with counsel to MSCF re                    0.20        950.00       $190.00
                                governance documents

 05/05/2021   JE      BL        Work on opposition to motion for reconsideration          6.40      1195.00       $7,648.00
                                and research relating to same.

 05/05/2021   HRW     BL        Prepare interrogatory verification for R&Os to NPA        0.50        695.00       $347.50
                                interrogatories in notes litigation (0.2); Review
                                Seery's comments to R&Os to NPA discovery
                                demands in notes litigation (0.1); Review DSI
                                documents for production for NPA discovery
Pachulski Stang Ziehl & Jones LLP                                                              Page:    23
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                demands in notes litigation (0.2).
 05/06/2021   IDK     BL        Brief review of Dondero motion to 5th Cir to stay       0.20      1325.00        $265.00
                                preliminary injunction proceeding.

 05/06/2021   IDK     BL        E-mails with J Pomerantz re his comments to motion      0.20      1325.00        $265.00
                                to extend time, as well as brief review of revised
                                motion.

 05/06/2021   IDK     BL        Review of updated opposition to Dondero motion to       0.80      1325.00       $1,060.00
                                withdraw reference (.3); E-mails with J Kim re same
                                and further issues on mandatory withdrawal of
                                reference and related memo on same (.3); Telephone
                                conference with J Pomerantz re same (.1); E-mails
                                with J Kim re status and ok to file (.1).

 05/06/2021   IDK     BL        E-mails with J Kim re mistake made in filed             0.40      1325.00        $530.00
                                opposition today to Dondero motion to withdraw ref,
                                and how to fix, including feedback of J Pomerantz re
                                same.

 05/06/2021   JJK     BL        Emails Kharasch on withdrawal reference                 4.20        995.00      $4,179.00
                                objections, and revise same and prepare supplement
                                for filing.

 05/06/2021   JNP     BL        Meeting with M. Clemente, M. Kirschner, Teneo, J.       3.40      1295.00       $4,403.00
                                Seery, John A. Morris, Gregory V. Demo and others
                                regarding background and pending litigation.

 05/06/2021   JNP     BL        Conference with J. Seery regarding call with M.         0.20      1295.00        $259.00
                                Kirschner, Teneo and others.

 05/06/2021   JNP     BL        Conference with John A. Morris regarding contempt       0.10      1295.00        $129.50
                                order.

 05/06/2021   JNP     BL        Conference with John A. Morris after call with M.       0.10      1295.00        $129.50
                                Kirschner and Teneo.

 05/06/2021   JNP     BL        Conference with J. Dubel regarding results of           0.30      1295.00        $388.50
                                meeting with Teneo, M. Kirschner and others.

 05/06/2021   JNP     BL        Review Wick Phillips opposition to disqualification     0.30      1295.00        $388.50
                                motion and exhibits.

 05/06/2021   JNP     BL        Review latest version of motion to enforce reference    0.30      1295.00        $388.50
                                and conference with Gregory V. Demo regarding
                                same.

 05/06/2021   JNP     BL        Conference with J Seery regarding upcoming              0.10      1295.00        $129.50
                                interview of T. Surgeant.

 05/06/2021   RJF     BL        Review and comment on draft motion to extend.           0.10      1395.00        $139.50
Pachulski Stang Ziehl & Jones LLP                                                                 Page:    24
Highland Capital Management LP                                                                    Invoice 127958
36027 - 00002                                                                                     May 31, 2021


                                                                                          Hours           Rate     Amount

 05/06/2021   RJF     BL        Attend Raver deposition.                                   4.00      1395.00       $5,580.00

 05/06/2021   JMF     BL        Research re bankruptcy rule 2015.                          4.30      1050.00       $4,515.00

 05/06/2021   JMF     BL        Review motion to enforce reference (.8); emails re         0.80      1050.00        $840.00
                                filing/finalization of same.

 05/06/2021   JMF     BL        Review Wick Phillips brief and authorities re              0.40      1050.00        $420.00
                                disqualification motion.

 05/06/2021   SLL     BL        Pull cases and index for Jonathan Kim.                     1.80        395.00       $711.00

 05/06/2021   JAM     BL        E-mails with B. Assink, J. Pomerantz, G. Demo, H.          4.90      1245.00       $6,100.50
                                Winograd re: Dondero Fifth Circuit motion for stay
                                of permanent injunction proceeding (0.1); review
                                Dondero Fifth Circuit motion for stay of permanent
                                injunction proceeding (0.4); e-mails with D. Draper
                                re: Dugaboy documents (0.1); review Notice of
                                Cancellation of hearing (0.1); review Notice of
                                Adjournment of Advisors’ hearing (0.1); prepare for
                                Dondero permanent injunction proceeding (0.9);
                                review litigation deck for WebEx meeting with M.
                                Kirschner (0.3); WebEx meeting with J. Seery, M.
                                Kirschner, PSZJ, DSI, Sidley re: overview of
                                Highland asset base, litigation, history (2.5); prepare
                                signature page concerning Common Interest
                                Agreement (0.2); e-mails with J. Seery re: Common
                                Interest Agreement (0.2).

 05/06/2021   JAM     BL        Draft motion for extension of time to file responsive      2.10      1245.00       $2,614.50
                                pleading in DAF Action (1.4); draft proposed Order
                                in connection with motion for extension of time to
                                file responsive pleading in DAF Action (0.2);
                                communications with J. Pomerantz, Z. Annable re:
                                motion for extension of time to file responsive
                                pleading in DAF Action and related matters (0.3);
                                revisions to motion and draft Order for extension of
                                time to file responsive pleading in DAF Action
                                (0.2).

 05/06/2021   LSC     BL        Research document productions with respect to              1.50        460.00       $690.00
                                certain Defendants and transmit findings to G.
                                Demo.

 05/06/2021   LSC     BL        Research document productions for documents in             0.60        460.00       $276.00
                                connection with Raver deposition for G. Demo.

 05/06/2021   GVD     BL        Attend conference with litigation trustee                  3.50        950.00      $3,325.00

 05/06/2021   GVD     BL        Correspondence re common interest agreement                0.10        950.00        $95.00

 05/06/2021   GVD     BL        Conference with H. Winograd re litigation                  0.20        950.00       $190.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:    25
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount
                                presentation and review same
 05/06/2021   GVD     BL        Conference with J. Morris re litigation issues           0.10        950.00        $95.00

 05/06/2021   GVD     BL        Revise motion to enforce the reference re comments       1.10        950.00      $1,045.00
                                from J. Pomerantz

 05/06/2021   GVD     BL        Multiple conferences with J. Elkin re motion for         0.30        950.00       $285.00
                                reconsideration

 05/06/2021   GVD     BL        Attend S. Raver deposition (partial)                     1.70        950.00      $1,615.00

 05/06/2021   JE      BL        Work on opposition to motion for reconsideration         7.10      1195.00       $8,484.50
                                and research relating to same (6.7); calls with Mr.
                                Demo regarding same (.4).

 05/06/2021   HRW     BL        Research re: meaning of “related to” on civil cover      1.20        695.00       $834.00
                                sheet for DAF/CLO Holdco litigation (1.2).

 05/06/2021   HRW     BL        Communicate with R. Half re: NPA production in           1.50        695.00      $1,042.50
                                demand note proceeding (0.9); Call with L. Canty
                                re: NPA production in notes litigation (0.1); Review
                                critical dates re: Dondero stay motion and motion to
                                withdraw reference in notes litigation (0.2); Prepare
                                search terms for NPA production in notes litigation
                                (0.3).

 05/07/2021   IDK     BL        Review of draft addendum to prior filed opposition       0.50      1325.00        $662.50
                                to Dondero motion to withdraw ref and consider
                                changes (.2); E-mails with J Kim and J Pomerantz re
                                same, as well as feedback of local counsel (.3).

 05/07/2021   JJK     BL        Two conf. calls (2x 0.3) with Pomerantz, Kharasch,       0.60        995.00       $597.00
                                Demo on reference withdrawal oppositions.

 05/07/2021   JNP     BL        Conference with John A. Morris regarding Wick            0.10      1295.00        $129.50
                                Phillips disqualification.

 05/07/2021   JNP     BL        Email to and from party inquiring regarding need for     0.10      1295.00        $129.50
                                litigation funding.

 05/07/2021   JNP     BL        Conference with John A. Morris regarding hearing         0.10      1295.00        $129.50
                                on Dondero motion for stay.

 05/07/2021   JNP     BL        Conference with John A. Morris and J. Seery              0.50      1295.00        $647.50
                                regarding Dondero motion for stay and related
                                litigation issues.

 05/07/2021   JNP     BL        Review emails regarding Dugaboy documents.               0.10      1295.00        $129.50

 05/07/2021   JNP     BL        Conference with John A. Morris, Gregory V. Demo          0.80      1295.00       $1,036.00
                                and Robert J. Feinstein regarding strategy regarding
                                responsive pleadings.
Pachulski Stang Ziehl & Jones LLP                                                                 Page:    26
Highland Capital Management LP                                                                    Invoice 127958
36027 - 00002                                                                                     May 31, 2021


                                                                                          Hours           Rate     Amount

 05/07/2021   JNP     BL        Conference with John A. Morris regarding pending           0.50      1295.00        $647.50
                                matters in DAF litigation (2x).

 05/07/2021   JNP     BL        Review further filing regarding opposition to motion       0.10      1295.00        $129.50
                                to withdraw reference.

 05/07/2021   JNP     BL        Review letter to Bonds Ellis regarding resignations.       0.10      1295.00        $129.50

 05/07/2021   RJF     BL        Review revised motion to enforce.                          0.30      1395.00        $418.50

 05/07/2021   RJF     BL        Telephone conference with Jeffrey N. Pomerantz,            0.80      1395.00       $1,116.00
                                Gregory V. Demo, John A. Morris regarding motion
                                to dismiss, etc.

 05/07/2021   RJF     BL        Review draft response to Dondero resignation letter.       0.10      1395.00        $139.50

 05/07/2021   RJF     BL        Attend Surgent interview by UBS attorneys.                 2.00      1395.00       $2,790.00

 05/07/2021   JMF     BL        Review 2015 DE pleadings.                                  2.10      1050.00       $2,205.00

 05/07/2021   JMF     BL        Review litigation issues re pending pleadings and          0.30      1050.00        $315.00
                                matters re 5/10 hearing.

 05/07/2021   JMF     BL        Review removal motion.                                     0.30      1050.00        $315.00

 05/07/2021   LAF     BL        Legal research re: Rule 2015.3 requirements.               1.00        475.00       $475.00

 05/07/2021   SLL     BL        Pull cases and index for Jonathan Kim.                     1.50        395.00       $592.50

 05/07/2021   JAM     BL        Draft document request for Funds in connection with        5.60      1245.00       $6,972.00
                                permanent injunction proceeding (1.0); telephone
                                conference with G. Demo re: permanent injunction
                                proceeding against Funds and Advisors (0.2);
                                e-mails to J. Pomerantz, I. Kharasch, G. Demo, H.
                                Winograd re: discovery requests for permanent
                                injunction proceeding against Funds and Advisors
                                (0.1); draft document request for Advisors in
                                connection with permanent injunction proceeding
                                (0.6); e-mail to L. Hogewood, D. Rukavina, J.
                                Pomerantz, G. Demo, H. Winograd re: discovery in
                                connection with permanent injunction proceeding
                                (0.1); review/revise letter to C. Taylor re: Dondero
                                resignation (0.1); telephone conference with H.
                                Winograd re: status of litigation projects, adversary
                                proceedings (0.9); telephone conference with J.
                                Pomerantz re: litigation matters (0.3); telephone
                                conference with J. Bonds re: discovery (0.1); e-mails
                                to J. Bonds re: discovery (0.1); e-mails with J. Seery,
                                J. Pomerantz re: Dugaboy financials (0.1);
                                review/revise document requests for Advisors’
                                injunction proceeding (0.5); e-mails with D.
                                Rukavina, L. Hogewood, J. Pomerantz, G. Demo, H.
Pachulski Stang Ziehl & Jones LLP                                                                Page:    27
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate      Amount
                                Winograd re: discovery relating to Advisors’
                                injunction proceeding (0.1); telephone conference
                                with J. Pomerantz re: litigation matters (0.2); review
                                issues concerning Wick Phillips DQ motion (0.3);
                                review status of outstanding litigation matters (0.9).
 05/07/2021   JAM     BL        E-mails with Z. Annable re: timing of opposition to       0.60      1245.00         $747.00
                                Dondero motion for stay (Fifth Circuit) (0.2); draft
                                notice of filing of Dondero's stay motion (Fifth
                                Circuit) (not filed) (0.3); e-mail to J. Pomerantz re:
                                draft notice of filing of Dondero's stay motion (Fifth
                                Circuit) (0.1);

 05/07/2021   JAM     BL        Telephone conference with J. Pomerantz, R.                0.80      1245.00         $996.00
                                Feinstein, G. Demo re: strategic issues concerning
                                DAF Action, including responding to complaint and
                                timing of related motions (0.8).

 05/07/2021   JAM     BL        Telephone conference with J. Pomerantz, R.                0.20      1245.00         $249.00
                                Feinstein, G. Demo re: status of UBS litigation,
                                discovery (0.2).

 05/07/2021   LSC     BL        Assist with preparation and finalization of responses     0.60        460.00        $276.00
                                to discovery requests.

 05/07/2021   LSC     BL        Research and review potential production documents        2.30        460.00       $1,058.00
                                (1.2); begin preparation of additional document
                                production to UBS (1.1).

 05/07/2021   GVD     BL        Review and revise document requests for injunction        0.50        950.00        $475.00
                                against funds/advisors

 05/07/2021   GVD     BL        Conference with J. Morris re resolution of                0.20        950.00        $190.00
                                fund/advisor litigation

 05/07/2021   GVD     BL        Conference with PSZJ team re planning for DAF             0.80        950.00        $760.00
                                action response

 05/07/2021   GVD     BL        Further revise and circulate motion to enforce the        0.70        950.00        $665.00
                                reference

 05/07/2021   GVD     BL        Attend interview of T. Surgent                            2.50        950.00       $2,375.00

 05/07/2021   GVD     BL        Conference with PSZJ group re status of UBS               0.20        950.00        $190.00
                                interviews/depositions

 05/07/2021   GVD     BL        Draft response to J. Dondero re resignation as HFP        0.30        950.00        $285.00
                                director

 05/07/2021   JE      BL        Review all cases cited by movants and finalize draft     13.00      1195.00       $15,535.00
                                opposition to motion to modify July 16 order (12.5);
                                collect data on appellate specialists and
                                correspondence with Mr. Pomerantz regarding same
Pachulski Stang Ziehl & Jones LLP                                                              Page:    28
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                (.5).
 05/07/2021   HRW     BL        Review discovery deadlines (0.8); Call with J.          1.70        695.00      $1,181.50
                                Morris re: discovery deadlines (0.9).

 05/07/2021   HRW     BL        Review discovery requests in notes litigation (2.0);    2.30        695.00      $1,598.50
                                Edit R&O's for NPA discovery requests (0.3).

 05/08/2021   RJF     BL        Review and revise motion to enforce.                    0.80      1395.00       $1,116.00

 05/08/2021   JAM     BL        Telephone conference with R. Nelms re: status of        0.90      1245.00       $1,120.50
                                litigation (0.4); work on opposition to Dondero
                                motion to stay permanent injunction hearing (0.5).

 05/08/2021   JAM     BL        Review/revise draft Objection to DAF/CLOH               2.30      1245.00       $2,863.50
                                motion to modify July Order (2.2); e-mail to J.
                                Pomerantz, I. Kharasch, G. Demo, J. Elkin re
                                revised draft Objection to DAF/CLOH motion to
                                modify July Order (0.1).

 05/08/2021   JAM     BL        Review/revise document requests, interrogatories,       1.30      1245.00       $1,618.50
                                and requests for admission relating to HCMS notes
                                litigation (1.1); e-mails with J. Pomerantz, H.
                                Winograd re: revisions to discovery requests for
                                HCMS notes litigation (0.2).

 05/08/2021   GVD     BL        Review and revise response to motion for                1.30        950.00      $1,235.00
                                reconsideration

 05/08/2021   GVD     BL        Draft appendix for motion to enforce the reference      1.30        950.00      $1,235.00

 05/08/2021   GVD     BL        Review R. Feinstein changes to motion to enforce        0.50        950.00       $475.00
                                the reference

 05/08/2021   GVD     BL        Correspondence with Latham re discovery issues          0.20        950.00       $190.00

 05/08/2021   JE      BL        Review and revise opposition to motion to modify        4.60      1195.00       $5,497.00
                                July 16 Order (2.1); review revisions from Mr.
                                Morris and correspondence regarding same (.5);
                                correspondence with Mr. Demo regarding
                                opposition and related motion for enforcement of the
                                reference (.3); review motion to enforce reference
                                and comment on same to Mr. Demo (1.1); review
                                additional comments on opposition from Mr. Demo
                                and revise same (.6).

 05/08/2021   HRW     BL        Draft discovery demands for notes litigation (3.5);     4.70        695.00      $3,266.50
                                Review discovery requests to Debtor in notes
                                litigation (1.2).

 05/09/2021   JNP     BL        Further revisions to motion to enforce reference.       0.50      1295.00        $647.50

 05/09/2021   RJF     BL        Review revised version of motion to enforce             0.40      1395.00        $558.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:    29
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate      Amount
                                reference, Jeffrey N. Pomerantz comments to same.
 05/09/2021   JAM     BL        Continued work on objection to Dondero’s motion          7.40      1245.00        $9,213.00
                                for a stay (Fifth Circuit) of injunction proceeding
                                (7.2); e-mails with J. Seery, J. Pomerantz, I.
                                Kharasch, G. Demo, H. Winograd re: draft objection
                                to Dondero’s motion for a stay (Fifth Circuit) of
                                injunction proceeding (0.2).

 05/09/2021   GVD     BL        Review Fifth Circuit brief re emergency motion to        0.50        950.00        $475.00
                                stay contempt hearing

 05/09/2021   GVD     BL        Revise and circulate amended motion to enforce           0.60        950.00        $570.00
                                reference re comments from R. Feinstein

 05/09/2021   HRW     BL        Draft objection to Dondero motion to stay injunction     3.50        695.00       $2,432.50
                                proceeding to Fifth Circuit (3.5).

 05/09/2021   HRW     BL        Review discovery requests to Debtor in notes             3.50        695.00       $2,432.50
                                litigation (2.5); Prepare search terms for document
                                production in notes litigation (1.0).

 05/10/2021   IDK     BL        E-mail J Pomerantz re result of today’s hearing as       0.40      1325.00         $530.00
                                well as article summarizing same (.2); Telephone
                                conference with J Pomerantz re update on hearing
                                today and Dondero deposition (.2).

 05/10/2021   IDK     BL        E-mails with J Pomerantz re latest draft of objection    0.70      1325.00         $927.50
                                to DAF motion to reconsider order on CEO
                                retention, and correspondence re open issues on
                                same, including brief review of motion and draft
                                objection.

 05/10/2021   JNP     BL        Participate in hearing on motion to continue             2.00      1295.00        $2,590.00
                                injunction hearing.

 05/10/2021   JNP     BL        Conference with Ira D. Kharasch regarding hearing        0.20      1295.00         $259.00
                                on motion to continue.

 05/10/2021   JNP     BL        Review and revise opposition to motion for               4.00      1295.00        $5,180.00
                                reconsideration of July 16 order.

 05/10/2021   JNP     BL        Emails to and from J. Elkin regarding opposition to      0.50      1295.00         $647.50
                                motion for reconsideration and start to review.

 05/10/2021   JNP     BL        Participate in Dondero deposition (not for all).         5.00      1295.00        $6,475.00

 05/10/2021   RJF     BL        Begin work on motion to dismiss.                         1.00      1395.00        $1,395.00

 05/10/2021   RJF     BL        Review updated motion to enforce reference.              0.30      1395.00         $418.50

 05/10/2021   RJF     BL        Attend Dondero deposition.                               7.80      1395.00       $10,881.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:    30
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

 05/10/2021   RJF     BL        Conferences with Jeffrey N. Pomerantz, Gregory V.        1.00      1395.00       $1,395.00
                                Demo and John A. Morris regarding Dondero
                                deposition, court hearing.

 05/10/2021   RJF     BL        Review deposition notices.                               0.20      1395.00        $279.00

 05/10/2021   JMF     BL        Review litigation chart re pending and upcoming          0.30      1050.00        $315.00
                                events.

 05/10/2021   JMF     BL        Review decisions re 2015 requirements and waiver.        2.10      1050.00       $2,205.00

 05/10/2021   JMF     BL        Review motions for leave to amend answer re              0.40      1050.00        $420.00
                                HCRE and HCMS.

 05/10/2021   LAF     BL        Legal research re: Rule 2015.3 report & extension of     0.80        475.00       $380.00
                                time.

 05/10/2021   JAM     BL        Review/revise Objection to Dondero Motion for            5.40      1245.00       $6,723.00
                                Stay (Fifth Circuit) (2.1); e-mails with J. Seery, J.
                                Pomerantz, G. Demo, H. Winograd, Z. Annable, I.
                                Soto re: Objection to Dondero Motion for Stay
                                (Fifth Circuit) (0.2); e-mails with Latham, J.
                                Pomerantz, G. Demo, R. Feinstein re: scheduling
                                order (0.1); prepare for Docket Call and oral
                                argument on motion for stay (0.6); court conference
                                re: Docket Call and oral argument on motion for stay
                                (1.8); telephone conference with J. Pomerantz re:
                                court hearing (0.1); telephone conference with H.
                                Winograd re: court hearing, Wick Phillips (0.2);
                                review e-mails re: various litigation matters (0.3).

 05/10/2021   JAM     BL        E-mail to J. Rudd, L. Drawhorn re: discovery in          0.40      1245.00        $498.00
                                HCMS notes litigation (0.1); review motions to
                                amend Answers (0.3).

 05/10/2021   JAM     BL        Dondero deposition (partial) (3.3).                      3.30      1245.00       $4,108.50

 05/10/2021   LSC     BL        Assist with preparation and finalization of responses    0.80        460.00       $368.00
                                to discovery requests.

 05/10/2021   LSC     BL        Continued research and retrieval of documents and        2.90        460.00      $1,334.00
                                preparation of additional document production to
                                UBS.

 05/10/2021   LSC     BL        Research and review potential production documents       2.10        460.00       $966.00
                                per the inquiry of opposing counsel and
                                correspondence regarding findings.

 05/10/2021   GVD     BL        Attend docket call re permanent injunction               1.90        950.00      $1,805.00

 05/10/2021   GVD     BL        Review and revise motion to enforce reference re         1.00        950.00       $950.00
                                changes from J. Pomerantz
Pachulski Stang Ziehl & Jones LLP                                                               Page:    31
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

 05/10/2021   GVD     BL        Revise and circulate letter re indemnification re        0.40        950.00       $380.00
                                DAF litigation

 05/10/2021   GVD     BL        Attend deposition of J. Dondero                          6.00        950.00      $5,700.00

 05/10/2021   JE      BL        Miscellaneous correspondence with Mr. Pomerantz          7.50      1195.00       $8,962.50
                                regarding issues relating to motion to modify July 16
                                Order (.4); research R. 60 and additional
                                jurisdictional issues (2.7); review and revise
                                opposition to motion to modify (3.2); review revised
                                motion to enforce reference and comments to Mr.
                                Demo on same (1.2).

 05/10/2021   HRW     BL        Hearing on Dondero motion to stay injunction trial       1.60        695.00      $1,112.00
                                (1.6).

 05/10/2021   HRW     BL        Draft and review discovery search criteria for NPA       5.00        695.00      $3,475.00
                                production in demand note proceeding (3.6); Draft
                                responses and objections to Dondero discovery
                                demands in notes litigation (0.8); Draft and prepare
                                discovery demands in HCMS notes litigation (0.6).

 05/11/2021   IDK     BL        Telephone conference with J Morris re document           0.20      1325.00        $265.00
                                production by company issues and how to address
                                logistics on same and staffing re same, and consider
                                (.2).

 05/11/2021   IDK     BL        Review and consider revised objection to motion of       1.10      1325.00       $1,457.50
                                DAF to modify prior order and consider changes
                                needed (.4); Prepare memo to J Pomerantz with my
                                comments to same (.4); E-mails and telephone
                                conference with J Pomerantz re his feedback re same
                                and consider for redraft (.3).

 05/11/2021   JNP     BL        Conference with Joshua M. Fried regarding 2015.3         0.30      1295.00        $388.50
                                motion.

 05/11/2021   JNP     BL        Conference with John A. Morris regarding pending         0.40      1295.00        $518.00
                                advisors/funds adversary proceeding and strategy.

 05/11/2021   JNP     BL        Consider issues regarding potential advisors/ funds      0.20      1295.00        $259.00
                                settlement structure.

 05/11/2021   JNP     BL        Conference with M. Kirschner regarding pending           0.40      1295.00        $518.00
                                litigation and related issues.

 05/11/2021   JNP     BL        Emails regarding hearing dates.                          0.10      1295.00        $129.50

 05/11/2021   JNP     BL        Conference with M. Clemente regarding pending            0.30      1295.00        $388.50
                                litigation and related issues.

 05/11/2021   JNP     BL        Conference with John A. Morris regarding                 0.10      1295.00        $129.50
Pachulski Stang Ziehl & Jones LLP                                                              Page:    32
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                discovery.
 05/11/2021   JNP     BL        Participate in PSZJ litigation call.                    0.80      1295.00       $1,036.00

 05/11/2021   JNP     BL        Review revised opposition to motion to modify           0.20      1295.00        $259.00
                                order.

 05/11/2021   JNP     BL        Conference with P. Montgomery, M. Clemente and          0.40      1295.00        $518.00
                                John A. Morris regarding discovery.

 05/11/2021   RJF     BL        Attend litigation call (partial).                       0.50      1395.00        $697.50

 05/11/2021   RJF     BL        Call with Hayley R. Winograd regarding motion to        0.30      1395.00        $418.50
                                dismiss.

 05/11/2021   JMF     BL        Telephone call with J. Morris, H. Wingrad, G.           0.80      1050.00        $840.00
                                Demo, J.N. Pomerantz re litigation matters.

 05/11/2021   JMF     BL        Review TX and other decisions re 2015 reporting         2.80      1050.00       $2,940.00
                                (2.5); telephone call with J.N. Pomerantz re same
                                (.3).

 05/11/2021   JMF     BL        Emails re removal motion and hearing issues.            0.10      1050.00        $105.00

 05/11/2021   LAF     BL        Legal research re: 2015.3 report.                       1.00        475.00       $475.00

 05/11/2021   JAM     BL        E-mail to court reporter re: Seery deposition (0.1);    4.00      1245.00       $4,980.00
                                draft notice of hearing for Dondero permanent
                                injunction (0.2); e-mails to Z. Annable, J.
                                Pomerantz, G. Demo, H. Winograd re: notices of
                                deposition and hearing (0.2); review e-mails re:
                                document production (0.2); telephone conference
                                with J. Dondero re: litigation matters (0.4);
                                telephone conference with G. Demo re: litigation
                                matters (0.2); telephone conference with J.
                                Pomerantz re: litigation matters (0.4); e-mail to J.
                                Wilson, J. Bonds, B. Assink, J. Pomerantz, G.
                                Demo, H. Winograd re: witnesses and objections to
                                exhibits in connection with permanent injunction
                                hearing (0.1); review amended discovery responses
                                to Advisors (0.1); e-mail to J. Seery re: amended
                                discovery responses to Advisors (0.1); telephone
                                conference with J. Pomerantz, R. Feinstein, G.
                                Demo, H. Winograd, J. Fried re: litigation update
                                (0.8); telephone conference with T. Frohne re:
                                document review (0.1); e-mail to J. Seery re: relief
                                sought in permanent injunction proceeding (0.3);
                                e-mail to J. Wilson, J. Bonds, J. Pomerantz, G.
                                Demo, H. Winograd re: relief sought in permanent
                                injunction proceeding (0.4); telephone conference
                                with I. Kharasch re: e-discovery (0.1); telephone
                                conference with J. Pomerantz, M. Clemente, P.
Pachulski Stang Ziehl & Jones LLP                                                              Page:    33
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate      Amount
                                Montgomery re: litigation planning (0.3).
 05/11/2021   JAM     BL        E-mails with B. Assink re: discovery on Dondero         1.10      1245.00        $1,369.50
                                notes litigation (0.3); telephone conference with J.
                                Seery, D. Klos re: Dondero notes litigation (0.4);
                                e-mail to B. Assink, J. Bonds, J. Pomerantz, G.
                                Demo, H. Winograd re: depositions (0.4).

 05/11/2021   LSC     BL        Assist with preparation of responses and objections     0.60        460.00        $276.00
                                to discovery requests in NexPoint notes litigation.

 05/11/2021   GVD     BL        Review transcript from May 10 hearing                   0.20        950.00        $190.00

 05/11/2021   GVD     BL        Conference with J. Morris re open litigation issues     0.20        950.00        $190.00

 05/11/2021   GVD     BL        Attend PSZJ litigation call                             0.80        950.00        $760.00

 05/11/2021   GVD     BL        Correspondence re motion to reconsider                  0.20        950.00        $190.00

 05/11/2021   GVD     BL        Conference with J. Elkin re motion to reconsider        0.20        950.00        $190.00

 05/11/2021   GVD     BL        Conference with counsel to Hunter Mountain re note      0.30        950.00        $285.00
                                demand and follow up re same

 05/11/2021   GVD     BL        Conference with K. George re UBS discovery              0.30        950.00        $285.00
                                requests

 05/11/2021   GVD     BL        Conference with R. Feinstein re UBS discovery           0.10        950.00         $95.00
                                requests

 05/11/2021   JE      BL        Review draft revisions to objection from Mr.            8.70      1195.00       $10,396.50
                                Pomerantz and review and revise same accordingly
                                (7.7); call with Mr. Demo regarding reference and
                                contempt pleadings (.2); review contempt pleadings
                                and applicable documents attached to contempt
                                pleadings for fact section (.8).

 05/11/2021   HRW     BL        PSZJ Outstanding Litigation call (0.8).                 0.80        695.00        $556.00

 05/11/2021   HRW     BL        Call with R. Feinstein re: motion to dismiss DAF        1.20        695.00        $834.00
                                complaint (0.2); Research re: motion to dismiss
                                DAF complaint (1.0).

 05/11/2021   HRW     BL        Draft search terms for document production for NPA      1.90        695.00       $1,320.50
                                notes litigation (1.3); Communicate with R. Half re:
                                document production for NPA notes litigation (0.6).

 05/12/2021   IDK     BL        E-mails with J Morris, others on organizing             0.20      1325.00         $265.00
                                approach to large discovery responses by company.

 05/12/2021   IDK     BL        Review and consider revised objection to DAF            1.30      1325.00        $1,722.50
                                motion for reconsideration of CEO employment and
                                need for substantial changes (.5); Memo to J
                                Pomerantz, others re my list of
Pachulski Stang Ziehl & Jones LLP                                                              Page:    34
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                changes/modifications to same and need for other
                                changes (.5); E-mails with J Pomerantz re his
                                feedback on same and how to address section 157d
                                (.3).
 05/12/2021   IDK     BL        E-mails with J Pomerantz, others on coordination of     0.60      1325.00        $795.00
                                call on DAF motion (.1); Attend conference call
                                with internal team on outstanding issues on
                                objection to DAF motion for reconsideration (.5).

 05/12/2021   IDK     BL        Review and consider further revised drafts of           0.40      1325.00        $530.00
                                objection to DAF motion for reconsideration.

 05/12/2021   IDK     BL        Review and consider revised motion to enforce           0.40      1325.00        $530.00
                                reference on DAF litigation.

 05/12/2021   JNP     BL        Conference with John A. Morris and J. Seery             0.70      1295.00        $906.50
                                regarding potential resolution of Advisors/Funds
                                adversary proceeding.

 05/12/2021   JNP     BL        Conference with John A. Morris regarding reply          0.30      1295.00        $388.50
                                regarding Wick Phillips disqualification.

 05/12/2021   JNP     BL        Review reply regarding Wick Phillips                    0.50      1295.00        $647.50
                                disqualification and consider issues regarding same.

 05/12/2021   JNP     BL        Conference with J. Dubel regarding pending              0.20      1295.00        $259.00
                                litigation.

 05/12/2021   JNP     BL        Emails regarding counsel engagement letters.            0.10      1295.00        $129.50

 05/12/2021   JNP     BL        Continued review of opposition to motion to modify      0.50      1295.00        $647.50
                                July 16 order.

 05/12/2021   JNP     BL        Conference with Ira D. Kharasch, J. Elkin, John A.      0.50      1295.00        $647.50
                                Morris and Gregory V. Demo regarding opposition
                                to motion to modify July 16 order.

 05/12/2021   JNP     BL        Participate in Dondero deposition.                      1.80      1295.00       $2,331.00

 05/12/2021   JNP     BL        Conference with Latham, UBS, J. Seery and               1.40      1295.00       $1,813.00
                                Gregory V. Demo regarding claims and pending
                                litigation.

 05/12/2021   JEO     BL        FInish draft of the removal extension motion and        2.00      1050.00       $2,100.00
                                forward to PSZJ team

 05/12/2021   RJF     BL        Attend remainder of Dondero deposition.                 1.80      1395.00       $2,511.00

 05/12/2021   JMF     BL        Draft response to 2015 motion.                          3.20      1050.00       $3,360.00

 05/12/2021   JMF     BL        Review reply re Wick Phillips opposition.               0.30      1050.00        $315.00

 05/12/2021   JMF     BL        Review objections to UBS 9019 motion.                   0.40      1050.00        $420.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:    35
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

 05/12/2021   LAF     BL        Legal research re: Rule 2015.3                           0.80        475.00       $380.00

 05/12/2021   JAM     BL        Review/revise draft objection to motion to “modify”      2.70      1245.00       $3,361.50
                                gatekeeper orders (2.1); e-mail to J. Pomerantz, I.
                                Kharasch, G. Demo, J. Elkin re: revisions to draft
                                objection to motion to “modify” gatekeeper orders
                                (0.1); telephone conference with J. Pomerantz, I.
                                Kharasch, G. Demo, J. Elkin re: draft objection to
                                motion to “modify” gatekeeper orders (0.5).

 05/12/2021   JAM     BL        Dondero deposition (1.7); telephone conference with      1.90      1245.00       $2,365.50
                                T. Surgent re: UBS litigation (0.2).

 05/12/2021   LSC     BL        Assist G. Demo with preparation of appendix in           0.80        460.00       $368.00
                                connection with motion to enforce the reference.

 05/12/2021   GVD     BL        Conference with J. Morris re open litigation issues      0.10        950.00        $95.00

 05/12/2021   GVD     BL        Review and revise response to motion to reconsider       0.60        950.00       $570.00

 05/12/2021   GVD     BL        Draft appendix to motion to enforce the reference        0.60        950.00       $570.00

 05/12/2021   GVD     BL        Conference with PSZJ team re revisions to motion         0.50        950.00       $475.00
                                for reconsideration

 05/12/2021   GVD     BL        Conference with counsel to Hunter Mountain re note       0.30        950.00       $285.00
                                demand

 05/12/2021   GVD     BL        Attend deposition of J. Dondero                          1.90        950.00      $1,805.00

 05/12/2021   GVD     BL        Attend B. Fuentes deposition                             2.90        950.00      $2,755.00

 05/12/2021   GVD     BL        Attend pre-trial scheduling call with Latham and H.      0.40        950.00       $380.00
                                Winograd

 05/12/2021   JE      BL        Review and revise objection based on additional          6.70      1195.00       $8,006.50
                                comments of Mr. Morris and Mr. Demo (1.1);
                                miscellaneous correspondence with Mr. Pomerantz,
                                Mr. Morris, Mr. Demo and Mr. Kharasch regarding
                                various issues raised in motion and response (.8);
                                call with Mr. Pomerantz, Mr. Morris, Mr. Demo and
                                Mr. Kharasch regarding objection to modify July 16
                                Order (.5); review and revise objection based on call
                                and additional comments of Mr. Kharasch and Mr.
                                Pomerantz (1.2); research 157(d) issues (.8); review
                                and revised objection to add 157(d) arguments (2.3).

 05/12/2021   HRW     BL        Research for motion to dismiss DAF complaint             3.80        695.00      $2,641.00
                                (3.8).

 05/12/2021   HRW     BL        Gather documents responsive to NPA discovery             0.40        695.00       $278.00
                                request in notes litigation (0.4).
Pachulski Stang Ziehl & Jones LLP                                                               Page:    36
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

 05/12/2021   HRW     BL        Prepare for call with Latham re: UBS joint proposed      0.70        695.00       $486.50
                                scheduling order in adversary proceeding (0.2); Call
                                with Latham re: UBS joint proposed scheduling
                                order in adversary proceeding (0.3); Communicate
                                with PSZJ re: next steps for UBS joint proposed
                                scheduling order in adversary proceeding (0.2).

 05/13/2021   IDK     BL        Review of further revised draft of objection to DAF      0.30      1325.00        $397.50
                                motion for reconsideration and comments of others
                                (.3).

 05/13/2021   JNP     BL        Conference with John A. Morris, C. Taylor and J.         0.50      1295.00        $647.50
                                Wilson regarding injunction hearing.

 05/13/2021   JNP     BL        Conference with John A. Morris after call with C.        0.10      1295.00        $129.50
                                Taylor and J. Wilson regarding injunction hearing.

 05/13/2021   RJF     BL        Review updated version of motion to enforce.             0.40      1395.00        $558.00

 05/13/2021   RJF     BL        Emails Hayley R. Winograd regarding motion to            0.10      1395.00        $139.50
                                dismiss.

 05/13/2021   JMF     BL        Draft response to 2015 motion.                           2.70      1050.00       $2,835.00

 05/13/2021   JAM     BL        E-mails with J. Wilson, J. Bonds, J. Pomerantz, G.       2.30      1245.00       $2,863.50
                                Demo re: permanent injunction hearing and related
                                matters (0.1); telephone conference with D. Ashby
                                re: Surgent and Klos representation (0.1); e-mail to
                                J. Seery, J. Pomerantz, G. Demo re: Surgent and
                                Klos representation (0.1); telephone conference with
                                G. Demo, H. Winograd, DSI re: e-discovery (0.4);
                                telephone conference with J. Pomerantz, J. Wilson,
                                C. Taylor re: settlement of permanent injunction
                                hearing and related matters (0.4); telephone
                                conference with J. Pomerantz re: Dondero and next
                                steps (0.1); draft scheduling order for Wick Phillips
                                DQ motion (0.6); e-mail to J. Pomerantz, G. Demo,
                                H. Winograd re: Wick Phillips draft scheduling
                                order (0.1); review litigation e-mails (0.4).

 05/13/2021   JAM     BL        E-mail to H. Winograd, G. Demo re: draft                 0.40      1245.00        $498.00
                                scheduling order of UBS litigation (0.4).

 05/13/2021   LSC     BL        Preparation of UBS/Dugaboy production.                   3.20        460.00      $1,472.00

 05/13/2021   GVD     BL        Attend conference re e-discovery issues (partial)        0.20        950.00       $190.00

 05/13/2021   GVD     BL        Review removal motions                                   0.20        950.00       $190.00

 05/13/2021   GVD     BL        Review J. Seery revisions to motion to enforce the       0.70        950.00       $665.00
                                reference
Pachulski Stang Ziehl & Jones LLP                                                             Page:    37
Highland Capital Management LP                                                                Invoice 127958
36027 - 00002                                                                                 May 31, 2021


                                                                                      Hours           Rate     Amount

 05/13/2021   GVD     BL        Review and respond to questions on motion to           0.20        950.00       $190.00
                                reconsider

 05/13/2021   JE      BL        Review and revise objection based on additional        3.10      1195.00       $3,704.50
                                comments and correspondence with Mr. Morris and
                                Mr. Demo regarding same (2.3); review revised
                                motion to enforce reference (.8).

 05/13/2021   HRW     BL        Research for motion to dismiss DAF complaint           3.50        695.00      $2,432.50
                                (3.5).

 05/13/2021   HRW     BL        Draft responses and objections to Dondero discovery    2.00        695.00      $1,390.00
                                in demand note litigation (2.0).

 05/13/2021   HRW     BL        Review UBS joint proposed scheduling order in          0.50        695.00       $347.50
                                adversary proceeding (0.4); Communicate with
                                Latham re: UBS joint proposed scheduling order in
                                adversary proceeding (0.1).

 05/14/2021   IDK     BL        Review and consider draft opposition to Dugaboy        0.20      1325.00        $265.00
                                motion to compel compliance with 2015.

 05/14/2021   IDK     BL        Review of further revised objection to DAF motion      0.30      1325.00        $397.50
                                for reconsideration of CEO retention

 05/14/2021   JNP     BL        Conference with John A. Morris regarding discovery     0.10      1295.00        $129.50
                                regarding contempt motion and related.

 05/14/2021   JNP     BL        Review discovery regarding contempt motion and         0.20      1295.00        $259.00
                                provide comments.

 05/14/2021   JNP     BL        Review responses to contempt motion filed by           0.30      1295.00        $388.50
                                various parties.

 05/14/2021   JNP     BL        Review final version of opposition to motion for       0.10      1295.00        $129.50
                                reconsideration.

 05/14/2021   KKY     BL        Draft 5/18/21 agenda                                   3.60        460.00      $1,656.00

 05/14/2021   JEO     BL        Review draft agenda for 5/18 hearing and circulate     0.70      1050.00        $735.00
                                to PSZJ team

 05/14/2021   JMF     BL        Draft opposition to 2015 motion.                       2.20      1050.00       $2,310.00

 05/14/2021   JMF     BL        Review agenda re hearing matters.                      0.20      1050.00        $210.00

 05/14/2021   JMF     BL        Review motion to enforce reference.                    0.40      1050.00        $420.00

 05/14/2021   JMF     BL        Review replies to re 9019 motion by UBS and            0.40      1050.00        $420.00
                                Debtor.

 05/14/2021   LAF     BL        Legal research re: Rule 2015.3.                        0.30        475.00       $142.50
Pachulski Stang Ziehl & Jones LLP                                                                Page:    38
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount

 05/14/2021   JAM     BL        Telephone conference with G. Demo re: litigation          1.20      1245.00       $1,494.00
                                matters (0.2); telephone conference with H.
                                Winograd re: status of litigation projects (0.1);
                                e-mail to J. Rudd, L. Drawhorn, J. Pomerantz, G.
                                Demo, H. Winograd re: proposed Scheduling Order
                                for Wick Phillips DQ litigation (0.1); telephone
                                conference with J. Dubel re: litigation matters (0.4);
                                communications c. w/ B. Sharp re: e-discovery (0.2);
                                telephone conference with J. Pomerantz re: litigation
                                matters (0.1); telephone conference with G. Demo
                                re: litigation matters (0.1).

 05/14/2021   JAM     BL        Preliminary review of objection to contempt motion        0.60      1245.00        $747.00
                                (0.4); telephone conference with J. Pomerantz re:
                                objections to contempt motion (0.2).

 05/14/2021   JAM     BL        Meet and confer call with M Aigen re: Rule 30(b)(6)       1.60      1245.00       $1,992.00
                                topics and depositions (0.3); e-mails with M. Aigen,
                                Bonds Ellis, J. Pomerantz re: discovery (0.2);
                                review/revise draft responses and objections to
                                Dondero's discovery requests (notes litigation) (1.1).

 05/14/2021   JAM     BL        [UBS AP] Communications with H. Winograd re:              0.40      1245.00        $498.00
                                proposed scheduling order on UBS adversary
                                proceeding (0.2); review proposed scheduling order
                                on UBS adversary proceeding (0.2).

 05/14/2021   JE      BL        Correspondence with Mr. Annable and Mr. Demo              1.20      1195.00       $1,434.00
                                regarding filing of objection; review revised motion
                                to enforce reference.

 05/14/2021   HRW     BL        Research for motion to dismiss DAF complaint              3.00        695.00      $2,085.00
                                (3.0).

 05/14/2021   HRW     BL        Draft responses and objections to Dondero discovery       2.50        695.00      $1,737.50
                                in demand note litigation (2.5).

 05/14/2021   HRW     BL        Communicate with Latham re: UBS joint proposed            1.00        695.00       $695.00
                                scheduling order in adversary proceeding (1.0).

 05/15/2021   JMF     BL        Review motion to quash re UBS discovery.                  0.30      1050.00        $315.00

 05/15/2021   JAM     BL        Draft document requests for Dondero, Patrick, CLO         6.30      1245.00       $7,843.50
                                Holdco/DAF for contempt proceeding (3.6); e-mails
                                to J. Pomerantz, I. Kharasch, G. Demo, H. Winograd
                                re: draft document requests for Dondero, Patrick,
                                CLO Holdco/DAF for contempt proceeding (0.2);
                                telephone conference with J. Dubel re: objections to
                                contempt motion and related matters (0.7); revisions
                                to draft document requests for Dondero, Patrick,
                                CLO Holdco/DAF for contempt proceeding (0.6);
                                e-mails to J. Seery, J. Pomerantz, I. Kharasch, G.
Pachulski Stang Ziehl & Jones LLP                                                              Page:    39
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                Demo, H. Winograd re: draft document requests for
                                Dondero, Patrick, CLO Holdco/DAF for contempt
                                proceeding (0.2); draft subpoena for Grant Scott
                                (0.4); telephone conference with J. Seery re:
                                discovery in connection with contempt motion (0.2);
                                telephone conference with G. Demo re: discovery in
                                connection with contempt motion (0.1); e-mails to
                                counsel for Violators re: discovery in connection
                                with contempt motion (0.3).
 05/15/2021   GVD     BL        Conference with J. Morris re discovery requests         0.10        950.00        $95.00

 05/15/2021   GVD     BL        Review draft discovery requests re contempt hearing     0.20        950.00       $190.00

 05/15/2021   GVD     BL        Review responses to order to show cause                 0.30        950.00       $285.00

 05/15/2021   HRW     BL        Research for motion to dismiss DAF complaint            2.50        695.00      $1,737.50
                                (2.5).

 05/16/2021   IDK     BL        Review and consider Dondero markup of order of          1.20      1325.00       $1,590.00
                                permanent injunction, as well as feedback of others
                                re same (.3); E-mails with J Pomerantz, others re my
                                comments to Dondero markup and other feedback,
                                along with coordination of call on same (.4); Attend
                                conference call with attorneys re same and next
                                steps with CEO (.4); Review of revised order on
                                permanent injunction (.1).

 05/16/2021   IDK     BL        E-mails with J Pomerantz, J Morris re Dondero           0.30      1325.00        $397.50
                                entities response to OSC re contempt, including
                                brief review of same

 05/16/2021   JNP     BL        Conference with J. Seery and John A. Morris             0.40      1295.00        $518.00
                                regarding potential resolution of injunction against
                                Dondero.

 05/16/2021   JNP     BL        Email to Bonds Ellis regarding potential resolution     0.10      1295.00        $129.50
                                of injunction against Dondero.

 05/16/2021   JNP     BL        Conference with Ira D. Kharasch, Gregory V. Demo        0.40      1295.00        $518.00
                                and John A. Morris regarding modifications to
                                injunction order proposed by Dondero.

 05/16/2021   JNP     BL        Review latest version of Dondero injunction order.      0.10      1295.00        $129.50

 05/16/2021   JNP     BL        Review former employees motion to quash                 0.10      1295.00        $129.50
                                subpoenas.

 05/16/2021   RJF     BL        Review former employees' motion to quash.               0.30      1395.00        $418.50

 05/16/2021   JAM     BL        Telephone conference with J. Pomerantz, I.              1.60      1245.00       $1,992.00
                                Kharasch, G. Demo re: permanent injunction against
                                Dondero (0.4); telephone conference with J. Seery
Pachulski Stang Ziehl & Jones LLP                                                              Page:    40
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                re: permanent injunction against Dondero (0.4);
                                review/revise modified permanent injunction (0.3);
                                e-mails with J. Pomerantz, I. Kharasch, G. Demo re:
                                revised permanent injunction (0.1); telephone
                                conference with J. Seery, J. Pomerantz re: modified
                                injunction against Dondero (0.4).
 05/16/2021   JAM     BL        Draft objection to Dondero's motion to compel (4.2);    4.30      1245.00       $5,353.50
                                e-mails with H. Winograd re: draft objection to
                                Dondero's motion to compel (0.1).

 05/16/2021   LSC     BL        Assist G. Demo with preparation of Appendix in          1.10        460.00       $506.00
                                Support of Motion for an Order to Enforce the Order
                                of Reference.

 05/16/2021   LSC     BL        Preparation of Exhibit and Witness List and exhibits    4.60        460.00      $2,116.00
                                in connection with May 21 UBS Hearing.

 05/16/2021   GVD     BL        Review proposed settlement re Dondero permanent         0.20        950.00       $190.00
                                injunction

 05/16/2021   GVD     BL        Conference with PSZJ team re negotiation of             0.40        950.00       $380.00
                                Dondero injunction

 05/16/2021   GVD     BL        Revise and circulate revisions to proposed Dondero      0.90        950.00       $855.00
                                injunction re comments from PSZJ group

 05/16/2021   JE      BL        Review responses of DAF and others to Order to          1.60      1195.00       $1,912.00
                                show cause, look at certain cited case law and
                                correspondence with team regarding same.

 05/16/2021   HRW     BL        Draft motion and related documents for DAF motion       1.60        695.00      $1,112.00
                                for enforcement of order of reference (1.6).

 05/17/2021   IDK     BL        Attend conference call with J Pomerantz, J Morris,      1.00      1325.00       $1,325.00
                                others on all numerous litigation matters and status
                                of each (1.0).

 05/17/2021   IDK     BL        Attend conference call with J Pomerantz, others re      0.80      1325.00       $1,060.00
                                DAF opposition to OSC re contempt, contempt
                                powers, damages and reply issues (.6); E-mails with
                                J Morris, others re same DAF opposition and related
                                errant E-mail issue (.2).

 05/17/2021   IDK     BL        Attend conference call with J Pomerantz, others on      1.00      1325.00       $1,325.00
                                DAF and OSC as well as other litigation matters
                                (1.0).

 05/17/2021   JNP     BL        Conference with J. Wilson (2x) regarding order on       0.40      1295.00        $518.00
                                injunction hearing and email regarding same.

 05/17/2021   JNP     BL        Conference with John A. Morris regarding order on       0.10      1295.00        $129.50
                                injunction hearing.
Pachulski Stang Ziehl & Jones LLP                                                             Page:    41
Highland Capital Management LP                                                                Invoice 127958
36027 - 00002                                                                                 May 31, 2021


                                                                                      Hours           Rate     Amount

 05/17/2021   JNP     BL        Review report of new litigation action.                0.10      1295.00        $129.50

 05/17/2021   JNP     BL        Review emails regarding summary of retentions and      0.10      1295.00        $129.50
                                compensation.

 05/17/2021   JNP     BL        Conference with PSZJ team regarding pending            1.00      1295.00       $1,295.00
                                litigation update.

 05/17/2021   JNP     BL        Conference with John A. Morris and J. Seery            0.50      1295.00        $647.50
                                regarding Dondero contempts hearing.

 05/17/2021   JNP     BL        Review transcript regarding 2015.3 testimony.          0.10      1295.00        $129.50

 05/17/2021   JNP     BL        Conference with J. Seery and John A. Morris            0.30      1295.00        $388.50
                                regarding latest proposal from J. Dondero regarding
                                injunction.

 05/17/2021   JNP     BL        Emails to and from J. Wilson regarding Dondero         0.20      1295.00        $259.00
                                injunction language.

 05/17/2021   JNP     BL        Conference with PSZJ team regarding contempt           0.60      1295.00        $777.00
                                reply.

 05/17/2021   JNP     BL        Conference with R. Nelms regarding contempt            0.10      1295.00        $129.50
                                issues.

 05/17/2021   JNP     BL        Detailed review of DAF response to contempt            1.40      1295.00       $1,813.00
                                motion and draft comments thereto.

 05/17/2021   JNP     BL        Conference with John A. Morris regarding DAF           0.10      1295.00        $129.50
                                contempt issues.

 05/17/2021   JNP     BL        Conference with J. Dubel regarding DAF litigation      0.20      1295.00        $259.00
                                and related issues.

 05/17/2021   JNP     BL        Conference with PSZJ team regarding DAF                0.50      1295.00        $647.50
                                response.

 05/17/2021   JNP     BL        Conference with R. Nelms and John A. Morris            0.40      1295.00        $518.00
                                regarding contempt issues.

 05/17/2021   JNP     BL        Conference with John A. Morris regarding contempt      0.20      1295.00        $259.00
                                reply.

 05/17/2021   JNP     BL        Emails regarding jurisdiction regarding DAF            0.10      1295.00        $129.50
                                proceeding.

 05/17/2021   JNP     BL        Consider issues regarding pending contempt motion.     0.20      1295.00        $259.00

 05/17/2021   JNP     BL        Conference with DSI, J. Seery, Gregory V. Demo         0.50      1295.00        $647.50
                                and Robert J. Feinstein regarding HFP transfers.

 05/17/2021   KKY     BL        Review and revise 5/18/21 agenda                       0.10        460.00        $46.00
Pachulski Stang Ziehl & Jones LLP                                                                Page:    42
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount

 05/17/2021   JEO     BL        Review comments to 5/18 hearing agenda and                2.00      1050.00       $2,100.00
                                coordinate filing and service of same

 05/17/2021   RJF     BL        Internal update call regarding all litigation matters.    1.00      1395.00       $1,395.00

 05/17/2021   RJF     BL        Review opposition to contempt motion, related             0.80      1395.00       $1,116.00
                                emails.

 05/17/2021   RJF     BL        Internal call regarding contempt motion.                  0.50      1395.00        $697.50

 05/17/2021   RJF     BL        Review motion to quash, related emails.                   0.50      1395.00        $697.50

 05/17/2021   RJF     BL        Call with DSI, Seery, Gregory V. Demo and Jeffrey         0.50      1395.00        $697.50
                                N. Pomerantz regarding HFP transfers.

 05/17/2021   JMF     BL        Review litigation chart and pending motions (.3);         1.30      1050.00       $1,365.00
                                telephone call with J.N. Pomerantz, J. Morris, I.
                                Kharasch, R. Feinstein, G. Demo and H. Winograd
                                re same (1.0).

 05/17/2021   JMF     BL        Review confirmation and deposition transcripts.           0.40      1050.00        $420.00

 05/17/2021   JAM     BL        Telephone conference with C. Mackle re:                   3.50      1245.00       $4,357.50
                                e-discovery (0.2); e-mail to C. Mackle, G. Demo, B.
                                Sharp, H. Winograd, L. Canty, J. Vaughn re:
                                e-discovery (0.3); e-mails with G. Demo re: HCLOF
                                litigation and Guernsey (0.1); telephone conference
                                with C. Mackle, H. Winograd, DSI, iDiscovery, T.
                                Surgent re: e-discovery (0.4); telephone conference
                                with J. Pomerantz re: litigation matters (0.3);
                                internal call re: litigation report (J. Pomerantz, G.
                                Demo, J. Fried, H. Winograd) (1.0); telephone
                                conference with J. Seery, J. Pomerantz re: Dondero
                                litigation matters (0.5); telephone conference with J.
                                Pomerantz re: Dondero litigation matters (0.2);
                                telephone conference with J. Seery, J. Pomerantz re:
                                Dondero litigation matters (0.2); review multiple
                                version of revised permanent injunction (0.3).

 05/17/2021   JAM     BL        E-mails with L. Phillips, M. Sbaiti, others re:           2.00      1245.00       $2,490.00
                                discovery (0.3); telephone conference with J.
                                Pomerantz, J. Elkin, G. Demo, I. Kharasch re: legal
                                and factual issues concerning Contempt Motion
                                (0.6); telephone conference with J. Pomerantz, J.
                                Elkin, G. Demo, I. Kharasch, R. Feinstein re: legal
                                and factual issues concerning Contempt Motion
                                (0.7); telephone conference with J. Pomerantz, R.
                                Nelms re: DAF contempt issues (0.4).

 05/17/2021   JAM     BL        Review/revise objection to Dondero motion to              3.10      1245.00       $3,859.50
                                compel (2.0); e-mails with J. Pomerantz, G. Demo,
                                H. Winograd, Z. Annable re: draft objection to
Pachulski Stang Ziehl & Jones LLP                                                               Page:    43
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount
                                Dondero motion to compel (0.2); draft JAM
                                declaration in support of Debtor's objection to
                                Dondero motion to compel (0.7); e-mails with G.
                                Demo, H. Winograd, L. Canty, Z. Annable re:
                                exhibits to JAM declaration (0.2).
 05/17/2021   LSC     BL        Participate on call re e-discovery and then follow up    0.60        460.00       $276.00
                                call with C. Mackle and H. Winograd.

 05/17/2021   LSC     BL        Preparation of materials for 5/18 Dondero trial.         2.10        460.00       $966.00

 05/17/2021   LSC     BL        Conduct research in connection with motion to            0.60        460.00       $276.00
                                withdraw the reference for G. Demo.

 05/17/2021   LSC     BL        Assist with preparation of exhibits in connection        0.40        460.00       $184.00
                                with Debtor's Objection to Motion to Compel
                                Deposition Testimony of James P. Seery, Jr.

 05/17/2021   LSC     BL        Continued preparation of Exhibit and Witness List        5.30        460.00      $2,438.00
                                and exhibits in connection with May 21 UBS
                                Hearing, including research in connection with the
                                same (5.3).

 05/17/2021   GVD     BL        Review recently filed Acis litigation                    0.20        950.00       $190.00

 05/17/2021   GVD     BL        Review response to motion to compel                      0.30        950.00       $285.00

 05/17/2021   GVD     BL        Review correspondence re Reid Collins engagement         0.20        950.00       $190.00

 05/17/2021   GVD     BL        Conference with DSI, J. Seery, and PSZJ re potential     0.50        950.00       $475.00
                                new asset movement issues

 05/17/2021   GVD     BL        Conference with PSZJ re reply to responses to order      0.70        950.00       $665.00
                                to show cause

 05/17/2021   GVD     BL        Review and revise motion and order on order to           1.10        950.00      $1,045.00
                                enforce the reference

 05/17/2021   GVD     BL        Conference (internal) re contempt motion and next        0.60        950.00       $570.00
                                steps

 05/17/2021   GVD     BL        Review contempt motions re research issues               0.30        950.00       $285.00

 05/17/2021   GVD     BL        Prepare for argument on motions to withdraw the          0.80        950.00       $760.00
                                reference

 05/17/2021   GVD     BL        Review motions to quash subpoena and                     0.40        950.00       $380.00
                                correspondence re same

 05/17/2021   GVD     BL        Conference with K. George re discovery issues            0.20        950.00       $190.00

 05/17/2021   JE      BL        Call with PSZJ team to discuss show cause reply          5.00      1195.00       $5,975.00
                                (.6); second call with PSZJ team to discuss show
                                cause reply (.8); review comments of Mr. Pomerantz
Pachulski Stang Ziehl & Jones LLP                                                               Page:    44
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount
                                and Mr. Feinstein regarding reply (.4); research
                                issues for reply on civil contempt and jurisdiction
                                (3.2).
 05/17/2021   HRW     BL        Review critical dates and deadlines for outstanding      2.70        695.00      $1,876.50
                                litigation (0.7); PSZJ outstanding litigation call
                                (1.0); E-discovery call for outstanding discovery in
                                various litigations (0.5); Call with C. Mackle and L.
                                Canty re: e-discovery (0.2); Review discovery
                                requests in outstanding matters (0.3).

 05/17/2021   HRW     BL        Draft motion to dismiss DAF complaint (4.5).             4.50        695.00      $3,127.50

 05/17/2021   HRW     BL        Oversee discovery searches and production for NPA        0.50        695.00       $347.50
                                notes litigation (0.3); Review opposition to Dondero
                                motion to compel in notes litigation (0.2).

 05/18/2021   IDK     BL        E-mails with J Pomerantz, others on need for call on     0.40      1325.00        $530.00
                                Fund Advisors (.1); Attend part of conference call
                                with J Pomerantz, J Morris, G Demo re Fund
                                Advisors potential settlement (.3).

 05/18/2021   IDK     BL        Review of revised draft of opposition to motion to       0.30      1325.00        $397.50
                                compel compliance with 2015 (.2); E-mail J
                                Pomerantz re my feedback on same (.1).

 05/18/2021   IDK     BL        Attend part of conference call with J Pomerantz,         0.30      1325.00        $397.50
                                others on contempt motion and opposition thereto
                                and potential response

 05/18/2021   JJK     BL        Emails Demo on Stern issues for hearing and              0.80        995.00       $796.00
                                consider same.

 05/18/2021   JNP     BL        Participate in hearing regarding Dondero injunction.     0.70      1295.00        $906.50

 05/18/2021   JNP     BL        Conference with John A. Morris after Dondero             0.30      1295.00        $388.50
                                injunction hearing (2x).

 05/18/2021   JNP     BL        Conference with J. Dubel regarding results of            0.20      1295.00        $259.00
                                Dondero injunction hearing.

 05/18/2021   JNP     BL        Emails regarding call to discuss Funds/Advisor           0.10      1295.00        $129.50
                                adversary proceeding.

 05/18/2021   JNP     BL        Conference with John A. Morris, Gregory V. Demo          0.20      1295.00        $259.00
                                and Ira D. Kharasch regarding potential resolution of
                                Advisors and Funds adversary proceeding.

 05/18/2021   JNP     BL        Review and revise opposition to Rule 2015.3              1.00      1295.00       $1,295.00
                                motion.

 05/18/2021   JNP     BL        Conference with PSZJ team regarding DAF                  0.70      1295.00        $906.50
                                contempt reply.
Pachulski Stang Ziehl & Jones LLP                                                               Page:    45
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

 05/18/2021   JNP     BL        Review motion to withdraw the reference in               0.40      1295.00        $518.00
                                preparation for hearing.

 05/18/2021   JNP     BL        Review reply regarding motion to withdraw                0.10      1295.00        $129.50
                                reference.

 05/18/2021   RJF     BL        Call with Jeffrey N. Pomerantz, Gregory V. Demo,         0.70      1395.00        $976.50
                                Judith Elkin, John A. Morris regarding DAF
                                contempt reply.

 05/18/2021   RJF     BL        Revise motion to enforce.                                1.20      1395.00       $1,674.00

 05/18/2021   RJF     BL        Review Villegas case.                                    0.20      1395.00        $279.00

 05/18/2021   RJF     BL        Review Elkin contempt research, related emails.          0.30      1395.00        $418.50

 05/18/2021   JMF     BL        Draft memorandum re pending motions and issues           1.30      1050.00       $1,365.00
                                (.3); telephone call with J.N. Pomerantz, J. O'Neill,
                                I. Kharasch, G. Demo, J. Morris, H. Winograd re
                                same (1.0).

 05/18/2021   JMF     BL        Review order re resolution of contempt trial.            0.20      1050.00        $210.00

 05/18/2021   JMF     BL        Review 2015 issues re response to motion.                0.30      1050.00        $315.00

 05/18/2021   JMF     BL        Review response re discovery motion to compel            0.30      1050.00        $315.00
                                testimony re demand notes.

 05/18/2021   JMF     BL        Review reply re motion to withdraw reference.            0.30      1050.00        $315.00

 05/18/2021   JAM     BL        Multiple revisions to draft Consensual Order             7.10      1245.00       $8,839.50
                                excerpts (0.9); draft and revise Final Consensual
                                Order (0.9); draft and revise Notice of Filing of
                                Consensual Order (0.5); e-mails with J. Wilson, J.
                                Bonds, B. Assink, J. Pomerantz, G. Demo, H.
                                Winograd, Z. Annable re: multiple version of the
                                Consensual Order excerpts, the Final Consensual
                                Order, and the Notice of Filing (0.4); prepare for
                                hearing (2.8); telephone conference with J. Seery re:
                                settlement/hearing (0.1); telephone conference with
                                L. Canty re: hearing on Dondero injunction (0.1);
                                court hearing on Dondero injunction proceeding
                                (0.7); telephone conference with J. Pomerantz re:
                                injunction hearing and litigation matters (0.2);
                                telephone conference with J. Seery, J. Pomerantz re:
                                injunction proceeding and related matters (0.3);
                                telephone conference with G. Demo re: document
                                production of UBS 9019 motion (0.1); telephone
                                conference with J. Pomerantz re: litigation matters
                                (0.1).

 05/18/2021   JAM     BL        Telephone conference with J. Elkin re: issues            1.10      1245.00       $1,369.50
Pachulski Stang Ziehl & Jones LLP                                                              Page:    46
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                concerning reply brief for Contempt motion (0.4);
                                telephone conference with J. Pomerantz, I.
                                Kharasch, R. Feinstein, J. Elkin, G. Demo re: reply
                                brief on contempt motion (0.7).
 05/18/2021   JAM     BL        E-mails with Dondero's counsel re: depositions and      0.90      1245.00       $1,120.50
                                (another) potential motion to compel (0.2); review
                                draft responses and objections to Dondero's first
                                discovery requests (0.3); e-mail to J. Seery, T.
                                Surgent, D. Klos, J. Pomerantz, H. Winograd re:
                                draft responses and objections to Dondero's first
                                discovery requests (0.1); review documents and
                                e-mails with H. Winograd, L. Canty re: document
                                production (0.3).

 05/18/2021   LSC     BL        Prepare for and assist at Dondero contempt hearing.     0.60        460.00       $276.00

 05/18/2021   LSC     BL        Revise Exhibit and Witness List, prepare additional     4.90        460.00      $2,254.00
                                exhibits in connection with May 21 UBS Hearing,
                                and correspondence regarding the same.

 05/18/2021   LSC     BL        Preparation of additional document production to        2.70        460.00      $1,242.00
                                UBS and correspondence with attorneys regarding
                                the same.

 05/18/2021   GVD     BL        Attend hearing re Dondero injunction                    0.70        950.00       $665.00

 05/18/2021   GVD     BL        Conference with PSZJ working group re potential         0.40        950.00       $380.00
                                settlement of Advisors litigation

 05/18/2021   GVD     BL        Conference with PSZJ working group re contempt          0.70        950.00       $665.00
                                proceedings

 05/18/2021   GVD     BL        Prepare for argument re motion to withdraw the          4.90        950.00      $4,655.00
                                reference

 05/18/2021   JE      BL        Call with team regarding show cause reply (.7);         6.90      1195.00       $8,245.50
                                research various issues raised in show cause
                                response (5.8); call with Mr. Morris regarding fact
                                section and related research (.4).

 05/18/2021   HRW     BL        Draft memo of law in support of motion to dismiss       7.00        695.00      $4,865.00
                                DAF complaint (7.0).

 05/18/2021   HRW     BL        Gather general discovery in notes litigations (0.5);    1.20        695.00       $834.00
                                Review discovery demands in notes litigation (0.3);
                                Call with J. Morris re: general discovery for notes
                                litigation (0.1); Call with J. Donahue re: general
                                discovery for notes litigation (0.3).

 05/19/2021   IDK     BL        E-mails with J Fried, others on information needed      0.90      1325.00       $1,192.50
                                for opposition to motion to compel on 2015 (.1);
                                Attend conference call with DSI, J Pomerantz, J
Pachulski Stang Ziehl & Jones LLP                                                                 Page:    47
Highland Capital Management LP                                                                    Invoice 127958
36027 - 00002                                                                                     May 31, 2021


                                                                                          Hours           Rate     Amount
                                Fried, others on revised draft of opposition to motion
                                to compel on 2015 (.4); E-mails with J Fried, DSI re
                                questions on related issues for same (.2); Review of
                                revised opposition re same and need to send to UCC
                                and Board (.2).
 05/19/2021   IDK     BL        Attend conference call with J Pomerantz, others on         1.20      1325.00       $1,590.00
                                presentation of opposition argument to motions to
                                withdraw the reference (1.2)

 05/19/2021   JNP     BL        Conference with DSI, Ira D. Kharasch, Joshua M.            0.40      1295.00        $518.00
                                Fried, and James E. O'Neill regarding opposition to
                                2015.3 motion.

 05/19/2021   JNP     BL        Conference with Ira D. Kharasch and Joshua M.              0.10      1295.00        $129.50
                                Fried regarding professional retention related issues.

 05/19/2021   JNP     BL        Conference with Hogewood,D. rukavina and John              0.20      1295.00        $259.00
                                A. Morris regarding potential resolution of adversary
                                proceeding.

 05/19/2021   JNP     BL        Conference with John A. Morris after call with D.          0.10      1295.00        $129.50
                                Rukavina and l. Hogewood regarding resolution of
                                funds/advisor adversary proceeding

 05/19/2021   JNP     BL        Email to and from l. Hogewood regarding potential          0.20      1295.00        $259.00
                                settlement and follow-up call with John A. Morris
                                regarding same.

 05/19/2021   JNP     BL        Review and revise latest versions of opposition to         0.40      1295.00        $518.00
                                Rule 2015.3. motion.

 05/19/2021   JNP     BL        Review and comment on latest version of motion to          0.40      1295.00        $518.00
                                enforce reference; Conference with Gregory V.
                                Demo regarding same.

 05/19/2021   JNP     BL        Review and revise sections of contempt reply brief.        1.00      1295.00       $1,295.00

 05/19/2021   JNP     BL        Conference with John A. Morris regarding discovery         0.20      1295.00        $259.00
                                in pending note litigation and other litigation issues.

 05/19/2021   JNP     BL        Participate on zoom hearing prep for motions to            1.20      1295.00       $1,554.00
                                withdraw the reference with Gregory V. Demo, John
                                A. Morris and Ira D. Kharasch.

 05/19/2021   KKY     BL        Respond to email from James E. O'Neill re hearing          0.10        460.00        $46.00
                                transcripts

 05/19/2021   VLD     BL        Review docket, court calendar, critical date memo          1.60        395.00       $632.00
                                and pleadings and organize and assemble materials
                                for May 21 and 25 hearings.

 05/19/2021   RJF     BL        Review revised version of motion to enforce the            0.40      1395.00        $558.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:    48
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate      Amount
                                reference.
 05/19/2021   RJF     BL        Initial review of motion to dismiss.                     0.40      1395.00         $558.00

 05/19/2021   RJF     BL        Comment on deposition notices to DAF and CLC.            0.20      1395.00         $279.00

 05/19/2021   RJF     BL        Continued work on motion to dismiss.                     0.50      1395.00         $697.50

 05/19/2021   RJF     BL        Research regarding contempt, related emails.             0.40      1395.00         $558.00

 05/19/2021   RJF     BL        Call with UBS counsel regarding factual findings.        0.80      1395.00        $1,116.00

 05/19/2021   JMF     BL        Telephone call with I. Kharasch, J.N. Pomerantz, B.      3.70      1050.00        $3,885.00
                                Sharp, J. Romey re 2015 issues (.5); draft opposition
                                to same (3.2).

 05/19/2021   LAF     BL        Locate Rule 2015.3 form.                                 0.50        475.00        $237.50

 05/19/2021   JAM     BL        [UBS 9019] E-mails with D. Draper re: exhibits and       0.30      1245.00         $373.50
                                document production (0.3).

 05/19/2021   JAM     BL        Telephone conference with C. Mackle, H. Winograd         1.70      1245.00        $2,116.50
                                re: document production (0.4); telephone conference
                                with L. Lambert re: various litigation matters (0.3);
                                telephone conference with J. Pomerantz re: litigation
                                matters (0.2); e-mails with T. Surgent, J. Pomerantz
                                re: potential conflict with Stinson attorneys (0.1);
                                telephone conference with J. Pomerantz, D.
                                Rukavina, L. Hogewood re: potential settlement of
                                Advisors/Funds injunction litigation (0.2); further
                                communications w/ J. Pomerantz, L. Hogewood re:
                                potential settlement of Advisors/Funds injunction
                                litigation (0.2); telephone conference with J. Seery
                                re: litigation matters (0.2); telephone conference
                                with H. Winograd re: litigation update (0.1).

 05/19/2021   JAM     BL        Prepare notice of deposition for Mark Patrick (0.3);     8.10      1245.00       $10,084.50
                                e-mails with Z. Annable, H. Winograd re: Patrick
                                notice of deposition (0.1); prepare Rule 30(b)(6)
                                deposition notice for DAF/CLO Holdco (0.6);
                                e-mails with J. Pomerantz, R. Feinstein, G. Demo, Z.
                                Annable re: Rule 30(b)(6) deposition notice for
                                DAF/CLO Holdco (0.1); work on reply brief for
                                contempt motion (6.8); e-mails with L. Phillips,
                                others re: depositions (0.1); e-mail to J. Pomerantz,
                                R. Feinstein, J. Elkin re: reply brief for contempt
                                motion (0.1).

 05/19/2021   JAM     BL        Review documents and e-mails to H. Winograd, L.          1.30      1245.00        $1,618.50
                                Canty re: document production for Dondero notes
                                litigation (0.7); e-mails with J. Seery, H. Winograd
                                re: discovery responses, notary (0.2); e-mails with
                                Dondero's counsel, J. Pomerantz, H. Winograd re:
Pachulski Stang Ziehl & Jones LLP                                                               Page:    49
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate      Amount
                                expert witnesses and discovery (0.4).
 05/19/2021   LSC     BL        Update Appendix in Support of Motion for an Order        0.60        460.00        $276.00
                                to Enforce the Order of Reference and exhibits..

 05/19/2021   LSC     BL        Review documents and prepare supplemental               12.90        460.00       $5,934.00
                                production in connection with Dondero notes
                                litigation, including redaction of documents,
                                addressing various issues in connection with the
                                same, and correspondence regarding the same.

 05/19/2021   GVD     BL        Correspondence with board re motion to compel            0.20        950.00        $190.00
                                production of 2015.3 reports

 05/19/2021   GVD     BL        Review and revise response to motion to compel           0.50        950.00        $475.00
                                2015.3 reports

 05/19/2021   GVD     BL        Correspondence with J. Elkin re contempt motion          0.10        950.00         $95.00

 05/19/2021   GVD     BL        Finalize and file motion to enforce the reference        2.10        950.00       $1,995.00

 05/19/2021   GVD     BL        Attend conference with PSZJ working team re              1.20        950.00       $1,140.00
                                preparation for argument on motion to withdraw
                                reference

 05/19/2021   GVD     BL        Prepare for argument on motion to withdraw the           3.10        950.00       $2,945.00
                                reference

 05/19/2021   GVD     BL        Attend conference with Latham, DSI, and J. Seery re      1.30        950.00       $1,235.00
                                additional discovery

 05/19/2021   GVD     BL        Conference with UBS re notices freezing accounts         0.20        950.00        $190.00

 05/19/2021   GVD     BL        Review open UBS discovery issues                         0.40        950.00        $380.00

 05/19/2021   GVD     BL        Conference with J. Romey re UBS call                     0.20        950.00        $190.00

 05/19/2021   JE      BL        Review and comment on discovery notice (.3);            13.30      1195.00       $15,893.50
                                review cases cited by DAF in brief (2.3); work on
                                reply brief and miscellaneous correspondence with
                                Mr. Morris and Mr. Pomerantz regarding same
                                (10.7).

 05/19/2021   HRW     BL        Draft memo of law in support of motion to dismiss        1.50        695.00       $1,042.50
                                DAF complaint (1.5).

 05/19/2021   HRW     BL        Send amended discovery R&Os to opposing counsel          0.50        695.00        $347.50
                                for NPA requests in notes litigation (0.1); Call with
                                J. Morris and C. Mackle re: document production to
                                Dondero's first Set of requests in notes litigation
                                (0.3); Send production to Dondero's counsel in
                                response to first set of requests in notes litigation
                                (0.1).
Pachulski Stang Ziehl & Jones LLP                                                               Page:    50
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

 05/19/2021   HRW     BL        Prepare and review document production to                2.20        695.00      $1,529.00
                                Dondero's first Set of requests in notes litigation
                                (2.2).

 05/20/2021   IDK     BL        Review and consider various revisions to opposition      0.30      1325.00        $397.50
                                to compel 2015 compliance, along with related
                                correspondence with UCC counsel re same and its
                                comments.

 05/20/2021   JNP     BL        Email to and from Alyssa Russell regarding 2015.3        0.10      1295.00        $129.50
                                opposition.

 05/20/2021   JNP     BL        Participate in hearing on committee stay motion          0.70      1295.00        $906.50
                                (partial).

 05/20/2021   JNP     BL        Review and revise reply regarding contempt motion.       1.00      1295.00       $1,295.00

 05/20/2021   JNP     BL        Participate in hearing on motion to compel J. Seery      1.10      1295.00       $1,424.50
                                testimony.

 05/20/2021   JNP     BL        Emails to and from J. Seery and Gregory V. Demo          0.10      1295.00        $129.50
                                regarding Latham communications with DSI.

 05/20/2021   JNP     BL        Emails to and from John A. Morris regarding U. S.        0.10      1295.00        $129.50
                                Trustee inquiry.

 05/20/2021   RJF     BL        Numerous emails regarding upcoming depositions           0.30      1395.00        $418.50
                                and interview requests.

 05/20/2021   JMF     BL        Draft response re 2015 motion and address                2.80      1050.00       $2,940.00
                                committee comments re same.

 05/20/2021   JAM     BL        Telephone conference with J. Seery re: litigation        1.60      1245.00       $1,992.00
                                matters (0.1); court conference on UCC action
                                (DAF) (1.4); telephone conference with J. Dubel re:
                                court conference (0.1).

 05/20/2021   JAM     BL        Continued work on reply brief on contempt motion         5.10      1245.00       $6,349.50
                                (4.5); telephone conference with J. Elkin re: reply
                                brief on contempt motion (0.2); e-mails to counsel
                                for the alleged Violators re: discovery (0.2); review
                                document requests (0.1); telephone conference with
                                J. Pomerantz re: document requests (0.1).

 05/20/2021   JAM     BL        Preparing for hearing on Dondero's motion to             1.40      1245.00       $1,743.00
                                compel (0.3); court conference on Dondero's motion
                                to compel (1.1).

 05/20/2021   LSC     BL        Address issues in connection with document               4.10        460.00      $1,886.00
                                productions, including retrieval of documents with
                                issues, and correspondence regarding the same (1.7);
                                continued preparation of rolling document
Pachulski Stang Ziehl & Jones LLP                                                              Page:    51
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate      Amount
                                productions (2.4).
 05/20/2021   LSC     BL        Begin preparation in connection with UBS                2.40        460.00       $1,104.00
                                settlement hearing and address issues in connection
                                therewith.

 05/20/2021   GVD     BL        Attend hearing re UCC adversary against CLO             1.40        950.00       $1,330.00
                                Holdco

 05/20/2021   GVD     BL        Conference with J. Morris re litigation                 0.10        950.00         $95.00

 05/20/2021   GVD     BL        Conference with E. Bromagen re response to 2015.3       0.10        950.00         $95.00
                                report

 05/20/2021   GVD     BL        Review reply to contempt motion                         0.30        950.00        $285.00

 05/20/2021   GVD     BL        Attend hearing re motion to compel                      1.10        950.00       $1,045.00

 05/20/2021   GVD     BL        Attend to issues re UBS discovery request               0.70        950.00        $665.00

 05/20/2021   GVD     BL        Conference with UBS and Morgan Lewis re                 0.30        950.00        $285.00
                                interview issues

 05/20/2021   JE      BL        Work on reply brief (11.0); review motion to amend     13.10      1195.00       $15,654.50
                                complaint (.4); call with Mr. Morris regarding
                                briefing (.3); research judgment issues (1.4).

 05/21/2021   IAWN BL           Review Gregory Demo emails and responses from           0.10      1145.00         $114.50
                                Cayman counsel re letters re claim

 05/21/2021   JNP     BL        Emails and review and revised reply regarding           1.00      1295.00        $1,295.00
                                contempt motion.

 05/21/2021   RJF     BL        Review and comment on contempt motion reply.            0.50      1395.00         $697.50

 05/21/2021   JMF     BL        Review replies re contempt and reference                0.40      1050.00         $420.00
                                withdrawal motions.

 05/21/2021   JAM     BL        E-mails to counsel for the Violators re: discovery      4.50      1245.00        $5,602.50
                                (0.2); review/revise draft reply on Contempt Motion
                                (3.3); e-mail to J. Seery, PSZJ team re: draft Reply
                                on Contempt Motion (0.1); telephone conference
                                with G. Demo re: facts concerning contempt motion
                                (0.1); review/revise draft Reply on Contempt Motion
                                (0.4); communications with J. Elkin, H. Winograd,
                                Z. Annable re: Reply and supporting declaration on
                                Contempt Motion (0.2); revise subpoena for Grant
                                Scott (0.1); e-mails with J. Kane, J. Pomerantz, G.
                                Demo, H. Winograd re: Scott subpoena (0.1).

 05/21/2021   JAM     BL        Finalize responses and objections to Dondero's          0.20      1245.00         $249.00
                                second set of document requests (0.1); e-mail to
                                Dondero's counsel re: R&Os to second set of
Pachulski Stang Ziehl & Jones LLP                                                                Page:    52
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate      Amount
                                document requests (0.1).
 05/21/2021   LSC     BL        Preparation of exhibit lists (3) and exhibits for         3.30        460.00       $1,518.00
                                5/25/21 hearing.

 05/21/2021   LSC     BL        Prepare for and assist at hearing on UBS settlement.      6.50        460.00       $2,990.00

 05/21/2021   GVD     BL        Review Sbaiti reply to motion for reconsideration         0.20        950.00        $190.00

 05/21/2021   GVD     BL        Review draft reply to contempt motion                     1.50        950.00       $1,425.00

 05/21/2021   GVD     BL        Conference with J. Morris re contempt reply               0.10        950.00         $95.00

 05/21/2021   GVD     BL        Prepare witness and exhibit list re notes litigation      0.60        950.00        $570.00

 05/21/2021   GVD     BL        Review and finalize letter re Sentinel policy             0.30        950.00        $285.00

 05/21/2021   JE      BL        Review comments on brief from Mr. Pomertantz              8.90      1195.00       $10,635.50
                                (.2); call with Mr. Morris regarding revisions (.3);
                                review revised brief and continue making revisions
                                and adding final sections to prepare for filing (7.2);
                                correspondence with Mr. Demo and Ms. Winograd
                                regarding exhibits for Morris declaration (.4); review
                                DAF reply to Motion to Modify July 16 Order,
                                review certain case cites in Reply and
                                correspondence with team regarding same (.8).

 05/21/2021   HRW     BL        Prepare declaration and gather exhibits for reply in      1.20        695.00        $834.00
                                support of DAF contempt motion (1.2).

 05/22/2021   JNP     BL        Review motion to reopen Acis case and motion for          0.20      1295.00         $259.00
                                clarification regarding injunction.

 05/22/2021   JNP     BL        Review reply regarding motion for clarification and       0.50      1295.00         $647.50
                                research and emails regarding same.

 05/22/2021   JNP     BL        Review motion to amend answer and emails                  0.20      1295.00         $259.00
                                regarding same.

 05/22/2021   JNP     BL        Review motion to compel testimony of former               0.20      1295.00         $259.00
                                employees.

 05/22/2021   JAM     BL        E-mails with M. Sbaiti, J. Pomerantz re: meet and         0.30      1245.00         $373.50
                                confer (0.1); review e-mails re: motion for
                                reconsideration (0.2).

 05/22/2021   JAM     BL        Telephone conference with J. Seery, T. Surgent, D.        1.20      1245.00        $1,494.00
                                Klos, G. Demo re: Advisors' motion to amend and
                                impact on motion to withdraw the reference (0.7);
                                telephone conference with J. Pomerantz re:
                                Advisors' motion to amend and impact on motion to
                                withdraw the reference (0.3); review documents
                                concerning Advisors' motion to amend and impact
Pachulski Stang Ziehl & Jones LLP                                                                Page:    53
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount
                                on motion to withdraw the reference (0.2).
 05/22/2021   GVD     BL        Conference with J. Morris, J. Seery, and HCMLP            1.10        950.00      $1,045.00
                                team re HCMFA affirmative defense

 05/22/2021   GVD     BL        Review motions for leave to amend                         0.20        950.00       $190.00

 05/22/2021   GVD     BL        Draft supplemental disclosure letter                      0.80        950.00       $760.00

 05/22/2021   JE      BL        Review various pleadings filed in Acis case and           1.30      1195.00       $1,553.50
                                discuss same with Mr. Pomerantz (.7); review
                                Dondero injunction lawsuit pleadings (.6).

 05/22/2021   JE      BL        Miscellaneous correspondence regarding preparation        0.60      1195.00        $717.00
                                for hearings on Motion to Modify and Contempt
                                Motion.

 05/22/2021   HRW     BL        Draft memo of law in support of motion to dismiss         3.00        695.00      $2,085.00
                                DAF complaint (3.0).

 05/22/2021   HRW     BL        Review HCMFA motion to amend answer (0.5).                0.50        695.00       $347.50

 05/23/2021   JNP     BL        Conference with John A. Morris and M. Sbaiti              0.60      1295.00        $777.00
                                regarding discovery.

 05/23/2021   JNP     BL        Review email from M. Sbaiti; Conference with John         0.10      1295.00        $129.50
                                A. Morris regarding same.

 05/23/2021   JNP     BL        Emails to and from D. Rukavina regarding Sauter           0.20      1295.00        $259.00
                                subpoena in connection with reference motion.

 05/23/2021   JAM     BL        E-mails with C. Mackle, H. Winograd re: document          0.10      1245.00        $124.50
                                production (0.1).

 05/23/2021   JAM     BL        Prepare Notice of Service of Subpoena (Grant Scott)       1.40      1245.00       $1,743.00
                                (0.2); e-mails to J. Seery, T. Surgent, J. Pomerantz,
                                Z. Annable re: subpoena for Scott (0.2); e-mail to C.
                                Taylor, J. Bonds, J. Pomerantz, G. Demo, H.
                                Winograd re: discovery in connection with contempt
                                motion (0.3); meet and confer call with J.
                                Pomerantz, M. Sbaiti re: Violators' document
                                requests and related matters (0.5); telephone
                                conference with J. Pomerantz re: discovery requests
                                (0.2).

 05/23/2021   JAM     BL        Prepare Subpoena for DC Sauter (notes litigation)         4.70      1245.00       $5,851.50
                                for hearing on motion to withdraw reference (0.3);
                                e-mail to J. Seery, T. Surgent, D. Klos, J. Pomerantz,
                                G. Demo, H. Winograd re: strategy, hearing on
                                motion to withdraw reference (0.3); telephone
                                conference with J. Seery, G, Demo re: prepare for
                                deposition (Dondero notes litigation) (1.1); e-mail to
                                H. Winograd, J. Pomerantz, I. Kharasch, G. Demo
Pachulski Stang Ziehl & Jones LLP                                                                 Page:    54
Highland Capital Management LP                                                                    Invoice 127958
36027 - 00002                                                                                     May 31, 2021


                                                                                          Hours           Rate     Amount
                                re: motion for summary judgment, opposition to
                                motions to amend (0.7); communications with G.
                                Demo re: potential exhibits for amended W&E list
                                (0.2); e-mails with B. Levine re: Dondero summary
                                judgment motion (0.1); telephone conference with
                                H. Winograd re: Dondero summary judgment
                                motion (0.1); telephone conference with G. Demo
                                re: documents/exhibit list/facts re: motion to
                                withdraw the reference (1.1); revise Sauter subpoena
                                (0.1); e-mails with Z. Annable re: Sauter subpoena
                                (0.3); amend Sauter subpoena (0.1); e-mails with D.
                                Rukavina, J. Pomerantz re: Sauter subpoena (0.3).
 05/23/2021   LSC     BL        Preparation of amended exhibit lists (3) and exhibits      5.60        460.00      $2,576.00
                                for 5/25/21 hearing, including redactions to certain
                                exhibits.

 05/23/2021   GVD     BL        Conference with J. Morris re motion to withdraw            0.10        950.00        $95.00
                                reference

 05/23/2021   GVD     BL        Conference with J. Seery and J. Morris re depo prep        1.20        950.00      $1,140.00
                                for notes litigation

 05/23/2021   GVD     BL        Conference with J. Morris re evidentiary issues for        1.10        950.00      $1,045.00
                                motion to withdraw the reference

 05/23/2021   GVD     BL        Prepare for hearing on motion to withdraw the              2.90        950.00      $2,755.00
                                reference

 05/23/2021   HRW     BL        Draft memo of law in support of motion to dismiss          3.40        695.00      $2,363.00
                                DAF complaint (3.4).

 05/24/2021   IDK     BL        Telephone conference with J Pomerantz re Dondero           0.70      1325.00        $927.50
                                reply to our opposition to motion for reconsideration
                                (.1); E-mails with J Pomerantz, others re need for
                                call on same (.1); Attend conference call with J
                                Pomerantz, J Morris, J Elkin re same (.5).

 05/24/2021   IDK     BL        Attend conference call with internal team on all           0.30      1325.00        $397.50
                                open litigation issues (.3).

 05/24/2021   IDK     BL        E-mail G Demo re new Dondero action vs CEO re              0.30      1325.00        $397.50
                                Select assets and trades, including brief review of
                                same.

 05/24/2021   IDK     BL        Attend conference call with internal team re DAF           0.30      1325.00        $397.50
                                (.3).

 05/24/2021   IDK     BL        Attend conference call on DAF hearing tomorrow             0.60      1325.00        $795.00
                                (.6).

 05/24/2021   IDK     BL        Attend conference call re notes collection issues (.3).    0.30      1325.00        $397.50
Pachulski Stang Ziehl & Jones LLP                                                             Page:    55
Highland Capital Management LP                                                                Invoice 127958
36027 - 00002                                                                                 May 31, 2021


                                                                                      Hours           Rate     Amount

 05/24/2021   JNP     BL        Conference with PSZJ team regarding pending            0.30      1295.00        $388.50
                                litigation matters.

 05/24/2021   JNP     BL        Conference with J. Dubel regarding new lawsuit         0.30      1295.00        $388.50
                                regarding Trussway (2x).

 05/24/2021   JNP     BL        Review new lawsuit regarding Trussway.                 0.20      1295.00        $259.00

 05/24/2021   JNP     BL        Conference with John A. Morris regarding new           0.10      1295.00        $129.50
                                lawsuit regarding Trussway.

 05/24/2021   JNP     BL        Begin preparing for hearing on DAF motion              3.00      1295.00       $3,885.00
                                regarding Seery order.

 05/24/2021   JNP     BL        Conference with PSZJ team regarding strategy           0.30      1295.00        $388.50
                                issues concerning DAF lawsuit.

 05/24/2021   JNP     BL        Conference with J. Elkin, John A. Morris, Gregory      0.40      1295.00        $518.00
                                V. Demo, and Ira D. Kharasch regarding issues
                                relating to DAF.

 05/24/2021   JNP     BL        Review and comment on Gregory V. Demo outline          0.50      1295.00        $647.50
                                on motion to withdraw reference argument.

 05/24/2021   JNP     BL        Conference with Gregory V. Demo, Ira D. Kharasch       0.60      1295.00        $777.00
                                and John A. Morris regarding hearing on motion to
                                withdraw reference.

 05/24/2021   JNP     BL        Conference with John A. Morris regarding issues        0.30      1295.00        $388.50
                                concerning evidence for hearing on motion to
                                dismiss and subpoena of DC Sauter.

 05/24/2021   JNP     BL        Conference with PSZJ team regarding update on          0.30      1295.00        $388.50
                                notes litigation.

 05/24/2021   JNP     BL        Conference with John A. Morris regarding proposal      0.10      1295.00        $129.50
                                regarding depositions in notes litigation.

 05/24/2021   RJF     BL        Internal call regarding pending litigation matters.    0.80      1395.00       $1,116.00

 05/24/2021   RJF     BL        Draft sanctions motion.                                1.50      1395.00       $2,092.50

 05/24/2021   RJF     BL        Research and draft sanctions motion and motion to      3.80      1395.00       $5,301.00
                                dismiss.

 05/24/2021   RJF     BL        Internal call regarding DAF.                           0.30      1395.00        $418.50

 05/24/2021   RJF     BL        Internal call regarding notes litigation.              0.30      1395.00        $418.50

 05/24/2021   JMF     BL        Review litigation summary (.3); status call re same    0.60      1050.00        $630.00
                                (.3).

 05/24/2021   JMF     BL        Review filed pleadings and draft updated               0.50      1050.00        $525.00
Pachulski Stang Ziehl & Jones LLP                                                                Page:    56
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount
                                memorandum re pending litigation issues and
                                motions.
 05/24/2021   JMF     BL        Status call re contempt motion and litigation issues.     0.30      1050.00        $315.00

 05/24/2021   JMF     BL        Status call re issues in notes payable litigation.        0.30      1050.00        $315.00

 05/24/2021   JMF     BL        Review motion to amend answer re notes litigation.        0.30      1050.00        $315.00

 05/24/2021   JAM     BL        Tel c. w/ C. Mackle, H. Winograd re: document             1.00      1245.00       $1,245.00
                                production (0.4); internal PSZJ call re: litigation
                                update (partial participation) (0.5); tel c. w/ J.
                                Pomerantz re: new lawsuit filed by Dondero (0.1)

 05/24/2021   JAM     BL        Review/revise/send e-mail to M. Sbaiti re: follow up      1.20      1245.00       $1,494.00
                                to meet and confer on document requests (0.1);
                                e-mails w/ D. Rukavina, C. Taylor re: Dondero
                                document production (0.2); e-mails w/ Z. Annable
                                re: subpoenas/notices for contempt motion discovery
                                (0.2); prepare subpoena for HCMFund Advisors for
                                Dondero documents (0.3); e-mail to court reporter
                                re: depositions for contempt motion (0.2) revisions
                                to subpoena for Advisors and NexBank (0.1);
                                e-mails to defense counsel, J. Pomerantz, G. Demo,
                                H. Winograd re: subpoenas to Advisors and
                                NexBank (0.1)

 05/24/2021   JAM     BL        Tel c. w/ J. Dubel re: motions to amend and               7.00      1245.00       $8,715.00
                                withdraw the reference (0.4); prepare for Seery
                                deposition (0.3); tel c. w/ G. Demo re: hearing on
                                motion to withdraw the reference (0.2); tel c. w/ J.
                                Seery re: deposition (0.1); review/revise exhibit list
                                for hearing on motion to withdraw the reference
                                (0.2); prepare for hearing on withdrawal of the
                                reference (0.7); communications w/ J. Pomerantz, G.
                                Demo re: debtor's schedules and Advisor's notes
                                (0.2); Seery deposition (Dondero notes litigation)
                                (2.7); tel c. w/ J. Seery, G. Demo re: deposition and
                                hearing (0.4); tel c. w/ J. Pomerantz, I. Kharasch, G.
                                Demo re: hearing on motion to withdraw the
                                reference (0.6); tel c. w/ J. Pomerantz re: hearing
                                (0.2); tel c. w/ J. Pomerantz re: e-mails with D.
                                Rukavina concerning motion to amend/motion to
                                withdraw reference (0.1); e-mails w/ D. Rukavina, J.
                                Pomerantz re: motion to amend/Sauter
                                subpoena/motion to withdraw the reference (0.4);
                                e-mail to J. Seery re: deposition transcript (0.1);
                                e-mail to J. Seery, J. Pomerantz, G. Demo, H.
                                Winograd re: Klos deposition (0.1); e-mails w/ M.
                                Aigen, J. Seery, T. Surgent, D. Klos re: discovery in
                                Dondero notes litigation (0.3)
Pachulski Stang Ziehl & Jones LLP                                                                Page:    57
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount

 05/24/2021   LSC     BL        Preparation of trial exhibit and witness list for June    6.70        460.00      $3,082.00
                                8, 2021 hearing, including legal research and
                                preparation of materials in connection with the
                                same.

 05/24/2021   LSC     BL        Participate on litigation call.                           0.30        460.00       $138.00

 05/24/2021   LSC     BL        Revise amended exhibit lists (3) and exhibits for         2.30        460.00      $1,058.00
                                5/25/21 hearing, and coordinate filing of same.

 05/24/2021   GVD     BL        Attend weekly litigation status conference                0.30        950.00       $285.00

 05/24/2021   GVD     BL        Review and circulate new Dondero lawsuit in ND            0.20        950.00       $190.00
                                Texas

 05/24/2021   GVD     BL        Conference with PSZJ team re response to contempt         0.40        950.00       $380.00
                                action (partial attendance)

 05/24/2021   GVD     BL        Review and circulate resolutions re indemnification       0.20        950.00       $190.00
                                of CEO/CRO

 05/24/2021   GVD     BL        Attend PSZJ status conference on DAF litigation           0.30        950.00       $285.00

 05/24/2021   GVD     BL        Prepare for hearing on motion to withdraw the             5.80        950.00      $5,510.00
                                reference

 05/24/2021   GVD     BL        Attend deposition of J. Seery re Dondero note             2.60        950.00      $2,470.00
                                litigation

 05/24/2021   GVD     BL        Conference with J. Seery and J. Morris re follow up       0.30        950.00       $285.00
                                to Seery deposition

 05/24/2021   GVD     BL        Conference with PSZJ re status of note litigation and     0.60        950.00       $570.00
                                motion to withdraw the reference

 05/24/2021   GVD     BL        Attend PSZJ status conference on notes litigation         0.30        950.00       $285.00

 05/24/2021   GVD     BL        Conference with K. George re answer on complaint          0.10        950.00        $95.00

 05/24/2021   GVD     BL        Conference with J. Pomerantz re UBS answer                0.10        950.00        $95.00

 05/24/2021   JE      BL        Call on June 6 hearing strategy (.5); pull cases for      1.00      1195.00       $1,195.00
                                review (.2); review and comment on trial notebooks
                                (.3).

 05/24/2021   HRW     BL        PSZJ call re: outstanding litigation (1.0)                1.00        695.00       $695.00

 05/24/2021   HRW     BL        Call with J. Morris and C. Mackle re: document            0.30        695.00       $208.50
                                production (0.3)

 05/24/2021   HRW     BL        Draft and prepare motion to dismiss DAF complaint         9.80        695.00      $6,811.00
                                (9.8)
Pachulski Stang Ziehl & Jones LLP                                                             Page:    58
Highland Capital Management LP                                                                Invoice 127958
36027 - 00002                                                                                 May 31, 2021


                                                                                      Hours           Rate     Amount

 05/25/2021   IDK     BL        Telephone conference with J Pomerantz re DAF           1.10      1325.00       $1,457.50
                                motion for reconsideration and case law (.1);
                                Review and consider 5th Cir Villegas case and
                                Judge Jurnigan Ondava case re same (.4); Telephone
                                conference with J Pomerantz re same (.1); Review of
                                further cases, Schoop and Applewood, re same (.3);
                                Telephone conference with J Pomerantz re same and
                                hearing (.2).

 05/25/2021   IDK     BL        Attend conference call re UBS/Dondero resignation      0.30      1325.00        $397.50
                                issues (.3).

 05/25/2021   JNP     BL        Conference with John A. Morris regarding Trussway      0.10      1295.00        $129.50
                                lawsuit.

 05/25/2021   JNP     BL        Conference with John A. Morris, Gregory V. Demo,       0.50      1295.00        $647.50
                                J. Seery, T. Counoyer and T. Surgent regarding
                                Trussway lawsuit.

 05/25/2021   JNP     BL        Conference with Ira D. Kharasch regarding DAF          0.20      1295.00        $259.00
                                jurisdictional issues.

 05/25/2021   JNP     BL        Conference with Ira D. Kharasch regarding              0.20      1295.00        $259.00
                                jurisdiction and related matters.

 05/25/2021   JNP     BL        Review and comment on proposed sanctions motion.       0.60      1295.00        $777.00

 05/25/2021   JNP     BL        Call with John A. Morris to M. Sbaiti.                 0.10      1295.00        $129.50

 05/25/2021   JNP     BL        Continue preparing for motion to modify Seery          0.50      1295.00        $647.50
                                order.

 05/25/2021   JNP     BL        Participate on hearing regarding motions to            2.80      1295.00       $3,626.00
                                withdraw reference.

 05/25/2021   JNP     BL        Conference with J. Seery and John A. Morris after      0.40      1295.00        $518.00
                                hearing on motion to withdraw reference.

 05/25/2021   JNP     BL        Emails regarding answer date and response.             0.10      1295.00        $129.50

 05/25/2021   JNP     BL        .Conference with John A. Morris, Ira D. Kharasch       0.30      1295.00        $388.50
                                and Gregory V. Demo regarding response to
                                Dondero resignation letter.

 05/25/2021   JNP     BL        Review letter regarding additional discovered          0.10      1295.00        $129.50
                                information.

 05/25/2021   RJF     BL        Review and revise motion to dismiss and sanctions      5.00      1395.00       $6,975.00
                                motion.

 05/25/2021   RJF     BL        Telephone conference with Beth E. Levine regarding     0.30      1395.00        $418.50
                                interpleader, etc.
Pachulski Stang Ziehl & Jones LLP                                                                Page:    59
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount

 05/25/2021   RJF     BL        Emails regarding answer.                                  0.20      1395.00        $279.00

 05/25/2021   RJF     BL        Research interpleader.                                    0.30      1395.00        $418.50

 05/25/2021   BEL     BL        Legal research regarding interpleader and related         2.20        950.00      $2,090.00
                                issues.

 05/25/2021   BEL     BL        Telephone conference with Robert J. Feinstein             0.20        950.00       $190.00
                                regarding UBS action.

 05/25/2021   LAF     BL        Litigation search; set docket alert.                      0.30        475.00       $142.50

 05/25/2021   JAM     BL        Review documents re: PCMG lawsuit (0.2); tel c. w/        1.80      1245.00       $2,241.00
                                J. Dubel re: PCMG lawsuit and related matters (0.2);
                                tel c. w/ J. Seery re: PCMG lawsuit and related
                                matters (0.3); tel c. w/ J. Pomerantz re: PCMG
                                lawsuit and related matters (0.3); tel c. w/ J. Seery,
                                T. Silva, T. Surgent, J. Pomerantz, G. Demo re:
                                PCMG lawsuit and related matters (0.4); tel c. w/ J.
                                Pomerantz re: litigation matters (0.2); e-mails w/ C.
                                Mackle, B. Sharp re: document production issues
                                (0.1); e-mails w/ C. Mackle, J. Sommer re:
                                document production in response to subpoena (0.1)

 05/25/2021   JAM     BL        Prepare Notice of Service of Subpoena (NexBank)           1.00      1245.00       $1,245.00
                                (0.2); e-mail to Z. Annable, G. Demo, H. Winograd
                                re: Notice of Service of Subpoena (NexBank) (0.1);
                                prepare Notice of Service of Subpoena (Advisors)
                                (0.1); e-mail to Z. Annable, G. Demo, H. Winograd
                                re: Notice of Service of Subpoena (Advisors) (0.1);
                                meet and confer call w/ L. Phillips, M. Sbaiti re:
                                document requests (0.5)

 05/25/2021   JAM     BL        Tel c. w/ G. Demo re: withdrawal of the reference         4.80      1245.00       $5,976.00
                                hearing (0.1); prepare for withdrawal of the
                                reference hearing (0.4); work on summary judgment
                                against Dondero (notes litigation) (0.7); hearing on
                                withdrawal of the reference (2.2); tel c. w/ J.
                                Pomerantz re: hearing (0.1); tel c. w/ J. Seery, J.
                                Dubel, J. Pomerantz, G. Demo re: hearing (0.4);
                                telc . w/ G. Demo re: hearing, document production
                                and related matters (0.3); e-mails w/ D. Klos, G.
                                Demo re: document production (0.2); e-mails to L
                                Canty re: document production (Dondero notes
                                litigation) (0.3); e-mails to Dondero's counsel re:
                                document production (0.1)

 05/25/2021   JAM     BL        Tel c. w/ J. Pomerantz, I. Kharasch, G. Demo re:          0.40      1245.00        $498.00
                                Dondero officer/director issues (0.4)

 05/25/2021   LSC     BL        Prepare for and assist at hearing on motions to stay      2.30        460.00      $1,058.00
                                and status conference re motion to withdraw the
Pachulski Stang Ziehl & Jones LLP                                                               Page:    60
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount
                                reference.
 05/25/2021   LSC     BL        Preparation of supplemental production to Dondero.       2.00        460.00       $920.00

 05/25/2021   LSC     BL        Preparation of supplemental production to UBS.           0.70        460.00       $322.00

 05/25/2021   GVD     BL        Conference with team re response to new Sbaiti           0.40        950.00       $380.00
                                complaint

 05/25/2021   GVD     BL        Prepare for evidentiary hearing on motion to             3.80        950.00      $3,610.00
                                withdraw reference

 05/25/2021   GVD     BL        Attend hearing on motions to withdraw the reference      2.10        950.00      $1,995.00

 05/25/2021   GVD     BL        Conference with team re follow up to hearing on          0.50        950.00       $475.00
                                motion to withdraw the reference

 05/25/2021   GVD     BL        Conference with J. Morris on evidentiary hearing on      0.30        950.00       $285.00
                                motion to withdraw

 05/25/2021   GVD     BL        Conference with J. Romey re status of note litigation    0.20        950.00       $190.00

 05/25/2021   GVD     BL        Conference with PSZJ team on response to Dondero         0.30        950.00       $285.00
                                resignation letter

 05/25/2021   JE      BL        Review case law on Barton Doctrine exceptions.           1.70      1195.00       $2,031.50

 05/25/2021   HRW     BL        Draft and prepare motion to dismiss DAF complaint       10.50        695.00      $7,297.50
                                (10.5)

 05/26/2021   JNP     BL        Conference with John A. Morris regarding pending         0.20      1295.00        $259.00
                                litigation matters.

 05/26/2021   JNP     BL        Conference with Robert J. Feinstein regarding John       0.20      1295.00        $259.00
                                A. Morris regarding potential sanctions motion.

 05/26/2021   JNP     BL        Conference with Robert J. Feinstein, Gregory V.          0.40      1295.00        $518.00
                                Demo, John A. Morris and Hayley R. Winograd
                                regarding motion to dismiss.

 05/26/2021   JNP     BL        Review DAF post-hearing brief regarding                  0.10      1295.00        $129.50
                                Committee stay motion.

 05/26/2021   JNP     BL        Conference with Robert J. Feinstein, Gregory V.          0.40      1295.00        $518.00
                                Demo, John A. Morris and Hayley R. Winograd
                                regarding options in responding to complaint.

 05/26/2021   JNP     BL        Review and revise letter regarding Dondero               0.10      1295.00        $129.50
                                resignations.

 05/26/2021   RJF     BL        Review and revise motion to dismiss and motion for       6.00      1395.00       $8,370.00
                                sanctions and related research.

 05/26/2021   RJF     BL        Internal call regarding motion to dismiss.               0.40      1395.00        $558.00
Pachulski Stang Ziehl & Jones LLP                                                                  Page:    61
Highland Capital Management LP                                                                     Invoice 127958
36027 - 00002                                                                                      May 31, 2021


                                                                                           Hours           Rate     Amount

 05/26/2021   RJF     BL        See Sentinel response to insurance demand, related          0.30      1395.00        $418.50
                                emails.

 05/26/2021   RJF     BL        Internal call regarding answer.                             0.40      1395.00        $558.00

 05/26/2021   RJF     BL        Research regarding interpleader.                            0.20      1395.00        $279.00

 05/26/2021   BEL     BL        Research regarding various procedures issues                2.50        950.00      $2,375.00
                                relating to UBS adversary and email Robert J.
                                Feinstein regarding same.

 05/26/2021   JMF     BL        Review post hearing brief re continued adversaries          0.20      1050.00        $210.00
                                re Committee adversary proceeding and CLO
                                Holdco.

 05/26/2021   JAM     BL        Tel c. w/ H. Winograd re: litigation matters (0.2); tel     1.20      1245.00       $1,494.00
                                c. w/ G. Demo re: litigation matters (0.1); tel c. w/ J.
                                Pomerantz re: litigation matters (0.2); tel c. w/ H.
                                Winograd re: litigation matters (0.1); tel c. w/ C.
                                Mackle, DSI re: discovery/document production
                                (0.6)

 05/26/2021   JAM     BL        Tel c. w/ G. Demo re: amendment needed to                   1.70      1245.00       $2,116.50
                                Declaration (0.1); e-mails w/ L. Canty, G. Demo re:
                                exhibits for amended Declaration (0.1);
                                communications w/ L. Phillips, M. Sbaiti, H.
                                Winograd re: Respondents' document production
                                (0.2); review/revise amended JAM Declaration
                                (0.1); review/revise MTD (0.6); tel c. w/ J.
                                Pomerantz, R. Feinstein re: MTD/Rule 11 sanctions
                                motion (0.2); tel c. w/ J. Pomerantz, R. Feinstein, G.
                                Demo, H. Winograd re: MTD/Rule 11 sanctions
                                motion (0.4)

 05/26/2021   JAM     BL        Tel c. w/ D. Rukavina re: discovery concerning              7.20      1245.00       $8,964.00
                                Advisors (notes litigation) (0.1); e-mails w/ D.
                                Rukavina re: discovery concerning Advisors (notes
                                litigation) (0.1); prepare for Dondero deposition
                                (notes litigation) (3.0); e-mail to L. Canty re:
                                exhibits for use in Dondero deposition (0.7); prepare
                                written responses to Advisor's discovery requests
                                (notes litigation) (2.4); review/revise written
                                responses to Dondero's Third Set of Discovery
                                Demands (0.7); e-mail to T. Surgent, D. Klos, G.
                                Demo, H. Winograd re: written responses to
                                Advisor's discovery requests (notes litigation) (0.2)

 05/26/2021   JAM     BL        Tel c. w/ J. Pomerantz, R. Feinstein, G. Demo re:           0.40      1245.00        $498.00
                                response to UBS's Complaint (0.4)

 05/26/2021   LSC     BL        Assist with preparation of second amended                   0.30        460.00       $138.00
                                Declaration in Support of Contempt Motion and
Pachulski Stang Ziehl & Jones LLP                                                              Page:    62
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                correspondence regarding the same.
 05/26/2021   LSC     BL        Preparation of exhibits and materials in connection     3.20        460.00      $1,472.00
                                with J. Dondero's 5/28/21 deposition (Notes
                                Litigation).

 05/26/2021   LSC     BL        Preparation of additional UBS document production.      1.70        460.00       $782.00

 05/26/2021   GVD     BL        Correspondence with J. Seery re update letter           0.10        950.00        $95.00

 05/26/2021   GVD     BL        Revise letter re Dondero resignation                    0.20        950.00       $190.00

 05/26/2021   GVD     BL        Review CLO Holdco post hearing pleading                 0.20        950.00       $190.00

 05/26/2021   GVD     BL        Correspondence with Cayman counsel re open              0.40        950.00       $380.00
                                issues

 05/26/2021   GVD     BL        Review and update Morris declaration in support of      0.50        950.00       $475.00
                                order to show cause

 05/26/2021   GVD     BL        Review motion to dismiss DAF complaint                  0.20        950.00       $190.00

 05/26/2021   GVD     BL        Conference with PSZJ team re motion to dismiss          0.40        950.00       $380.00
                                DAF complaint

 05/26/2021   GVD     BL        Review and comment on draft sanctions motions           1.40        950.00      $1,330.00

 05/26/2021   GVD     BL        Conference with J. Morris re DAF litigation issues      0.20        950.00       $190.00

 05/26/2021   GVD     BL        Review Latham docs re employee interview                0.10        950.00        $95.00

 05/26/2021   GVD     BL        Conference with PSZJ team re response to UBS            0.40        950.00       $380.00
                                adversary

 05/26/2021   JE      BL        Work on 5th circuit stay brief.                         2.70      1195.00       $3,226.50

 05/26/2021   HRW     BL        Draft and prepare motion to dismiss DAF complaint      13.50        695.00      $9,382.50
                                (13.5)

 05/26/2021   HRW     BL        PSZJ call re: motion to dismiss DAF complaint (0.5)     0.50        695.00       $347.50

 05/26/2021   HRW     BL        Review production for NPA discovery requests in         0.30        695.00       $208.50
                                notes litigation (0.3)

 05/27/2021   JNP     BL        Review order regarding reconsideration motion           0.10      1295.00        $129.50
                                regarding Committee stay and email regarding same.

 05/27/2021   JNP     BL        Conference with John A. Morris prior to call with J.    0.10      1295.00        $129.50
                                Bridges.

 05/27/2021   JNP     BL        Conference with John A. Morris and J. Bridges           0.30      1295.00        $388.50
                                regarding motion to revise Seery order.

 05/27/2021   JNP     BL        Participate on several calls (including one partial)    1.20      1295.00       $1,554.00
Pachulski Stang Ziehl & Jones LLP                                                                 Page:    63
Highland Capital Management LP                                                                    Invoice 127958
36027 - 00002                                                                                     May 31, 2021


                                                                                          Hours           Rate     Amount
                                regarding motion to dismiss.
 05/27/2021   JNP     BL        Review and comment on motion to dismiss.                   0.40      1295.00        $518.00

 05/27/2021   JNP     BL        Conference with John A. Morris regarding Dondero           0.20      1295.00        $259.00
                                amended answer and discovery issues.

 05/27/2021   JNP     BL        Conference with Robert J. Feinstein, John A. Morris        0.20      1295.00        $259.00
                                and Gregory V. Demo regarding response to UBS
                                lawsuit.

 05/27/2021   RJF     BL        Review and revise memorandum of law in support             5.00      1395.00       $6,975.00
                                of dismissal.

 05/27/2021   RJF     BL        Call with Silva, et al regarding motion to dismiss.        0.70      1395.00        $976.50

 05/27/2021   RJF     BL        Review motion, appendix.                                   0.30      1395.00        $418.50

 05/27/2021   RJF     BL        Internal call regarding motion to dismiss, sanctions       0.30      1395.00        $418.50
                                motion.

 05/27/2021   JAM     BL        Tel c. w/ L. Hogewood re: injunction action against        1.10      1245.00       $1,369.50
                                Funds/Advisors (0.1); tel c. w/ J. Seery re: litigation
                                matters (0.3); tel c. w/ J. Pomerantz re: litigation
                                matters (0.2); tel c. w/ C. Mackle re: document
                                production in response to subpoena (0.1); tel c. w/ J.
                                Pomerantz re: litigation matters (0.1); tel c. w/ J.
                                Seery, J. Pomerantz re: litigation matters (0.3)

 05/27/2021   JAM     BL        Review/revise motion to dismiss DAF Complaint              4.10      1245.00       $5,104.50
                                (2.6); e-mail to J. Pomerantz, R. Feinstein, G. Demo,
                                H. Winograd re: JAM comments to motion to
                                dismiss DAF complaint (0.1); communications w/
                                M. Sbaiti re: potential resolution of motion for
                                reconsideration (0.1); tel c. w/ J. Pomerantz, J.
                                Bridges re: possible resolution of motion for
                                reconsideration (0.2); tel c. w/ R. Feinstein re:
                                motion to dismiss (0.2); tel c. w/ J. Pomerantz, R.
                                Feinstein, T. Silva, G. Demo, H. Winograd re:
                                motion to dismiss (partial participation) (0.2); tel c.
                                w/ J. Pomerantz re: motion to dismiss (0.2); tel c. w/
                                J. Pomerantz, R. Feinstein, G. Demo, H. Wingrad re:
                                motion to dismiss (0.5)

 05/27/2021   JAM     BL        Review/revise written responses to Advisor's               2.70      1245.00       $3,361.50
                                discovery requests (0.2); e-mail to J. Seery, T.
                                Surgent, D. Klos, G. Demo, H. Winograd re: revised
                                written responses to Advisor's discovery requests
                                (0.1); tel c. w/ J. Seery re: Dondero and notes
                                litigation (0.1); work on written responses to
                                discovery served by HCRE (notes litigation) (1.5);
                                e-mails w/ D. Deitz-Perez, B. Assink re: Dondero's
Pachulski Stang Ziehl & Jones LLP                                                                Page:    64
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate      Amount
                                amended interrogatory responses (0.3); tel c. w/ D.
                                Deitz-Perez re: Dondero's amended interrogatory
                                responses (0.1); prepare for Dondero deposition
                                (0.4)
 05/27/2021   GVD     BL        Correspondence with J. Seery re response to               0.20        950.00        $190.00
                                Dondero resignation letter

 05/27/2021   GVD     BL        Compile and circulate supplemental disclosure letter      0.80        950.00        $760.00

 05/27/2021   GVD     BL        Correspondence with Bermuda counsel re insurance          0.20        950.00        $190.00
                                issues

 05/27/2021   GVD     BL        Conference with PSZJ and WilmerHale re Advisers           0.70        950.00        $665.00
                                Act issues in DAF complaint

 05/27/2021   GVD     BL        Review and revise motion to dismiss DAF lawsuit           3.20        950.00       $3,040.00
                                and attend to issues re filing of same

 05/27/2021   GVD     BL        Attend interview of D. Klos                               2.40        950.00       $2,280.00

 05/27/2021   GVD     BL        Status conference with PSZJ working team re               0.80        950.00        $760.00
                                finalization of motion to dismiss DAF complaint
                                (0.3); conference with PSZJ working group to
                                finalize motion to dismiss (0.5)

 05/27/2021   JE      BL        Review case law cited by Movants in Motion for            9.60      1195.00       $11,472.00
                                Stay Pending Appeal in 5th circuit (3.4); Work on
                                5th circuit stay brief (6.0); correspondence with Mr.
                                Demo regarding certain facts (.2).

 05/27/2021   HRW     BL        Draft and prepare motion to dismiss DAF complaint        12.00        695.00       $8,340.00
                                (12.0)

 05/27/2021   HRW     BL        PSZJ call re: motion to dismiss DAF complaint (0.5)       0.50        695.00        $347.50

 05/27/2021   HRW     BL        PSZJ call with Wilmer Hale re: motion to dismiss          0.50        695.00        $347.50
                                DAF complaint (0.5)

 05/28/2021   JNP     BL        Review and comment on proposed order regarding            0.10      1295.00         $129.50
                                stay of Dondero note complaint.

 05/28/2021   JNP     BL        Conference with John A. Morris regarding Dondero          0.10      1295.00         $129.50
                                deposition on note litigation.

 05/28/2021   RJF     BL        Draft answer.                                             2.50      1395.00        $3,487.50

 05/28/2021   RJF     BL        Call with Seery, Gregory V. Demo regarding                0.30      1395.00         $418.50
                                answer.

 05/28/2021   JAM     BL        Tel c. w/ H. Wingrad re: litigation matters (0.2); tel    1.10      1245.00        $1,369.50
                                c. w/ H. Winograd, P. Montgomery, C. Rognes re:
                                document production (0.5); tel c. w/ J. Seery, G.
                                Demo re: discovery matters (0.2); tel c. w/ J. Seery
Pachulski Stang Ziehl & Jones LLP                                                                Page:    65
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate      Amount
                                re: litigation matters (0.2)
 05/28/2021   JAM     BL        Prepare for Dondero deposition (3.5); Dondero             8.80      1245.00       $10,956.00
                                deposition (4.6); tel c. w/ J. Pomerantz re: Dondero
                                deposition (0.1); tel c. w/ J. Seery re: Dondero
                                deposition (0.3); e-mails w/ J. Seery, H. Winograd
                                re: written responses to Advisor's discovery requests
                                (0.2); e-mail to Bonds Ellis, J. Pomerantz, G. Demo,
                                H. Winograd re: proposed order on stay (0.1)

 05/28/2021   LSC     BL        Preparation for and assist at deposition of Jim           5.50        460.00       $2,530.00
                                Dondero (notes litigation)

 05/28/2021   GVD     BL        Revise and circulate response to resignation letter       0.20        950.00        $190.00

 05/28/2021   GVD     BL        Conference with J. Morris and J. Seery re Dondero         0.20        950.00        $190.00
                                deposition and next steps

 05/28/2021   GVD     BL        Attend Dondero Deposition (partial)                       1.60        950.00       $1,520.00

 05/28/2021   GVD     BL        Review May 25 transcript                                  0.70        950.00        $665.00

 05/28/2021   GVD     BL        Draft order re stay pending order on reference            0.40        950.00        $380.00

 05/28/2021   GVD     BL        Conference with R. Feinstein and J. Seery re UBS          0.40        950.00        $380.00
                                answer

 05/28/2021   GVD     BL        Review and circulate UBS discovery                        0.10        950.00         $95.00

 05/28/2021   JE      BL        Miscellaneous correspondence with Mr. Pomerantz,         10.60      1195.00       $12,667.00
                                Mr. Demo and Ms. Canty and with appellate counsel
                                regarding strategy and briefing and process for
                                appendix (.8); work on brief appendix (2.4); review,
                                revise and distribute brief to team (6.2); start
                                revisions per comments (1.2).

 05/28/2021   HRW     BL        Review outstanding litigation and critical dates (0.2)    0.20        695.00        $139.00

 05/28/2021   HRW     BL        Prepare responses and objections to HCMFA                 0.40        695.00        $278.00
                                discovery in notes litigation (0.4)

 05/28/2021   HRW     BL        Deposition of Dondero in connection with notes            3.50        695.00       $2,432.50
                                litigation (3.5)

 05/28/2021   HRW     BL        Review production for NPA discovery requests in           0.30        695.00        $208.50
                                notes litigation (0.3)

 05/29/2021   JNP     BL        Review Dondero expert report and emails regarding         0.30      1295.00         $388.50
                                same.

 05/29/2021   RJF     BL        Continued drafting of answer to complaint, related        2.00      1395.00        $2,790.00
                                emails.

 05/29/2021   JAM     BL        E-mails to Counsel re: Zoom instructions for              0.60      1245.00         $747.00
Pachulski Stang Ziehl & Jones LLP                                                                Page:    66
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate      Amount
                                Tuesday's depositions (0.2); review Dondero written
                                responses to discovery (0.2); e-mail to B. Assink, C.
                                Taylor, J. Pomerantz, G. Demo, H. Winograd re:
                                Dondero's written responses to discovery (0.2)
 05/29/2021   JAM     BL        Review HCMFA's second request for discovery               4.40      1245.00        $5,478.00
                                (0.2); e-mails w/ T. Surgent, D. Klos, G. Demo, H.
                                Winograd re: HCMFA's second request for
                                discovery (0.1); review Dondero expert report (0.3);
                                e-mails w/ J. Pomerantz, G. Demo, H. Winograd re:
                                Dondero's expert report (0.2); draft written
                                responses to HCRE's document requests,
                                interrogatories, and requests for admission (3.1);
                                e-mail to G. Demo, H. Winograd re: draft written
                                responses to HCRE's document requests,
                                interrogatories, and requests for admission (0.1); tel
                                c. w/ H. Winograd re: opposition to HCRE/Services
                                motion for leave to serve amended complaint and
                                cross-motion for summary judgment (0.4)

 05/29/2021   JE      BL        Correspondence with Mr. Pomerantz, Mr. Demo and           9.70      1195.00       $11,591.50
                                Mr. Geyser regarding brief (.3); review and
                                comment on revised litigation chart (.3); work on
                                brief (7.3); work on appendix and correspondence
                                with Ms. Canty regarding same (1.8).

 05/29/2021   HRW     BL        Draft opposition to HCRE and HCMS motions for             2.00        695.00       $1,390.00
                                leave to amend answer in notes litigation (2.0)

 05/29/2021   HRW     BL        Call with J. Morris re: opposition to HCRE and            0.30        695.00        $208.50
                                HCMS motions for leave to amend answer in notes
                                litigation (0.3)

 05/30/2021   JNP     BL        Conference with John A. Morris regarding                  0.20      1295.00         $259.00
                                contempt hearing and discovery.

 05/30/2021   JAM     BL        Review documents (1.9); tel c. w/ G. Demo re:             4.70      1245.00        $5,851.50
                                document review/facts (1.1); e-mails w/ G. Demo re:
                                facts (0.3); tel c. w/ G. Demo re: document
                                review/facts (0.6); prepare for depositions (0.8)

 05/30/2021   LSC     BL        Preparation of appendix in support of opposition to       2.10        460.00        $966.00
                                motion to stay.

 05/30/2021   GVD     BL        Conference with J. Morris re document discovery           1.10        950.00       $1,045.00

 05/30/2021   GVD     BL        Review document production re DAF issues                  1.30        950.00       $1,235.00

 05/30/2021   GVD     BL        Conference with J. Rovira re open issues                  0.10        950.00         $95.00

 05/30/2021   GVD     BL        Conference with J. Morris re deposition preparation       0.60        950.00        $570.00

 05/30/2021   JE      BL        Review comments from Mr. Pomerantz (.2); work             4.80      1195.00        $5,736.00
Pachulski Stang Ziehl & Jones LLP                                                                     Page:    67
Highland Capital Management LP                                                                        Invoice 127958
36027 - 00002                                                                                         May 31, 2021


                                                                                             Hours            Rate       Amount
                                on brief revisions (3.8); work on Appendix with Ms.
                                Canty and revise litigation chart summary (.8).
 05/30/2021   HRW     BL        Draft opposition to HCRE and HCMS motions for                  3.50        695.00       $2,432.50
                                leave to amend answer in notes litigation (3.5)

 05/31/2021   JNP     BL        Conference with John A. Morris and Gregory V.                  0.40      1295.00          $518.00
                                Demo regarding various issues involved in
                                upcoming hearings.

 05/31/2021   JAM     BL        Analyze G. Scott prior deposition transcript (2.4);           10.40      1245.00       $12,948.00
                                analysis of use of Scott transcript, and e-mail to J.
                                Pomerantz, G. Demo, H. Winograd concerning the
                                same (0.6); prepare for Dondero and Scott
                                depositions (6.4); e-mails w/ L. Canty re: deposition
                                exhibits (0.2); tel c. w/ G. Demo, C. Wilkins re:
                                potential conflicts (0.2); tel c. w/ J. Pomerantz, G.
                                Demo re: DAF litigation/contempt proceeding
                                matters (0.4); tel c. w/ J. Seery re: depositions, status
                                (0.2)

 05/31/2021   JAM     BL        Review/revise discovery requests for HCRE (notes               0.70      1245.00          $871.50
                                litigation (0.4); e-mail to L. Drawhorn, G. Demo, H.
                                Winograd, J. Rudd re: discovery requests for HCRE
                                (notes litigation) (0.1); tel c. w/ H. Winograd re:
                                status of brief for opposition to motion to amend
                                (0.2)

 05/31/2021   GVD     BL        Attend to potential conflict issues                            0.80        950.00         $760.00

 05/31/2021   GVD     BL        Conference with Walkers and J. Morris re corporate             0.20        950.00         $190.00
                                matters

 05/31/2021   GVD     BL        Conference with J. Pomerantz and J. Morris re                  0.30        950.00         $285.00
                                potential resolution motion for reconsideration

 05/31/2021   GVD     BL        Review and revise answer                                       0.70        950.00         $665.00

 05/31/2021   JE      BL        Review brief revisions of Mr. Pomerantz and review             5.70      1195.00        $6,811.50
                                and revise brief (3.4); review Appendix,
                                correspondence with Ms. Canty regarding same;
                                revise Appendix index and conform brief citations
                                (2.3).

 05/31/2021   HRW     BL        Draft opposition to HCRE and HCMS motions for                  9.50        695.00       $6,602.50
                                leave to amend answer in notes litigation (9.5)

                                                                                            1119.20                    $1,118,798.
                                                                                                                               00
Pachulski Stang Ziehl & Jones LLP                                                              Page:    68
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount

  Case Administration [B110]
 05/03/2021   JMF     CA        Draft memorandum re pending motions and case            0.60      1050.00        $630.00
                                deadlines.

 05/03/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.30        375.00       $112.50
                                client distribution.

 05/03/2021   GVD     CA        Attend weekly conference re open litigation issues      1.30        950.00      $1,235.00

 05/03/2021   GVD     CA        Correspondence re scheduling calls                      0.10        950.00        $95.00

 05/04/2021   IDK     CA        Review of updated WIP agenda/list (.1); E-mails         0.20      1325.00        $265.00
                                with J Fried and others re same and need to
                                reschedule WIP call (.1).

 05/04/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.10        375.00        $37.50
                                client distribution.

 05/04/2021   GVD     CA        Correspondence with PSZJ IT re calendar invite          0.10        950.00        $95.00
                                issues

 05/05/2021   IDK     CA        Review of updated WIP list (.1); Attend conference      0.90      1325.00       $1,192.50
                                call with internal team on same and all open issues
                                (.8).

 05/05/2021   JNP     CA        Participate on PSZJ WIP call.                           0.70      1295.00        $906.50

 05/05/2021   JEO     CA        Participate in WIP call with PSZJ team.                 0.70      1050.00        $735.00

 05/05/2021   JMF     CA        Draft memorandum of pending case issues and             1.50      1050.00       $1,575.00
                                review docket re same (.7); telephone call with J.N.
                                Pomerantz, I. Kharasch, J. O'Neill, H. Winograd and
                                G. Demo re same (.8).

 05/05/2021   JMF     CA        Review objection to HCMFA administrative claim          0.50      1050.00        $525.00
                                re 5/7 hearing.

 05/05/2021   JAM     CA        Internal WIP call (J. Pomerantz, I. Kharasch, G.        0.80      1245.00        $996.00
                                Demo, H. Winograd, J. Fried, J. O’Neill) (0.8).

 05/05/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.10        375.00        $37.50
                                client distribution.

 05/05/2021   GVD     CA        Attend WIP call                                         0.80        950.00       $760.00

 05/06/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.10        375.00        $37.50
                                client distribution.

 05/07/2021   JMF     CA        Review critical dates memo.                             0.30      1050.00        $315.00

 05/07/2021   BMK     CA        Prepared daily memo narrative and coordinated           0.20        375.00        $75.00
                                client distribution.
Pachulski Stang Ziehl & Jones LLP                                                             Page:    69
Highland Capital Management LP                                                                Invoice 127958
36027 - 00002                                                                                 May 31, 2021


                                                                                      Hours           Rate     Amount

 05/07/2021   GVD     CA        File pro hac application                               0.10        950.00        $95.00

 05/10/2021   JMF     CA        Draft memorandum re pending case issues and            0.70      1050.00        $735.00
                                motions.

 05/10/2021   BMK     CA        Prepared daily memo narrative and coordinated          0.60        375.00       $225.00
                                client distribution.

 05/10/2021   GVD     CA        Attend to issues re scheduling call                    0.10        950.00        $95.00

 05/11/2021   IDK     CA        Review of updated WIP list (.1); Attend conference     1.10      1325.00       $1,457.50
                                call with internal team on all open general task
                                issues (1.0).

 05/11/2021   JNP     CA        Participate on PSZJ WIP call.                          1.00      1295.00       $1,295.00

 05/11/2021   KKY     CA        Review and revise critical dates                       0.20        460.00        $92.00

 05/11/2021   JMF     CA        Telephone call with J.N. Pomerantz, I. Kharasch, H.    1.50      1050.00       $1,575.00
                                Winograd, J. Morris, G. Demo re pending case
                                issues and motions (1.0); draft summary re same
                                (.5).

 05/11/2021   JAM     CA        Internal WIP call (J. Pomerantz, I. Kharasch, G.       0.90      1245.00       $1,120.50
                                Demo, J. Fried, H. Winograd, J. O’Neill) (0.9).

 05/11/2021   BMK     CA        Prepared daily memo narrative and coordinated          0.10        375.00        $37.50
                                client distribution.

 05/11/2021   GVD     CA        Attend WIP call                                        1.00        950.00       $950.00

 05/11/2021   HRW     CA        PSZJ WIP Call (1.0).                                   1.00        695.00       $695.00

 05/12/2021   BMK     CA        Prepared daily memo narrative and coordinated          0.30        375.00       $112.50
                                client distribution.

 05/12/2021   GVD     CA        Attend to scheduling of calls                          0.10        950.00        $95.00

 05/13/2021   KKY     CA        Review and revise critical dates                       0.30        460.00       $138.00

 05/13/2021   BMK     CA        Prepared daily memo narrative and coordinated          0.10        375.00        $37.50
                                client distribution.

 05/14/2021   KKY     CA        Review and revise critical dates                       0.40        460.00       $184.00

 05/14/2021   BMK     CA        Prepared daily memo narrative and coordinated          0.30        375.00       $112.50
                                client distribution.

 05/15/2021   JMF     CA        Update memorandum of pending motions and               0.40      1050.00        $420.00
                                litigation.

 05/17/2021   BMK     CA        Prepared daily memo narrative and coordinated          0.70        375.00       $262.50
                                client distribution.
Pachulski Stang Ziehl & Jones LLP                                                               Page:    70
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

 05/17/2021   GVD     CA        Attend to scheduling of meetings                         0.10        950.00        $95.00

 05/17/2021   GVD     CA        Attend weekly litigation call                            1.00        950.00       $950.00

 05/18/2021   IDK     CA        Review of updated WIP list (.1); Attend most of          0.90      1325.00       $1,192.50
                                internal WIP call on all open material issues (.8).

 05/18/2021   JNP     CA        Participate on weekly PSZJ WIP call.                     1.10      1295.00       $1,424.50

 05/18/2021   KKY     CA        Review and revise critical dates                         0.20        460.00        $92.00

 05/18/2021   JAM     CA        Internal WIP call (J. Pomerantz J. Fried, G. Demo, J.    1.10      1245.00       $1,369.50
                                O’Neill, H. Winograd, I. Kharasch) (1.1).

 05/18/2021   BMK     CA        Prepared daily memo narrative and coordinated            0.50        375.00       $187.50
                                client distribution.

 05/18/2021   GVD     CA        Attend to scheduling of meetings                         0.20        950.00       $190.00

 05/18/2021   GVD     CA        Attend WIP Call                                          1.00        950.00       $950.00

 05/18/2021   HRW     CA        PSZJ WIP Call (1.1).                                     1.10        695.00       $764.50

 05/19/2021   KKY     CA        Review and revise critical dates                         1.00        460.00       $460.00

 05/19/2021   BMK     CA        Prepared daily memo narrative and coordinated            1.50        375.00       $562.50
                                client distribution.

 05/20/2021   KKY     CA        Review and revise critical dates                         1.40        460.00       $644.00

 05/20/2021   BMK     CA        Prepared daily memo narrative and coordinated            0.10        375.00        $37.50
                                client distribution.

 05/20/2021   GVD     CA        Attend to issues re scheduling                           0.20        950.00       $190.00

 05/21/2021   KKY     CA        Review and revise critical dates                         0.50        460.00       $230.00

 05/21/2021   BMK     CA        Prepared daily memo narrative and coordinated            0.90        375.00       $337.50
                                client distribution.

 05/24/2021   KKY     CA        Review and revise critical dates                         1.60        460.00       $736.00

 05/24/2021   BMK     CA        Prepared daily memo narrative and coordinated            0.70        375.00       $262.50
                                client distribution.

 05/25/2021   KKY     CA        Review and revise critical dates                         4.10        460.00      $1,886.00

 05/25/2021   BMK     CA        Prepared daily memo narrative and coordinated            1.00        375.00       $375.00
                                client distribution.

 05/26/2021   IDK     CA        E-mails with J Pomerantz, G Demo on rescheduling         0.70      1325.00        $927.50
                                of WIP call (.1); Attend part of conference call with
                                internal team on all open issues (.6).
Pachulski Stang Ziehl & Jones LLP                                                              Page:    71
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                      Hours            Rate      Amount

 05/26/2021   JNP     CA        Participate on PSZJ WIP call.                          0.90       1295.00        $1,165.50

 05/26/2021   JEO     CA        Attend PSZJ WIP call                                   0.70       1050.00         $735.00

 05/26/2021   JMF     CA        Telephone call with G. Demo, J.N. Pomerantz, I.        0.90       1050.00         $945.00
                                Kharasch, J. O'Neill, J. Morris and H. Winograd re
                                pending case issues and matters.

 05/26/2021   JMF     CA        Draft memorandum of pending case issues and            0.30       1050.00         $315.00
                                motions.

 05/26/2021   JAM     CA        Internal WIP call (J. Pomerantz, G. Demo, J.           0.80       1245.00         $996.00
                                O’Neill, J. Fried, H. Winograd).

 05/26/2021   BMK     CA        Prepared daily memo narrative and coordinated          0.10         375.00         $37.50
                                client distribution.

 05/26/2021   GVD     CA        Attend WIP call                                        1.00         950.00        $950.00

 05/26/2021   HRW     CA        PSZJ WIP Call (0.1)                                    0.10         695.00         $69.50

 05/27/2021   KKY     CA        Review and revise critical dates                       0.60         460.00        $276.00

 05/27/2021   BMK     CA        Prepared daily memo narrative and coordinated          0.40         375.00        $150.00
                                client distribution.

 05/28/2021   KKY     CA        Review and revise critical dates                       0.80         460.00        $368.00

 05/28/2021   BMK     CA        Prepared daily memo narrative and coordinated          0.30         375.00        $112.50
                                client distribution.

 05/29/2021   GVD     CA        Correspondence with Comp Committee re meeting          0.10         950.00         $95.00
                                schedule

 05/29/2021   GVD     CA        Review draft notice of hearing for exit financing      0.10         950.00         $95.00
                                action

                                                                                       48.20                    $39,533.50

  Claims Admin/Objections[B310]
 05/03/2021   IDK     CO        E-mails with K Yee, J Fried, re IFA and lack of        0.10       1325.00         $132.50
                                opposition to objection to claim (.1).

 05/03/2021   JNP     CO        Conference with Gregory V. Demo regarding              0.10       1295.00         $129.50
                                hearing on claims objection of employees.

 05/03/2021   JNP     CO        Conference with John A. Morris and F. Smith            0.40       1295.00         $518.00
                                regarding hearing on claims objection of employees.

 05/03/2021   JNP     CO        Participate in Status Conference regarding employee    0.60       1295.00         $777.00
                                claim objection.
Pachulski Stang Ziehl & Jones LLP                                                               Page:    72
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

 05/03/2021   JNP     CO        Conference with John A. Morris after Status              0.10      1295.00       $129.50
                                Conference regarding employee claim objection.

 05/03/2021   KKY     CO        Draft certification of no objection re objection to      0.10        460.00       $46.00
                                IFA proof of claim #93

 05/03/2021   JMF     CO        Review claims deck re pending unresolved claims          0.70      1050.00       $735.00
                                objections (.4); review employee stipulation and
                                issues re scheduling conference (.3).

 05/03/2021   JAM     CO        Telephone conference with J. Pomerantz re: Third         0.50      1245.00       $622.50
                                Omnibus objection (employee claims) (0.2);
                                telephone conference with J. Pomerantz, F. Smith re:
                                Third Omnibus objection (employee claims) (0.3).

 05/04/2021   IDK     CO        Review of Dugaboy objection to UBS settlement            0.20      1325.00       $265.00
                                and feedback re same.

 05/04/2021   IDK     CO        Review of J Kim’s revised objection to Advisors,         0.50      1325.00       $662.50
                                related parties administrative claims (.3); E-mail J
                                Kim, J Pomerantz re my feedback on same (.2).

 05/04/2021   JNP     CO        Conference with John A. Morris, Gregory V. Demo,         0.60      1295.00       $777.00
                                and Robert J. Feinstein regarding opposition to UBS
                                settlement motion and discovery.

 05/04/2021   JNP     CO        Conference with B. Michaelson , H. Magliff and           0.50      1295.00       $647.50
                                Robert J. Feinstein regarding UBS 9019 motion.

 05/04/2021   JNP     CO        Conference with John A. Morris regarding Multi           0.20      1295.00       $259.00
                                Strat and UBS 9019 motion.

 05/04/2021   JNP     CO        Review and revise letter to D. Draper regarding          0.20      1295.00       $259.00
                                discovery in connection with UBS motion.

 05/04/2021   JNP     CO        Emails with R. Michaelson regarding local counsel.       0.10      1295.00       $129.50

 05/04/2021   JNP     CO        Review latest version of objection to advisors claim.    0.10      1295.00       $129.50

 05/04/2021   JNP     CO        Review Dugaboy opposition to UBS settlement.             0.10      1295.00       $129.50

 05/04/2021   JNP     CO        Review Dugaboy letter regarding discovery                0.10      1295.00       $129.50
                                regarding UBS settlement and forward.

 05/04/2021   JNP     CO        Conference with Robert J. Feinstein regarding            0.20      1295.00       $259.00
                                Dugaboy opposition to UBS 9019 motion.

 05/04/2021   JEO     CO        Review status of claim objections                        0.60      1050.00       $630.00

 05/04/2021   RJF     CO        Review preliminary opposition to UBS 9019 motion,        0.40      1395.00       $558.00
                                discovery request.

 05/04/2021   RJF     CO        Call with Jeffrey N. Pomerantz, Gregory V. Demo          0.60      1395.00       $837.00
Pachulski Stang Ziehl & Jones LLP                                                              Page:    73
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                and John A. Morris regarding same.
 05/04/2021   RJF     CO        Telephone conference with Jeffrey N. Pomerantz,         0.40      1395.00        $558.00
                                Michaelson and Magaliff regarding Multi-Strat.

 05/04/2021   RJF     CO        Review and comment on draft response to Dugaboy         0.10      1395.00        $139.50
                                discovery request.

 05/04/2021   GVD     CO        Conference re Dugaboy discovery requests to UBS         0.60        950.00       $570.00
                                settlement

 05/04/2021   GVD     CO        Draft response to Dugaboy discovery requests re         0.60        950.00       $570.00
                                UBS litigation

 05/04/2021   HRW     CO        Review and edit Fourth Removal Extension Motion.        0.80        695.00       $556.00

 05/05/2021   IDK     CO        E-mail J Morris re his revisions to objection to        0.30      1325.00        $397.50
                                Advisors’ administrative claim, including review of
                                same.

 05/05/2021   IDK     CO        E-mails with CEO re his feedback on memo on             0.30      1325.00        $397.50
                                HCLOM claim and next steps in disputing same and
                                issue on schedules.

 05/05/2021   IDK     CO        Review of revised claims presentation and               0.20      1325.00        $265.00
                                comments from J Pomerantz re same

 05/05/2021   JJK     CO        Review Morris comments on admin. claim                  0.20        995.00       $199.00
                                objections and consider same.

 05/05/2021   JNP     CO        Emails with L. Phillips regarding letter regarding      0.10      1295.00        $129.50
                                UBS.

 05/05/2021   JNP     CO        Call regarding employees claims objection status.       0.20      1295.00        $259.00

 05/05/2021   JNP     CO        Review latest deck on claims status.                    0.20      1295.00        $259.00

 05/05/2021   RJF     CO        Numerous emails regarding status conference in          0.30      1395.00        $418.50
                                New York State action.

 05/05/2021   JMF     CO        Review stipulation (.2) and objection (.4) to third     0.80      1050.00        $840.00
                                omnibus; telephone call with G. Demo, J.N.
                                Pomerantz, J. Dine and H. Winograd re same (.2).

 05/05/2021   JMF     CO        Review UBS motion and objection re same.                0.50      1050.00        $525.00

 05/05/2021   JAM     CO        Revise draft scheduling order for Third Omnibus         3.90      1245.00       $4,855.50
                                Objection (employee claims) (0.9); e-mails with J.
                                Pomerantz, J. Fried re: draft scheduling order for
                                Third Omnibus Objection (employee claims) (0.1);
                                review/revise Objection to Advisors’ administrative
                                claim (1.5); e-mails with J. Pomerantz, G. Demo, J.
                                Fried, J. Kim re: revised Objection to Advisors’
                                administrative claim (0.2); emails with J. Seery re:
Pachulski Stang Ziehl & Jones LLP                                                              Page:    74
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount
                                Objection to Advisors’ administrative claim (0.1);
                                e-mail to L. Canty re: exhibits to JAM Declaration
                                in support of Objection to Advisors’ administrative
                                claim (0.2); prepare JAM Declaration in support of
                                Objection to Advisors’ administrative claim (0.3);
                                e-mails with Z. Annable, H. Winograd re: Objection
                                to Advisors’ administrative claim, JAM declaration,
                                and exhibits (0.3); e-mails with L. Hodgewood, D.
                                Rukavina, J. Vasek, J. Pomerantz re: status of
                                Advisors’ administrative claim (0.2); e-mail to T.
                                Ellison, D. Rukavina, L. Hogewood, J. Pomerantz,
                                G. Demo re: status of Advisors’ administrative claim
                                (0.1).
 05/05/2021   LSC     CO        Assist with preparation of JAM declaration and          0.40        460.00       $184.00
                                exhibits re objection to Advisors' Administrative
                                Claim.

 05/05/2021   GVD     CO        Finalize and circulate presentation re outstanding      0.20        950.00       $190.00
                                claims

 05/05/2021   KBD     CO        Call with J. Pomerantz, Gregory Demo, Hayley            0.20      1195.00        $239.00
                                Winograd and Joshua Fried regarding employee
                                objections.

 05/05/2021   KBD     CO        Review response to objection to claims.                 0.20      1195.00        $239.00

 05/05/2021   HRW     CO        PSZJ call re: Employee Claims objection (0.2).          0.20        695.00       $139.00

 05/06/2021   IDK     CO        E-mails with G Glazer re his feedback on                0.80      1325.00       $1,060.00
                                questions/points of CEO to his memo on HCLOM
                                claim, and next steps (.3); E-mails with G Demo re
                                HCLOM claim and potential of amending schedules
                                (.1); E-mails with J Pomerantz re same and
                                alternative of just objecting and need for call with
                                CEO (.3); E-mail CEO re same (.1).

 05/06/2021   JNP     CO        Conference with R. Michaelson, J. Rich, H.              0.60      1295.00        $777.00
                                Magliff, Robert J. Feinstein and Gregory V. Demo
                                regarding UBS 9019 motion.

 05/06/2021   JNP     CO        Conference with Robert J. Feinstein and Gregory V.      0.30      1295.00        $388.50
                                Demo after call with R. Michaelson and partners.

 05/06/2021   JNP     CO        Conference with Gregory V. Demo regarding call          0.10      1295.00        $129.50
                                with UBS.

 05/06/2021   RJF     CO        Telephone conference with Magaliff regarding state      0.30      1395.00        $418.50
                                court status conference.

 05/06/2021   RJF     CO        Call with Jeffrey N. Pomerantz, Gregory V. Demo         0.60      1395.00        $837.00
                                and Multistrat counsel regarding 9019 motion.
Pachulski Stang Ziehl & Jones LLP                                                              Page:    75
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount

 05/06/2021   RJF     CO        Followup telephone conference with Jeffrey N.           0.30      1395.00       $418.50
                                Pomerantz, Gregory V. Demo regarding 9019
                                motion.

 05/06/2021   JAM     CO        Review HCRE objection to disqualification motion        0.40      1245.00       $498.00
                                (Wick Phillips) (0.4).

 05/06/2021   GIG     CO        Exchange emails with Ira D. Kharasch re HCLOM           0.30      1050.00       $315.00
                                claim

 05/06/2021   GIG     CO        Review and consider HCLOM memo, potential               0.80      1050.00       $840.00
                                discovery

 05/06/2021   GVD     CO        Conference with J. Pomerantz and R. Feinstein re        0.30        950.00      $285.00
                                status of UBS evidentiary issues

 05/06/2021   GVD     CO        Conference with counsel to UBS re status                0.60        950.00      $570.00
                                conference

 05/06/2021   KBD     CO        Prepare chart regarding employee claims.                0.50      1195.00       $597.50

 05/07/2021   IDK     CO        E-mails with G Glazer re HCLOM claim and next           0.40      1325.00       $530.00
                                steps, including sample of claim objection for same
                                and issue re amending schedules and other concerns

 05/07/2021   JNP     CO        Conference with John A. Morris, Gregory V. Demo         0.20      1295.00       $259.00
                                and Robert J. Feinstein regarding UBS 9019 motion
                                issues and strategy.

 05/07/2021   JNP     CO        Call with Gregory V. Demo, Robert J. Feinstein and      0.30      1295.00       $388.50
                                Latham regarding UBS 9019 motion (partial).

 05/07/2021   RJF     CO        Telephone conference with Jeffrey N. Pomerantz,         0.20      1395.00       $279.00
                                Gregory V. Demo, John A. Morris regarding status
                                conference in state court.

 05/07/2021   RJF     CO        Telephone conference with Latham, Magaliff              0.40      1395.00       $558.00
                                regarding state court status conference.

 05/07/2021   RJF     CO        Telephone conference with Magaliff regarding state      0.10      1395.00       $139.50
                                court status conference.

 05/07/2021   JMF     CO        Review employee claims re objection.                    0.60      1050.00       $630.00

 05/07/2021   JAM     CO        E-mail to court re: scheduling of objection to          0.80      1245.00       $996.00
                                Advisors’ administrative claim (0.1); draft proposed
                                Scheduling Order for litigation of objection to
                                Advisors’ administrative claim (0.6); e-mail to D.
                                Rukavina, J. Pomerantz, G. Demo, H. Winograd re:
                                draft proposed Scheduling Order for litigation of
                                objection to Advisors’ administrative claim (0.1).

 05/07/2021   GIG     CO        Exchange emails with Ira D. Kharasch re HCLOM           0.10      1050.00       $105.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:    76
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount
                                claim
 05/07/2021   GIG     CO        Review Acis claim objection                              0.60      1050.00        $630.00

 05/07/2021   GVD     CO        Conference with PSZJ and UBS re status of                0.50        950.00       $475.00
                                objections to 9019

 05/07/2021   KBD     CO        Prepare chart regarding employee claims matters.         1.00      1195.00       $1,195.00

 05/08/2021   KBD     CO        Prepare chart regarding employee claims matters.         1.40      1195.00       $1,673.00

 05/09/2021   GVD     CO        Correspondence with K. Dine re employee claims           0.40        950.00       $380.00
                                issues

 05/09/2021   KBD     CO        Review pleadings and information relating to             0.50      1195.00        $597.50
                                employee claims.

 05/10/2021   IDK     CO        E-mails with J Pomerantz re HCLOM claim status           0.20      1325.00        $265.00
                                (.1); E-mails with CEO re same re need for call on
                                issues (.1).

 05/10/2021   RJF     CO        Internal emails regarding preparation for UBS 9019       0.30      1395.00        $418.50
                                discovery and hearing.

 05/10/2021   JAM     CO        E-mail to J. Rudd, L. Drawhorn, J. Pomerantz, H.         0.20      1245.00        $249.00
                                Winograd re: discovery, scheduling, 5/18 conference
                                (0.2).

 05/10/2021   KBD     CO        Revisions to draft chart regarding employee              0.80      1195.00        $956.00
                                objections.

 05/10/2021   KBD     CO        Telephone call with J. Donohue regarding                 0.10      1195.00        $119.50
                                information relating to employee claims.

 05/11/2021   IDK     CO        E-mails with G Glazer on status of HCLOM claim           0.90      1325.00       $1,192.50
                                and next steps and claim objection (.3); E-mails with
                                G Demo and DSI re HCLOM and scheduled claim,
                                including review of summary (.2); E-mails with
                                local counsel and G Demo re same, local rules, and
                                process for objecting to claim or amending
                                schedules (.2).

 05/11/2021   IDK     CO        Attend conference call with CEO and J Pomerantz re       0.50      1325.00        $662.50
                                HCLOM issues (.5).

 05/11/2021   JNP     CO        Consider issues regarding amended claims.                0.10      1295.00        $129.50

 05/11/2021   JNP     CO        Conference with J. Seery and Ira D. Kharasch             0.50      1295.00        $647.50
                                regarding amended claims, Plan issues and related
                                matters.

 05/11/2021   RJF     CO        Emails regarding UBS 9019 motion rescheduling.           0.30      1395.00        $418.50

 05/11/2021   JMF     CO        Review scheduling order (.2) and chart re filed/paid     0.90      1050.00        $945.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:    77
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount
                                claims re employee claims objection (.7).
 05/11/2021   JAM     CO        Review Wick Phillips objection to DQ motion and          1.80      1245.00       $2,241.00
                                related documents (1.2); telephone conference with
                                H. Winograd re: reply to Wick Phillips’ objection to
                                DQ motion (0.4); e-mails with F. Smith, D.
                                Rukavina, J. Pomerantz re: proposed Scheduling
                                Order for litigation concerning objection to
                                employee claims (0.2).

 05/11/2021   JAM     CO        Draft deposition notice for Seery (UBS 9019) (0.2);      0.20      1245.00        $249.00

 05/11/2021   GIG     CO        Exchange emails with Ira D. Kharasch re HCLOM            0.10      1050.00        $105.00
                                note claim objection

 05/11/2021   GVD     CO        Review stipulation re CLO issuers withdrawal of          0.30        950.00       $285.00
                                claims

 05/11/2021   KBD     CO        Review information relating to chart for statement of    0.20      1195.00        $239.00
                                facts.

 05/11/2021   HRW     CO        Call with J. Morris re: reply in support of motion to    0.30        695.00       $208.50
                                disqualify Wick Phillips (0.3).

 05/11/2021   HRW     CO        Draft reply in support of motion to disqualify Wick      6.80        695.00      $4,726.00
                                Phillips (6.8).

 05/12/2021   IDK     CO        E-mails with G Glazer re HCLOM objection to              0.20      1325.00        $265.00
                                claim and process.

 05/12/2021   JNP     CO        Review oppositions to UBS 9019 motion.                   0.50      1295.00        $647.50

 05/12/2021   JNP     CO        Conference with Robert J. Feinstein regarding            0.30      1295.00        $388.50
                                opposition to UBS 9019 motion.

 05/12/2021   JNP     CO        Conference with Gregory V. Demo regarding                0.10      1295.00        $129.50
                                opposition to UBS motion.

 05/12/2021   RJF     CO        Telephone conference with Jeffrey N. Pomerantz           0.30      1395.00        $418.50
                                regarding 9019, etc.

 05/12/2021   RJF     CO        Review objections to UBS 9019 motion and related         0.90      1395.00       $1,255.50
                                emails.

 05/12/2021   JMF     CO        Telephone call with Demo, K. Dine re employee            1.30      1050.00       $1,365.00
                                claims (.5); review DSI analysis and chart re same
                                (.8).

 05/12/2021   JAM     CO        Review/revise preliminary reply to Wick Phillips’        2.60      1245.00       $3,237.00
                                objection to DQ motion (1.8); e-mail to H.
                                Winograd re: revised preliminary reply to Wick
                                Phillips’ objection to DQ motion (0.1); e-mail to J.
                                Pomerantz, G. Demo, H. Winograd re: preliminary
Pachulski Stang Ziehl & Jones LLP                                                               Page:    78
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount
                                reply to Wick Phillips’ objection to DQ motion
                                (0.1); telephone conference with J. Pomerantz re:
                                Wick Phillips DQ motion (0.3); e-mails with T.
                                Ellison re: hearing on Wick Phillips’ DQ motion
                                (0.1); final revisions to preliminary reply to Wick
                                Phillips’ objection to DQ motion (0.2).
 05/12/2021   JAM     CO        E-mails to G. Brandt, G. Brown, C. Mackle, J.            1.50      1245.00       $1,867.50
                                Pomerantz, I. Kharasch re: e-discovery (0.3); e-mails
                                with Court, J. Pomerantz, G. Demo re: timing of
                                hearing on UBS settlement motion (0.2); prepare
                                notice of change of hearing date (UBS settlement
                                motion) (0.1); e-mail to J. Pomerantz, G. Demo, H.
                                Winograd, Z. Annable re: notice of change of
                                hearing date (UBS settlement motion) (0.1); e-mail
                                to Seery re: litigation matters (0.1); telephone
                                conference with J. Seery, J. Pomerantz re:
                                Advisors/Funds injunction litigation (0.7).

 05/12/2021   GIG     CO        Exchange emails with Ira D. Kharasch re objecting        0.10      1050.00        $105.00
                                to scheduled claims

 05/12/2021   GVD     CO        Conference with J. Fried and K. Dine re factual          0.50        950.00       $475.00
                                issues re third omnibus claims objection

 05/12/2021   GVD     CO        Conference with J. Pomerantz re response to UBS          0.10        950.00        $95.00
                                settlement objections

 05/12/2021   GVD     CO        Correspondence with T. Silva re UBS trial prep           0.10        950.00        $95.00

 05/12/2021   GVD     CO        Attend conference with J. Pomerantz, J. Seery and        1.40        950.00      $1,330.00
                                UBS re status of claims and litigation

 05/12/2021   KBD     CO        Review issues relating to employee objections and        0.60      1195.00        $717.00
                                preparation of chart with Gregory Demo and Joshua
                                Fried.

 05/12/2021   KBD     CO        Prepare and review correspondence relating to            0.30      1195.00        $358.50
                                preparation of employee chart.

 05/12/2021   HRW     CO        Draft and edit reply in support of motion to             2.80        695.00      $1,946.00
                                disqualify Wick Phillips (2.8).

 05/13/2021   JNP     CO        Prepare J. Seery for deposition regarding UBS 9019       1.60      1295.00       $2,072.00
                                motion.

 05/13/2021   JNP     CO        Conference with Latham, Robert J. Feinstein and          0.60      1295.00        $777.00
                                Gregory V. Demo regarding UBS settlement
                                objections and hearing.

 05/13/2021   RJF     CO        Review Dondero objection to UBS settlement.              0.30      1395.00        $418.50

 05/13/2021   RJF     CO        Seery deposition prep call.                              2.00      1395.00       $2,790.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:    79
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

 05/13/2021   RJF     CO        Call with Latham regarding 9019 hearing.                 0.50      1395.00        $697.50

 05/13/2021   RJF     CO        Review Multistrat governance documents.                  0.70      1395.00        $976.50

 05/13/2021   RJF     CO        Emails regarding Rule 30(b)(6) topics.                   0.10      1395.00        $139.50

 05/13/2021   JAM     CO        [UBS 9019 motion] Review objections to UBS               6.50      1245.00       $8,092.50
                                settlement motion (1.1); e-mail to J. Pomerantz, R.
                                Feinstein, G. Demo, H. Winograd, L. Canty re:
                                discovery and related matters concerning the UBS
                                settlement motion (0.7); e-mail to J. Seery, J.
                                Pomerantz, R. Feinstein, G. Demo re: preparation
                                for deposition in connection with UBS settlement
                                motion (0.2); e-mail to counsel re: Zoom
                                instructions for Seery deposition (UBS settlement
                                motion) (0.2); prepare for prep session with Seery
                                (0.3); telephone conference with J. Seery, J.
                                Pomerantz (partial participation), R. Feinstein, G.
                                Demo, T. Silva re: preparation for Seery deposition
                                in connection with UBS 9019 motion (2.0); prepare
                                objection to Dugaboy's Rule 30(b)(6) topics (0.9);
                                e-mails with J. Seery, J. Pomerantz, R. Feinstein, G.
                                Demo re: objections to Dugaboy's Rule 30(b)(6)
                                topics (0.1); e-mails w/ D. Draper re: document
                                production in connection with UBS 9019 motion
                                (0.2); review docket re: status of litigation matters
                                (0.8).

 05/13/2021   GVD     CO        Conference with Latham and PSZJ re objections to         0.60        950.00       $570.00
                                UBS settlement

 05/13/2021   GVD     CO        Draft omnibus response to objections to UBS              8.00        950.00      $7,600.00
                                settlement

 05/13/2021   GVD     CO        Review proposed document production re UBS               0.20        950.00       $190.00
                                settlement issues

 05/13/2021   GVD     CO        Review issues re employee claims and                     0.20        950.00       $190.00
                                correspondence with J. Donohue re same

 05/13/2021   GVD     CO        Conference with J. Seery and PSZJ team re                2.00        950.00      $1,900.00
                                preparation for UBS settlement hearing

 05/13/2021   KBD     CO        Review and revise employee chart.                        0.20      1195.00        $239.00

 05/14/2021   IDK     CO        Review and consider briefly next draft of omnibus        0.30      1325.00        $397.50
                                reply to UBS settlement objections and comments
                                from J Pomerantz and Wilmer Hale re same

 05/14/2021   JJK     CO        Review/research admin. claim issues/objections           2.50        995.00      $2,487.50
                                (HCM, NexBank, et al.).
Pachulski Stang Ziehl & Jones LLP                                                               Page:    80
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount

 05/14/2021   JNP     CO        Conference with J. Dubel regarding J. Seery              0.10      1295.00        $129.50
                                deposition and UBS 9019 status.

 05/14/2021   JNP     CO        Review and comment on reply to objections                0.50      1295.00        $647.50
                                regarding UBS 9019 and review emails regarding
                                same.

 05/14/2021   RJF     CO        Review and comment on draft reply to objections to       0.70      1395.00        $976.50
                                UBS 9019 motion.

 05/14/2021   RJF     CO        Attend Seery deposition.                                 2.00      1395.00       $2,790.00

 05/14/2021   RJF     CO        Telephone conference with John A. Morris                 0.30      1395.00        $418.50
                                regarding UBS 9019 hearing.

 05/14/2021   RJF     CO        Review UBS reply to 9019 settlement objections.          0.30      1395.00        $418.50

 05/14/2021   JAM     CO        [UBS 9019 motion] Review/revise omnibus reply to         6.30      1245.00       $7,843.50
                                objections to 9019 motion (2.8); e-mail to J.
                                Pomerantz, I. Kharasch, R. Feinstein, G. Demo, H.
                                Winograd, T. Silva re: revisions to draft omnibus
                                reply to objections to 9019 motion (0.2); telephone
                                conference with G. Demo re: draft omnibus reply
                                (0.1); e-mails to J. Seery re: documents/exhibits for
                                deposition (0.2); prepare for Seery deposition
                                (0.4);telephone conference with J. Seery re: 9019
                                deposition (0.1); Seery 9019 deposition (2.1);
                                telephone conference with J. Seery re: 9019
                                deposition and related matters (0.1); telephone
                                conference with R. Feinstein re: follow up from
                                deposition and related matters (0.3).

 05/14/2021   GIG     CO        Prepare objection to HCLOM note claim                    2.20      1050.00       $2,310.00

 05/14/2021   GVD     CO        Review and revise stipulation re withdrawal of CLO       0.40        950.00       $380.00
                                Issuers' claims

 05/14/2021   GVD     CO        Conference with M. Throckmorton re audit issues          0.10        950.00        $95.00

 05/14/2021   GVD     CO        Conference with J. Morris re Seery deposition for        0.20        950.00       $190.00
                                UBS settlement

 05/14/2021   GVD     CO        Attend deposition of J. Seery (partial)                  0.70        950.00       $665.00

 05/14/2021   GVD     CO        Revise omnibus reply to UBS settlement objections        7.00        950.00      $6,650.00
                                and attend to filing of same

 05/15/2021   HRW     CO        Draft discovery requests in connection with              6.80        695.00      $4,726.00
                                Employee Claims (6.8).

 05/16/2021   JNP     CO        Review J. Seery deposition for UBS 9019 motion.          0.20      1295.00        $259.00

 05/16/2021   HRW     CO        Draft discovery requests in connection with              5.50        695.00      $3,822.50
Pachulski Stang Ziehl & Jones LLP                                                               Page:    81
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                        Hours           Rate     Amount
                                Employee Claims (5.5).
 05/17/2021   JJK     CO        Revise NexBank adm. claim objection.                     0.50        995.00       $497.50

 05/17/2021   RJF     CO        Work on W&E list for UBS 9019 motion.                    0.30      1395.00        $418.50

 05/17/2021   RJF     CO        Prepare for motion to approve UBS 9019 settlement.       0.70      1395.00        $976.50

 05/17/2021   JMF     CO        Review discovery responses and comments re same.         0.80      1050.00        $840.00

 05/17/2021   JMF     CO        Review chart re disputed employee payment benefits       0.40      1050.00        $420.00
                                re 3rd omnibus objection.

 05/17/2021   JAM     CO        Communications with L. Drawhorn, J. Rudd, G.             0.70      1245.00        $871.50
                                Demo, H. Winograd re: scheduling order (0.3);
                                review/revise draft scheduling order (0.3); e-mail to
                                T. Ellison, L. Drawhorn, G. Demo re: scheduling
                                order (0.1).

 05/17/2021   JAM     CO        [UBS 9019] E-mail to T. Surgent, D. Klos, G. Demo        0.10      1245.00        $124.50
                                re: document production to Draper for UBS 9019
                                motion (0.1).

 05/17/2021   KBD     CO        Review draft document requests.                          0.20      1195.00        $239.00

 05/17/2021   HRW     CO        Review discovery requests in connection with             0.30        695.00       $208.50
                                Employee Claims (0.3).

 05/17/2021   HRW     CO        Review Wick Phillips’ proposed scheduling order          0.50        695.00       $347.50
                                (0.2); Review agenda to be submitted to Court for
                                May 18, 2021 Hearings (0.3).

 05/18/2021   JNP     CO        Review and comment on UBS 9019 argument.                 0.20      1295.00        $259.00

 05/18/2021   KKY     CO        Respond (.1) to email from James E. O'Neill re 1st       0.30        460.00       $138.00
                                omnibus objection to claims; and prepare (.2)
                                attachment to same

 05/18/2021   RJF     CO        Prepare for 9019 hearing.                                2.80      1395.00       $3,906.00

 05/18/2021   RJF     CO        Review and comment on witness and exhibit list,          0.70      1395.00        $976.50
                                related emails.

 05/18/2021   RJF     CO        Review documents to be produced to Draper, related       0.50      1395.00        $697.50
                                emails.

 05/18/2021   JMF     CO        Review analysis re employee claims.                      0.80      1050.00        $840.00

 05/18/2021   JAM     CO        Revise Wick Phillips scheduling order (DQ motion         0.20      1245.00        $249.00
                                on HCRE claim) (0.1); e-mail to Z. Annable, L.
                                Drawhorn, J. Rudd, G. Demo re: revised scheduling
                                order (0.1).

 05/18/2021   GVD     CO        Prepare and file CNO on Siepe claim                      0.40        950.00       $380.00
Pachulski Stang Ziehl & Jones LLP                                                              Page:    82
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount

 05/18/2021   GVD     CO        Review discovery requests for employee claims           0.20        950.00       $190.00
                                litigation

 05/18/2021   GVD     CO        Review papers filed by counsel to BH Equity re SE       0.40        950.00       $380.00
                                Multifamily

 05/18/2021   GVD     CO        Prepare document discovery for D. Draper re UBS         0.70        950.00       $665.00
                                9019

 05/19/2021   IDK     CO        Review of IFA withdrawal of claim (.1); E-mails         0.50      1325.00        $662.50
                                with J O’Neill re same and IFA violation of rule and
                                need to file our order disallowing claim, including
                                review of same order (.3); E-mails with local
                                counsel re same and correspondence to chambers on
                                same (.1).

 05/19/2021   KKY     CO        Draft order sustaining objection to POC #93 filed by    0.50        460.00       $230.00
                                Integrated Financial Associates

 05/19/2021   KKY     CO        Respond (.1) to email from James E. O'Neill re IFA      0.30        460.00       $138.00
                                objection; and prepare (.2) attachments to same

 05/19/2021   RJF     CO        Review documents for production to Dondero              0.80      1395.00       $1,116.00
                                regarding Multi-Strat.

 05/19/2021   RJF     CO        Continued work on UBS hearing outline.                  2.00      1395.00       $2,790.00

 05/19/2021   JMF     CO        Review issues and emails re IFA claim                   0.20      1050.00        $210.00
                                expungement.

 05/19/2021   GVD     CO        Finalize and file stipulation withdrawing CLO           0.20        950.00       $190.00
                                issuers' claim

 05/20/2021   JNP     CO        Review and comment on outline for UBS 9019              0.10      1295.00        $129.50
                                argument.

 05/20/2021   JNP     CO        Conference with Latham and PSZJ regarding               0.50      1295.00        $647.50
                                preparation for UBS 9019 hearing.

 05/20/2021   JNP     CO        Conference with John A. Morris, Gregory V. Demo,        1.00      1295.00       $1,295.00
                                Robert J. Feinstein and J. Seery regarding
                                preparation for testimony in UBS 9019 hearing.

 05/20/2021   JNP     CO        Review and comment on UBS 9019 presentation.            0.10      1295.00        $129.50

 05/20/2021   JEO     CO        Work on order sustaining objection to IFA and           0.60      1050.00        $630.00
                                coordinate filing with local counsel

 05/20/2021   RJF     CO        Prepare outline for 9019 and prepare for hearing.       2.50      1395.00       $3,487.50

 05/20/2021   RJF     CO        Call with Latham regarding hearing preparation.         0.50      1395.00        $697.50

 05/20/2021   RJF     CO        Call with Seery regarding testimony.                    1.00      1395.00       $1,395.00
Pachulski Stang Ziehl & Jones LLP                                                                Page:    83
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount

 05/20/2021   RJF     CO        Continued hearing preparation.                            1.00      1395.00       $1,395.00

 05/20/2021   JMF     CO        Review employee discovery issues and K. Dine              1.60      1050.00       $1,680.00
                                comments re same (.8); telephone call with J.
                                Morris, K. Dine, G. Demo and H. Winograd re same
                                (.8).

 05/20/2021   JAM     CO        Telephone conference with J. Fried, G. Demo, H.           0.70      1245.00        $871.50
                                Winograd, K. Dine re: discovery for employee
                                claims subject to third omnibus objection (0.7).

 05/20/2021   JAM     CO        [UBS 9019] Telephone conference with G. Demo              4.20      1245.00       $5,229.00
                                re: exhibits for UBS 9019 hearing (0.2); prepare
                                Seery direct examination (1.9); review R. Feinstein
                                draft opening presentation (0.3); Zoom call with J.
                                Pomerantz, R. Feinstein, G. Demo, A. Clubock,
                                other Latham attorneys re: UBS 9019 hearing (0.6);
                                telephone conference with J. Seery, J. Pomerantz, R.
                                Feinstein, G. Demo re: preparation for 9019 hearing
                                (0.9); telephone conference with G. Demo re: exhibit
                                list (0.1); e-mails with D. Draper re: exhibits (0.2).

 05/20/2021   GVD     CO        Review and confirm UBS witness and exhibit list           0.70        950.00       $665.00

 05/20/2021   GVD     CO        Conference with J. Seery and PSZJ team re UBS             0.90        950.00       $855.00
                                hearing prep

 05/20/2021   GVD     CO        Review Acis district court briefing                       0.40        950.00       $380.00

 05/20/2021   GVD     CO        Review outline re UBS hearing                             0.70        950.00       $665.00

 05/20/2021   GVD     CO        Draft demonstratives for UBS hearing                      0.70        950.00       $665.00

 05/20/2021   GVD     CO        Conference with PSZJ team re employee claims              0.70        950.00       $665.00
                                issues

 05/20/2021   GVD     CO        Conference with UBS re hearing prep                       0.50        950.00       $475.00

 05/20/2021   KBD     CO        Prepare comments to document request regarding            1.20      1195.00       $1,434.00
                                employee objections.

 05/20/2021   KBD     CO        Call with John Morris, Gregory Demo, Hayley               0.70      1195.00        $836.50
                                Winograd and Joshua Fried regarding document
                                requests.

 05/20/2021   HRW     CO        Draft discovery requests for Employee Claims (3.0).       3.00        695.00      $2,085.00

 05/20/2021   HRW     CO        Call with G. Demo, K. Dine, J. Morris, J. Fried re:       0.70        695.00       $486.50
                                discovery for Employee Claims (0.7).

 05/21/2021   JNP     CO        Participate in hearing on UBS 9019 motion (partial).      5.00      1295.00       $6,475.00

 05/21/2021   JNP     CO        Conference with J. Dubel regarding hearing on UBS         0.20      1295.00        $259.00
Pachulski Stang Ziehl & Jones LLP                                                                Page:    84
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount
                                9019 motion.
 05/21/2021   RJF     CO        Prepare for hearing on UBS 9019 motion.                   2.00      1395.00       $2,790.00

 05/21/2021   RJF     CO        Attend hearing on UBS 9019 motion.                        6.00      1395.00       $8,370.00

 05/21/2021   JMF     CO        Review discovery responses (1.3); telephone calls         1.60      1050.00       $1,680.00
                                with K. Dine re same (.3).

 05/21/2021   JAM     CO        [UBS Settlement] Prepare for hearing on UBS 9019          6.10      1245.00       $7,594.50
                                Motion (0.7); court hearing on UBS settlement (with
                                intermittent calls with J. Pomerantz, F. Feinstein, G.
                                Demo on breaks) (5.0); telephone conference with J.
                                Pomerantz re: hearing (0.1); telephone conference
                                with R. Feinstein re: hearing (0.1); telephone
                                conference with J. Seery re: hearing (0.2).

 05/21/2021   GVD     CO        Correspondence with Siepe re entered order on 9019        0.20        950.00       $190.00

 05/21/2021   GVD     CO        Attend hearing re UBS 9019                                5.00        950.00      $4,750.00

 05/21/2021   GVD     CO        Prepare for UBS 9019 hearing                              0.10        950.00        $95.00

 05/21/2021   KBD     CO        Review and prepare comments to discovery                  2.30      1195.00       $2,748.50
                                requests.

 05/21/2021   KBD     CO        Telephone calls with Hayley Winograd regarding            0.30      1195.00        $358.50
                                discovery requests.

 05/21/2021   HRW     CO        Draft and prepare discovery requests for Employee         7.20        695.00      $5,004.00
                                Claims (6.8); Sent discovery requests for Employee
                                Claims to opposing counsel (0.2); Call with K. Dine
                                re: discovery for Employee Claims (0.2).

 05/22/2021   GVD     CO        Draft and finalize Siepe stipulation withdrawing          0.50        950.00       $475.00
                                claims

 05/24/2021   IDK     CO        E-mails with J Pomerantz re status on objection to        0.20      1325.00        $265.00
                                HCLOM claim (.2)

 05/24/2021   JNP     CO        Review of UBS order and emails regarding same.            0.10      1295.00        $129.50

 05/24/2021   RJF     CO        Draft order approving UBS settlement, related             0.70      1395.00        $976.50
                                emails.

 05/24/2021   GIG     CO        Prepare objection to HCLOM note claim                     5.70      1050.00       $5,985.00

 05/24/2021   GIG     CO        Exchange emails with Ira D. Kharasch re HCLOM             0.10      1050.00        $105.00
                                note claim objection

 05/24/2021   GVD     CO        Conference with E. Bromagen re discovery issues on        0.20        950.00       $190.00
                                employee claims

 05/25/2021   IDK     CO        Review and consider correspondence from CEO,              1.00      1325.00       $1,325.00
Pachulski Stang Ziehl & Jones LLP                                                                 Page:    85
Highland Capital Management LP                                                                    Invoice 127958
36027 - 00002                                                                                     May 31, 2021


                                                                                          Hours           Rate     Amount
                                other management re issues on claim of HCLOM
                                and control of HCLOM, and strategy on next steps
                                re same (.4); Preparation of memo to J Pomerantz, G
                                Demo re same, summary of issues on Neutra
                                control, and how to respond on next steps (.4);
                                Telephone conference with J Pomerantz re same
                                (.2).
 05/25/2021   IDK     CO        Extensive E-mails with G Glazer on status and              0.70      1325.00        $927.50
                                various open issues, legal and factual, other potential
                                theories, on draft of objection to claim of HCLOM
                                and open issues re same and timing on generating
                                initial draft (.7).

 05/25/2021   IDK     CO        E-mails with G Demo, J Pomerantz T Cairns and              0.20      1325.00        $265.00
                                others re HCLOM claim, open issues and need for
                                call.

 05/25/2021   JNP     CO        Consider issues regarding objection to HCLOM               0.20      1295.00        $259.00
                                claim; Conference with Ira D. Kharasch regarding
                                same.

 05/25/2021   KKY     CO        Draft certification of counsel re 3rd omnibus              0.30        460.00       $138.00
                                objection to claims

 05/25/2021   KKY     CO        Review and revise order re 3rd omnibus objection to        0.10        460.00        $46.00
                                claims

 05/25/2021   KKY     CO        Review and revise schedule 1 to order re 3rd               0.60        460.00       $276.00
                                omnibus objection to claims

 05/25/2021   GIG     CO        Exchange emails with Ira D. Kharasch re HCLOM              0.20      1050.00        $210.00
                                note claim objection

 05/25/2021   GIG     CO        Prepare objection to HCLOM note claim                      3.30      1050.00       $3,465.00

 05/26/2021   IDK     CO        Attend conference call with Surgent, Cournoyer, J          0.70      1325.00        $927.50
                                Pomerantz and G Demo on HCLOM claim issues
                                and control of Neutra over same (.6); E-mails with
                                Cayman counsel re same (.1).

 05/26/2021   JNP     CO        Conference with T. Counoyer, T. Surgent, Gregory           0.60      1295.00        $777.00
                                V. Demo and Ira D. Kharasch regarding issues
                                surrounding HCLOM and claim against estate.

 05/26/2021   RJF     CO        Revise UBS settlement approval order.                      0.20      1395.00        $279.00

 05/26/2021   RJF     CO        Emails with objectors regarding order.                     0.20      1395.00        $279.00

 05/26/2021   GIG     CO        Exchange emails with Ira D. Kharasch re HCLOM              0.10      1050.00        $105.00
                                note claim objection

 05/26/2021   GIG     CO        Prepare objection to HCLOM note claim                      3.80      1050.00       $3,990.00
Pachulski Stang Ziehl & Jones LLP                                                               Page:    86
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                       Hours            Rate        Amount

 05/27/2021   IDK     CO        E-mail to G Glazer re draft objection to HCLOM           0.30      1325.00          $397.50
                                claim (.1); E-mails with client, Cayman counsel re
                                need for call re HCLOM issues on control, structure
                                and coordination (.2).

 05/27/2021   JNP     CO        Review email regarding Jenner request regarding          0.10      1295.00          $129.50
                                closing of Multi Strat settlement and forward to J.
                                Seery.

 05/27/2021   RJF     CO        Emails regarding submission of UBS order.                0.20      1395.00          $279.00

 05/28/2021   IDK     CO        E-mails with G Demo re scheduling call with              1.20      1325.00         $1,590.00
                                Cayman counsel re HCLOM (.1); Attend conference
                                call with Cayman counsel, T Cournoyer, G Demo re
                                issues on HCLOM claim and control over HCLOM
                                and related corporate issues on changing same (1.0);
                                E-mail T Cournoyer and Thomas re need for
                                feedback on HCLOM legal issues (.1).

 05/28/2021   GVD     CO        Conference with HCMLP and Walkers re Cayman              1.00        950.00         $950.00
                                law issues on potential claim objection

 05/28/2021   GVD     CO        Correspondence with UBS re entry of order and next       0.30        950.00         $285.00
                                steps

 05/28/2021   HRW     CO        PSZJ call with Sidley re: Employee Discovery (0.5)       0.50        695.00         $347.50

 05/29/2021   JAM     CO        E-mails w/ J. Kathman, J. Seery, J. Pomerantz, G.        0.20      1245.00          $249.00
                                Demo, H. Winograd re: status of Daugherty
                                proposed settlement (0.2)

 05/29/2021   GVD     CO        Follow up with UBS re settlement agreement issues        0.10        950.00          $95.00

                                                                                       218.60                    $239,065.50

  Compensation Prof. [B160]
 05/02/2021   JNP     CP        Email to J. Donahue regarding reconciliation             0.20      1295.00          $259.00
                                regarding unpaid fees.

 05/05/2021   JMF     CP        Review PSZJ fee statement.                               0.50      1050.00          $525.00

 05/06/2021   JNP     CP        Continued review of April 2021 bill.                     0.40      1295.00          $518.00

 05/07/2021   JNP     CP        Continued review of April 2021 bill.                     0.50      1295.00          $647.50

 05/09/2021   JNP     CP        Further review of April bill.                            0.50      1295.00          $647.50

 05/11/2021   JNP     CP        Continued review of April bill.                          0.30      1295.00          $388.50

 05/11/2021   JMF     CP        Review and edit PSZJ April fee statement.                2.30      1050.00         $2,415.00

 05/12/2021   JNP     CP        Final review of April invoice.                           0.50      1295.00          $647.50
Pachulski Stang Ziehl & Jones LLP                                                                    Page:    87
Highland Capital Management LP                                                                       Invoice 127958
36027 - 00002                                                                                        May 31, 2021


                                                                                            Hours            Rate      Amount

 05/12/2021   KKY     CP        Draft certification of no objection re 18th fee app of       0.10         460.00         $46.00
                                PSZJ for March 2021

 05/13/2021   KKY     CP        File (.1) and prepare for filing (.1) certification of no    0.20         460.00         $92.00
                                objection re 18th fee app of PSZJ for March 2021

 05/13/2021   JMF     CP        Review PSZJ Statement (.5); draft April Fee                  2.90       1050.00        $3,045.00
                                Application (2.4).

 05/13/2021   JMF     CP        Review March PSZJ app and CNO and emails re                  0.20       1050.00         $210.00
                                filing of same.

 05/14/2021   JMF     CP        Review edits to PSZJ bill.                                   0.30       1050.00         $315.00

 05/18/2021   JNP     CP        Emails to and from Joshua M. Fried regarding April           0.10       1295.00         $129.50
                                2021 bill.

 05/18/2021   JNP     CP        Email to J. Seery enclosing April 2021 bill.                 0.10       1295.00         $129.50

 05/18/2021   PJJ     CP        Draft 4th interim fee application.                           0.80         460.00        $368.00

 05/18/2021   JMF     CP        Review PSZJ bill re April.                                   0.40       1050.00         $420.00

 05/20/2021   PJJ     CP        Review and revise April invoice.                             0.20         460.00         $92.00

 05/20/2021   PJJ     CP        Draft April fee statement (.8) and 4th interim fee           1.30         460.00        $598.00
                                application (.5).

 05/24/2021   PJJ     CP        Work on interim fee application.                             1.00         460.00        $460.00

 05/24/2021   JMF     CP        Draft 4th fee application.                                   2.70       1050.00        $2,835.00

 05/26/2021   JNP     CP        Review and comment on April fee statement.                   0.20       1295.00         $259.00

 05/26/2021   JMF     CP        Draft April Monthly PSZJ application.                        1.70       1050.00        $1,785.00

 05/27/2021   JMF     CP        Review April fee statement.                                  0.40       1050.00         $420.00

                                                                                             17.80                    $17,252.00

  Comp. of Prof./Others
 05/03/2021   KKY     CPO       Draft certification of no objection re 4th fee app of        0.10         460.00         $46.00
                                Deloitte for 10/1/20-12/31/20

 05/03/2021   JEO     CPO       Follow up with deloitte on status of fee applications        0.30       1050.00         $315.00

 05/04/2021   JEO     CPO       Review and provide comments to OCP fee report                0.40       1050.00         $420.00

 05/04/2021   JEO     CPO       Review status of Deloitte's fee applications and             0.40       1050.00         $420.00
                                certificates of no objection for same

 05/25/2021   KKY     CPO       Review and revise fee chart                                  0.30         460.00        $138.00
Pachulski Stang Ziehl & Jones LLP                                                             Page:    88
Highland Capital Management LP                                                                Invoice 127958
36027 - 00002                                                                                 May 31, 2021


                                                                                     Hours            Rate     Amount

 05/29/2021   GVD     CPO       Revise Seery bonus motion and review back up to       0.30         950.00       $285.00
                                same

                                                                                       1.80                    $1,624.00

  Employee Benefit/Pension-B220
 05/02/2021   JNP     EB        Email to M. Clemente following up on bonus            0.10       1295.00        $129.50
                                motion.

 05/07/2021   JNP     EB        Conference with J. Dubel regarding Seery bonus        0.30       1295.00        $388.50
                                issues and related matters.

 05/10/2021   JMF     EB        Review employee claims chart and claims data re       0.80       1050.00        $840.00
                                asserted bonus claims.

 05/12/2021   JNP     EB        Conference with J. Dubel regarding scheduling         0.20       1295.00        $259.00
                                compensation committee call and review emails
                                regarding same.

 05/13/2021   JNP     EB        Conference with Gregory V. Demo and Board             0.50       1295.00        $647.50
                                regarding Jim Seery bonus.

 05/14/2021   JEO     EB        Call with Fred Caruso re Pension Plan                 0.60       1050.00        $630.00

 05/16/2021   JNP     EB        Review analysis of J. Seery compensation regarding    0.10       1295.00        $129.50
                                bonus motion.

 05/17/2021   JNP     EB        Conference with J. Dubel regarding call with          0.10       1295.00        $129.50
                                compensation Committee regarding J. Seery bonus.

 05/17/2021   JNP     EB        Conference with J. dubel, R. Nelms and Gregory V.     0.50       1295.00        $647.50
                                Demo regarding J. Seery bonus.

 05/17/2021   GVD     EB        Conference with J. Romey re employee issues           0.10         950.00        $95.00

 05/18/2021   JNP     EB        Emails regarding pension plan; Conference with        0.20       1295.00        $259.00
                                Gregory V. Demo regarding same.

 05/18/2021   JNP     EB        Conference with J. Dubel regarding Seery              0.20       1295.00        $259.00
                                compensation motion.

 05/18/2021   JEO     EB        Review issues re pension plan                         0.80       1050.00        $840.00

 05/18/2021   GVD     EB        Conference with F. Caruso re PBGC issues              0.20         950.00       $190.00

 05/19/2021   JNP     EB        Conference with B. Sharp regarding termination of     0.10       1295.00        $129.50
                                pension plan.

 05/19/2021   JMF     EB        Analyze issues re retention bonus (1.2); telephone    1.30       1050.00       $1,365.00
                                call with J.N. Pomerantz re same (.1).

 05/20/2021   JNP     EB        Conference with Hunton, F. Caruso, and Gregory V.     0.50       1295.00        $647.50
Pachulski Stang Ziehl & Jones LLP                                                               Page:    89
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                       Hours            Rate      Amount
                                Demo regarding status of benefit plan.
 05/20/2021   GVD     EB        Conference with Hunton and PSZJ team re open            0.50         950.00        $475.00
                                issues re pension

 05/24/2021   JNP     EB        Conference with Gregory V. Demo regarding Seery         0.10       1295.00         $129.50
                                bonus motion.

 05/25/2021   JNP     EB        Conference with J. Seery regarding pension plan         0.10       1295.00         $129.50
                                termination.

 05/26/2021   JNP     EB        Conference with B. Sharp regarding pension plan         0.20       1295.00         $259.00
                                termination and related issues.

 05/26/2021   JNP     EB        Conference with Gregory V. Demo regarding               0.10       1295.00         $129.50
                                pension plan termination and related issues.

 05/26/2021   GVD     EB        Review issues re pension plan                           0.10         950.00         $95.00

 05/28/2021   JNP     EB        Review latest version of Seery Bonus Motion and         0.10       1295.00         $129.50
                                email regarding same.

 05/28/2021   JNP     EB        Conference with J. Dempsey regarding executive          0.10       1295.00         $129.50
                                compensation.

 05/31/2021   JNP     EB        Participation in meeting of Compensation                1.00       1295.00        $1,295.00
                                Committee.

                                                                                         8.90                    $10,357.50

  Financial Filings [B110]
 05/04/2021   JEO     FF        Review and provide comments to post confirmation        0.40       1050.00         $420.00
                                report

 05/05/2021   JEO     FF        Review updated post confirmation report and             0.30       1050.00         $315.00
                                arrange for filing of same.

 05/18/2021   JEO     FF        Review issues re 2015 reporting and call with DSI re    0.80       1050.00         $840.00
                                same

 05/19/2021   JEO     FF        Call with PSZJ and DSI teams re: reporting              0.50       1050.00         $525.00
                                requirements

 05/19/2021   JEO     FF        Review Objection to Dugaboy's 2015.3 Motion             0.40       1050.00         $420.00

                                                                                         2.40                     $2,520.00

  General Business Advice [B410]
 04/12/2021   LSC     GB        Research regarding insurance policies and               1.30         460.00        $598.00
                                correspondence with I. Nasatir regarding the same.
Pachulski Stang Ziehl & Jones LLP                                                                Page:    90
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount

 05/03/2021   IDK     GB        Telephone conference with J Pomerantz re overall          0.20      1325.00        $265.00
                                case status, delayed effective date issues, other
                                matters (.2).

 05/03/2021   JNP     GB        Conference with J. Dubel regarding pending                0.50      1295.00        $647.50
                                litigation, insurance and related issues (2x).

 05/03/2021   JNP     GB        Conference with Iain A. W. Nasatir regarding              0.10      1295.00        $129.50
                                insurance and email to Jim Seery and John Dubel
                                regarding call regarding same.

 05/03/2021   JNP     GB        Emails to and from M. Clemente regarding                  0.10      1295.00        $129.50
                                scheduling call to discuss status of insurance.

 05/03/2021   JNP     GB        Email to and from Gregory V. Demo regarding               0.10      1295.00        $129.50
                                indemnification.

 05/04/2021   IAWN GB           Telephone conference w/ client, Jeffrey N                 1.30      1145.00       $1,488.50
                                Pomerantz, Gregory V Demo re insurance; (.7); tc
                                w/ committee, Alliant and client re insurance (.5); tc
                                w/ Jeffrey N Pomerantz, GD and client; (.1) re
                                insurance

 05/04/2021   IDK     GB        Telephone conference with J Pomerantz re appeal           0.20      1325.00        $265.00
                                issues generally and re financing issues (.2).

 05/04/2021   JNP     GB        Conference with J. Dubel regarding various                0.20      1295.00        $259.00
                                litigation and insurance issues.

 05/04/2021   JNP     GB        Conference with J. Dubel, J. Seery, Iain A. W.            0.50      1295.00        $647.50
                                Nasatir and Gregory V. Demo regarding exit D&O
                                insurance issues.

 05/04/2021   JNP     GB        Conference with M Clemente, M. Flaherty, Alliant,         0.90      1295.00       $1,165.50
                                J. Dubel, J. Seery, Iain A. W. Nasatir and Gregory
                                V. Demo regarding exit D&O insurance issues.

 05/04/2021   GVD     GB        Conference with Board re insurance issues and             1.30        950.00      $1,235.00
                                conference with Committee re same

 05/04/2021   GVD     GB        Multiple conferences with J. Seery re status of case      0.70        950.00       $665.00
                                and next steps

 05/04/2021   HRW     GB        Edit and review litigation Board deck.                    0.30        695.00       $208.50

 05/05/2021   IAWN GB           Telephone conference with Jeffrey N Pomerantz,            1.10      1145.00       $1,259.50
                                Gregory Demo, client and committee counsel and
                                Alliant re insurance coverage (.5), telephone
                                conference w/Jeffrey N Pomerantz, Gregory Demo
                                and client re insurance (.3), tc w/ Jeffrey N
                                Pomerantz, Gregory Demo and client re telephone
                                call with Alliant (.3)
Pachulski Stang Ziehl & Jones LLP                                                             Page:    91
Highland Capital Management LP                                                                Invoice 127958
36027 - 00002                                                                                 May 31, 2021


                                                                                      Hours           Rate     Amount

 05/05/2021   JNP     GB        Conference with J. Dubel regarding insurance,          0.50      1295.00        $647.50
                                Board call and related issues (3x).

 05/05/2021   JNP     GB        Review and respond to email from Alliant regarding     0.10      1295.00        $129.50
                                D&O insurance.

 05/05/2021   JNP     GB        Conference with J. Seery, J. Dubel, Iain A. W.         0.30      1295.00        $388.50
                                Nasatir and Gregory V. Demo in advance of call
                                regarding D&O insurance.

 05/05/2021   JNP     GB        Conference with Alliant, FTI, Sidley, Gregory V.       0.70      1295.00        $906.50
                                Demo, Iain A. W. Nasatir, J. Seery and J. Dubel
                                regarding D&O insurance.

 05/05/2021   JNP     GB        Conference with Ira D. Kharasch regarding D&O          0.10      1295.00        $129.50
                                issues .

 05/05/2021   GVD     GB        Attend pre-conference re insurance issues              0.30        950.00       $285.00

 05/05/2021   GVD     GB        Attend conference re insurance (partial attendance)    0.30        950.00       $285.00

 05/05/2021   HRW     GB        Edit and review litigation Board deck (0.2).           0.20        695.00       $139.00

 05/06/2021   IDK     GB        Telephone conference with J Pomerantz re status of     0.30      1325.00        $397.50
                                case, financing, effective date, Dondero litigation
                                (.3).

 05/06/2021   JNP     GB        Conference with Ira D. Kharasch regarding              0.30      1295.00        $388.50
                                schedules issues, meeting and related matters.

 05/06/2021   JNP     GB        Conference with J. Dubel regarding Plan effective      0.40      1295.00        $518.00
                                date, litigation and related issues.

 05/06/2021   GVD     GB        Multiple conferences with J. Seery re open issues      0.90        950.00       $855.00

 05/06/2021   HRW     GB        Call with G. Demo re: litigation Board deck (0.1);     0.70        695.00       $486.50
                                Edit and review litigation Board deck (0.6).

 05/07/2021   JNP     GB        Emails regarding cancellation regarding Committee      0.10      1295.00        $129.50
                                Board call.

 05/07/2021   JNP     GB        Review and comment on proposed email regarding         0.10      1295.00        $129.50
                                indemnification for Seery.

 05/07/2021   GVD     GB        Conference with J. Seery re open issues and next       0.30        950.00       $285.00
                                steps

 05/07/2021   GVD     GB        Draft request for indemnification and                  0.40        950.00       $380.00
                                correspondence re same

 05/10/2021   IAWN GB           Review and analyze indemnification demand (.2);        1.00      1145.00       $1,145.00
                                review file re indemnity (.4); telephone conference
                                with Jeffrey N Pomerantz, Gregory V Demo re
Pachulski Stang Ziehl & Jones LLP                                                            Page:    92
Highland Capital Management LP                                                               Invoice 127958
36027 - 00002                                                                                May 31, 2021


                                                                                     Hours           Rate     Amount
                                indemnification issues (.4)
 05/10/2021   IDK     GB        Telephone conference with J Pomerantz re update on    0.20      1325.00        $265.00
                                going effective and indemnity trust (.2).

 05/10/2021   JNP     GB        Conference with Gregory V. Demo and Iain A. W.        0.40      1295.00        $518.00
                                Nasatir regarding insurance issues.

 05/10/2021   JNP     GB        Conference with Ira D. Kharasch regarding Plan        0.20      1295.00        $259.00
                                issues and insurance issues.

 05/10/2021   GVD     GB        Conference with J. Pomerantz and I. Nasatir re        0.50        950.00       $475.00
                                insurance issues

 05/10/2021   GVD     GB        Conference with J. Dubel, J. Pomerantz, and R.        0.50        950.00       $475.00
                                Feinstein re insurance issues

 05/11/2021   JNP     GB        Conference with J. Dubel regarding pending issues,    0.30      1295.00        $388.50
                                litigation and strategy.

 05/11/2021   GVD     GB        Multiple conferences with J. Seery re open issues     0.60        950.00       $570.00
                                and next steps

 05/12/2021   GVD     GB        Multiple conferences with J. Seery re open issues     0.60        950.00       $570.00

 05/12/2021   GVD     GB        Review materials re IRS tolling of statute of         0.20        950.00       $190.00
                                limitations

 05/13/2021   IAWN GB           Exchange emails with AON re claim                     0.10      1145.00        $114.50

 05/13/2021   IDK     GB        Telephone conferences with J Pomerantz and then       0.90      1325.00       $1,192.50
                                with G Demo re issues on tax audits for subs of
                                Debtor and changes to be made (.3); Telephone
                                conference with G Demo re same (.1); Review of
                                various audit letter disclosures and consider
                                potential changes to same (.4); E-mails with G
                                Demo re same and green light (.1).

 05/13/2021   JNP     GB        Review audit response letters and conference with     0.30      1295.00        $388.50
                                Ira D. Kharasch regarding same.

 05/13/2021   JNP     GB        Review and respond to emails regarding counsel        0.10      1295.00        $129.50
                                request for waiver.

 05/13/2021   GVD     GB        Conference with J. Dubel re attorney costs            0.20        950.00       $190.00

 05/13/2021   GVD     GB        Attend compensation committee meeting                 0.50        950.00       $475.00

 05/13/2021   GVD     GB        Conference with J. Dubel re Seery bonus issues        0.30        950.00       $285.00

 05/14/2021   IAWN GB           Review Caruso email re insurance                      0.10      1145.00        $114.50

 05/17/2021   GVD     GB        Attend compensation committee meeting                 0.50        950.00       $475.00
Pachulski Stang Ziehl & Jones LLP                                                              Page:    93
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                       Hours           Rate     Amount

 05/17/2021   GVD     GB        Conference with J. Seery re open issues and next        0.20        950.00      $190.00
                                steps

 05/17/2021   GVD     GB        Conference with J. Dubel re Seery bonus issues          0.10        950.00       $95.00

 05/18/2021   IAWN GB           Exchange emails with Caruso re call                     0.10      1145.00       $114.50

 05/18/2021   IDK     GB        Telephone conference with J Pomerantz re various        0.20      1325.00       $265.00
                                case issues, including result of today’s hearing and
                                court comments, plan issues and effective date and
                                various litigation issues (.2).

 05/18/2021   JNP     GB        Email to J Seery regarding indemnity trust.             0.10      1295.00       $129.50

 05/18/2021   JNP     GB        Conference with J. Dubel regarding variety of           0.50      1295.00       $647.50
                                business and litigation issues.

 05/18/2021   GVD     GB        Multiple conferences with J. Dubel and J. Seery re      0.20        950.00      $190.00
                                open issues

 05/18/2021   GVD     GB        Conference with J. Romey re issues re packing up        0.30        950.00      $285.00
                                office

 05/19/2021   IAWN GB           Review Gregory Demo and Jeffrey N Pomerantz             0.10      1145.00       $114.50
                                emails re timing for call with committee

 05/19/2021   GVD     GB        Conference with J. Seery re open issues and next        0.20        950.00      $190.00
                                steps

 05/20/2021   IAWN GB           Telephone conference w/ Sidley; review email re         0.10      1145.00       $114.50
                                cancellation

 05/20/2021   IAWN GB           Review Sidley and PSZJ emails re timing for             0.20      1145.00       $229.00
                                committee call

 05/20/2021   JNP     GB        Emails regarding call to discuss insurance issues.      0.10      1295.00       $129.50

 05/20/2021   JNP     GB        Conference with J. Dubel regarding general business     0.10      1295.00       $129.50
                                issues.

 05/20/2021   GVD     GB        Conference with J. Romey re open issues and next        0.20        950.00      $190.00
                                steps

 05/21/2021   GVD     GB        Conference with J. Seery re open issues and next        0.20        950.00      $190.00
                                steps

 05/24/2021   IAWN GB           Review Jeffrey N Pomerantz and Gregory Demo             0.10      1145.00       $114.50
                                emails re resolutions re demand

 05/24/2021   IDK     GB        E-mail G Demo and Board re indemnification issues       0.20      1325.00       $265.00
                                for CEO.

 05/24/2021   JNP     GB        Conference with R. Nelms and J. Dubel regarding         0.50      1295.00       $647.50
Pachulski Stang Ziehl & Jones LLP                                                               Page:    94
Highland Capital Management LP                                                                  Invoice 127958
36027 - 00002                                                                                   May 31, 2021


                                                                                       Hours            Rate      Amount
                                general business issues, litigation and related
                                matters.
 05/24/2021   JNP     GB        Review memo regarding termination of pension            0.10       1295.00         $129.50
                                plan.

 05/24/2021   GVD     GB        Conference with claim holder re common interest         0.20         950.00        $190.00
                                agreement

 05/25/2021   IAWN GB           Review emails between Sidley and PSZJ re time for       0.10       1145.00         $114.50
                                call

 05/25/2021   IDK     GB        E-mails with Bermuda insurance counsel, G Demo          0.10       1325.00         $132.50
                                re rescheduling of call re Gov Re.

 05/26/2021   IDK     GB        E-mails with Bermuda counsel, others re Gov Re          0.20       1325.00         $265.00
                                and need for call.

 05/26/2021   JNP     GB        Conference with Sidley, J. Dubel, J. Seery and          0.80       1295.00        $1,036.00
                                Gregory V. Demo regarding indemnity trust issues.

 05/26/2021   JNP     GB        Conference with J. Dubel following up from call         0.40       1295.00         $518.00
                                regarding indemnity trust issues.

 05/26/2021   GVD     GB        Revise and update Seery bonus motion                    0.70         950.00        $665.00

 05/26/2021   GVD     GB        Conference with J. Romey re issues re exit financing    0.40         950.00        $380.00

 05/27/2021   IDK     GB        E-mails with G Demo re Bermuda counsel re Gov           0.50       1325.00         $662.50
                                Re and need for relevant memo on same (.2);
                                Numerous E-mails with Bermuda counsel re issue
                                and coordination of call (.3).

 05/27/2021   JNP     GB        Conference with J. Dubel regarding sale, Plan and       0.30       1295.00         $388.50
                                litigation issues.

 05/27/2021   GVD     GB        Multiple conferences with J. Seery re open issues       0.30         950.00        $285.00
                                and next steps

 05/28/2021   GVD     GB        Conference with Hunton re tax audit issues              0.30         950.00        $285.00

 05/31/2021   IDK     GB        E-mail Bermuda counsel on Gov Re insurance              0.30       1325.00         $397.50
                                issues/status, including brief review of latest
                                information.

 05/31/2021   GVD     GB        Attend compensation committee meeting                   1.00         950.00        $950.00

                                                                                        31.70                    $34,422.00

  General Creditors Comm. [B150]
 05/03/2021   JAM     GC        Telephone conference with J. Seery re: meeting with     0.20       1245.00         $249.00
                                Kirschner (0.1); telephone conference with J.
Pachulski Stang Ziehl & Jones LLP                                                              Page:    95
Highland Capital Management LP                                                                 Invoice 127958
36027 - 00002                                                                                  May 31, 2021


                                                                                      Hours            Rate     Amount
                                Pomerantz re: meeting with Kirschner (0.1).
 05/04/2021   JNP     GC        Review J. Seery email.                                 0.10       1295.00        $129.50

 05/05/2021   GVD     GC        Conference with E. Bromagen re open committee          0.10         950.00        $95.00
                                items and next steps

 05/05/2021   GVD     GC        Review presentations re litigation trustee             0.40         950.00       $380.00

 05/07/2021   IDK     GC        E-mail G Demo re today’s UCC meeting (.1).             0.10       1325.00        $132.50

 05/07/2021   JNP     GC        Emails with M. Clemente regarding provision of         0.10       1295.00        $129.50
                                information to Committee.

 05/09/2021   JNP     GC        Email to J. Seery regarding meeting with UBS to go     0.10       1295.00        $129.50
                                over current financials.

 05/17/2021   GVD     GC        Conference with E. Bromagen re plan                    0.10         950.00        $95.00
                                implementation issues

                                                                                        1.20                    $1,340.00

  Plan & Disclosure Stmt. [B320]
 04/16/2021   LSC     PD        Preparation of appendix regarding response to          2.70         460.00      $1,242.00
                                motions to stay.

 05/02/2021   IDK     PD        E-mail J Pomerantz re exit financing and related       0.20       1325.00        $265.00
                                concerns on effective date and consider, as well as
                                impact on other litigation.

 05/02/2021   JNP     PD        Review effective date analysis and prepare             0.30       1295.00        $388.50
                                comments.

 05/03/2021   JNP     PD        Conference with Gregory V. Demo regarding              0.20       1295.00        $259.00
                                effective date analysis.

 05/03/2021   JNP     PD        Conference with M. Salazar regarding treasury          0.20       1295.00        $259.00
                                functions post-effective date.

 05/03/2021   JNP     PD        Conference with DSI and Gregory V. Demo                0.80       1295.00       $1,036.00
                                regarding Plan projections.

 05/03/2021   GVD     PD        Review presentation re effective date issues           0.20         950.00       $190.00

 05/03/2021   GVD     PD        Conference with J. Donohue re effective date           0.50         950.00       $475.00
                                presentation

 05/03/2021   GVD     PD        Conference with J. Pomerantz re effective date         0.30         950.00       $285.00
                                presentation

 05/03/2021   GVD     PD        Conference with PSZJ and DSI re effective date         0.80         950.00       $760.00
                                presentation
Pachulski Stang Ziehl & Jones LLP                                                             Page:    96
Highland Capital Management LP                                                                Invoice 127958
36027 - 00002                                                                                 May 31, 2021


                                                                                      Hours           Rate     Amount

 05/04/2021   LAF     PD        Legal research re: CRO orders with exculpation         0.50        475.00       $237.50
                                clauses.

 05/04/2021   GVD     PD        Review issues re Fifth Circuit appeal                  0.20        950.00       $190.00

 05/04/2021   GVD     PD        Conference with A. Argawal re transferability of       0.20        950.00       $190.00
                                claimant trust interests

 05/04/2021   GVD     PD        Conference with Latham re transferability of trust     0.60        950.00       $570.00
                                interests and follow up with T. Silva re same

 05/05/2021   IDK     PD        Review of correspondence with court clerk,             0.10      1325.00        $132.50
                                attorneys re adjournment of exit financing hearing
                                and next steps.

 05/05/2021   JNP     PD        Conference with Brad Sharp regarding effective date    0.30      1295.00        $388.50
                                issues and insurance (2x).

 05/05/2021   JNP     PD        Conference with J. Seery regarding exit financing      0.20      1295.00        $259.00
                                and related.

 05/05/2021   JNP     PD        Emails regarding timing of hearing on financing        0.10      1295.00        $129.50
                                motion.

 05/05/2021   GVD     PD        Correspondence with J. Pomerantz re status of          0.10        950.00        $95.00
                                discussions re transferability of trust interests

 05/06/2021   JNP     PD        Conference with M. Clemente regarding Plan             0.40      1295.00        $518.00
                                effective date and related issues.

 05/06/2021   JNP     PD        Conference with J. Seery regarding call with M.        0.20      1295.00        $259.00
                                Clemente regarding effective date.

 05/06/2021   JMF     PD        Review exit financing issues re continued hearing      0.30      1050.00        $315.00
                                date.

 05/07/2021   IDK     PD        E-mails with potential financing source, as well as    0.20      1325.00        $265.00
                                review of J Pomerantz correspondence with others
                                for same.

 05/07/2021   JNP     PD        Emails regarding fee projection.                       0.10      1295.00        $129.50

 05/07/2021   JNP     PD        Conference with J. Seery, Gregory V. Demo, and         1.20      1295.00       $1,554.00
                                representatives of creditors regarding Plan and
                                related effective date issues.

 05/07/2021   JNP     PD        Conference with J. Dubel after call with creditors     0.20      1295.00        $259.00
                                and J. Seery regarding status of Plan.

 05/07/2021   JNP     PD        Conference with creditor regarding status of Plan      0.30      1295.00        $388.50
                                issues and effective date.

 05/07/2021   JNP     PD        Conference with M. Clemente regarding Plan             0.50      1295.00        $647.50
Pachulski Stang Ziehl & Jones LLP                                                             Page:    97
Highland Capital Management LP                                                                Invoice 127958
36027 - 00002                                                                                 May 31, 2021


                                                                                      Hours           Rate     Amount
                                effective date issues (2x).
 05/07/2021   GVD     PD        Attend conference with creditors re status of plan     1.00        950.00       $950.00
                                effectiveness

 05/07/2021   GVD     PD        Conference with Latham and WilmerHale re               0.60        950.00       $570.00
                                transferability of trust interests

 05/10/2021   JNP     PD        Conference with J. Seery, Gregory V. Demo, M.          1.00      1295.00       $1,295.00
                                Clemente and creditors regarding Plan issues.

 05/10/2021   GVD     PD        Conference with unsecured creditors re plan            0.50        950.00       $475.00
                                effective date

 05/11/2021   JNP     PD        Conference with B. Sharp regarding effective date      0.30      1295.00        $388.50
                                and other issues.

 05/11/2021   GVD     PD        Correspondence with J. Romey re Frontier note          0.20        950.00       $190.00

 05/12/2021   JNP     PD        Conference with J. Seery regarding effective date      0.40      1295.00        $518.00
                                issues, plan issues and related.

 05/12/2021   JNP     PD        Emails regarding administrative stay with Board and    0.20      1295.00        $259.00
                                respond to D. Rukavina.

 05/14/2021   JNP     PD        Conference with M. Clemente regarding Plan issues      0.20      1295.00        $259.00
                                and related matters.

 05/17/2021   JNP     PD        Conference with M. Clemente regarding stay             0.20      1295.00        $259.00
                                pending appeal and related issues.

 05/17/2021   RJF     PD        Telephone conference with Jeffrey N. Pomerantz         0.30      1395.00        $418.50
                                and emails regarding stay motion in Fifth Circuit.

 05/18/2021   JNP     PD        Conference with John A. Morris and J. Seery            0.40      1295.00        $518.00
                                regarding exit financing motion, Plan confirmation
                                and stay pending appeal.

 05/18/2021   JNP     PD        Conference with Gregory V. Demo regarding Plan         0.10      1295.00        $129.50
                                effective date and related.

 05/18/2021   JNP     PD        Conference with M. Clemente regarding status of        0.40      1295.00        $518.00
                                financing, plan issues and stay pending appeal.

 05/18/2021   JNP     PD        Conference with J. Seery regarding exit financing.     0.20      1295.00        $259.00

 05/18/2021   JNP     PD        Conference with Davor Rukavina regarding stay          0.10      1295.00        $129.50
                                pending appeal.

 05/18/2021   JNP     PD        Email to D. Rukavina regarding further stay pending    0.10      1295.00        $129.50
                                appeal motion.

 05/18/2021   JAM     PD        Telephone conference with J. Pomerantz, I.             0.40      1245.00        $498.00
                                Kharasch, G Demo re: stay pending appeal (0.3);
Pachulski Stang Ziehl & Jones LLP                                                                Page:    98
Highland Capital Management LP                                                                   Invoice 127958
36027 - 00002                                                                                    May 31, 2021


                                                                                         Hours           Rate     Amount
                                telephone conference with J. Pomerantz, D.
                                Rukavina re: stay pending appeal (0.1).
 05/19/2021   JNP     PD        Email to J. Seery regarding Plan financing.               0.10      1295.00        $129.50

 05/19/2021   JNP     PD        Review Advisors 5th Circuit stay pending appeal           0.20      1295.00        $259.00
                                brief.

 05/19/2021   GVD     PD        Correspondence with E. Bromagen re meeting on             0.20        950.00       $190.00
                                claimant trust issues

 05/20/2021   GVD     PD        Review Advisors Fifth Circuit stay brief                  0.20        950.00       $190.00

 05/20/2021   JE      PD        Correspondence with Mr. Pomerantz and Mr.                 0.20      1195.00        $239.00
                                Annable regarding response to stay motion filed by
                                Dondero in 5th Circuit (.2).

 05/26/2021   GVD     PD        Conference with Directors and Sidley re insurance         1.20        950.00      $1,140.00
                                issues

 05/28/2021   JNP     PD        Review opposition to motion for stay pending appeal       0.30      1295.00        $388.50
                                and emails regarding same.

 05/28/2021   JNP     PD        Detailed review of motion for stay pending appeal         0.50      1295.00        $647.50
                                and email regarding same.

 05/28/2021   GVD     PD        Conference with J. Elkin re stay pending appeal           0.20        950.00       $190.00
                                response

 05/28/2021   GVD     PD        Update litigation chart re motion for stay pending        0.40        950.00       $380.00
                                appeal

 05/29/2021   JNP     PD        Conference with D. Geyser regarding stay pending          0.50      1295.00        $647.50
                                appeal brief.

 05/29/2021   JNP     PD        Emails to and from J. Elkin regarding stay pending        0.10      1295.00        $129.50
                                appeal brief.

 05/29/2021   GVD     PD        Update summary litigation chart for response to stay      0.20        950.00       $190.00
                                pending appeal in Fifth Circuti

 05/30/2021   JNP     PD        Email regarding comments on Fifth Circuit stay            0.20      1295.00        $259.00
                                pending appeal brief.

 05/30/2021   JNP     PD        Review and revise latest version of Fifth Circuit stay    0.50      1295.00        $647.50
                                pending appeal brief.

 05/31/2021   JNP     PD        Final review of opposition to stay pending appeal         0.30      1295.00        $388.50
                                brief and emails regarding same.

 05/31/2021   LSC     PD        Continued preparation of appendix in support of           2.10        460.00       $966.00
                                opposition to motion to stay and correspondence
                                regarding the same.
Pachulski Stang Ziehl & Jones LLP                                                           Page:    99
Highland Capital Management LP                                                              Invoice 127958
36027 - 00002                                                                               May 31, 2021


                                                                                   Hours            Rate      Amount

 05/31/2021   GVD     PD        Correspondence with J. Elkin re exhibit for stay    0.20         950.00        $190.00
                                motion

 05/31/2021   GVD     PD        Review motion for stay pending appeal               0.20         950.00        $190.00

                                                                                    26.30                    $26,812.00

  Ret. of Prof./Other
 05/03/2021   GVD     RPO       Review Morgan Lewis agreement                       0.10         950.00         $95.00

 05/04/2021   KKY     RPO       Prepare for filing and service OCP report (March    0.20         460.00         $92.00
                                2021)

 05/07/2021   GVD     RPO       Conference with WilmerHale re updated retention     0.10         950.00         $95.00
                                agreement

 05/11/2021   JNP     RPO       Conference with Gregory V. Demo regarding           0.10       1295.00         $129.50
                                Hunton revised retention.

 05/11/2021   JMF     RPO       Review supplemental declaration and edits re        0.30       1050.00         $315.00
                                Hunton retention.

 05/11/2021   GVD     RPO       Review Hunton declaration                           0.20         950.00        $190.00

 05/11/2021   GVD     RPO       Conference with J. Pomerantz re issues re Hunton    0.20         950.00        $190.00
                                retention and next steps

 05/12/2021   JNP     RPO       Review Teneo retention application.                 0.10       1295.00         $129.50

 05/17/2021   KKY     RPO       Review and revise OCP notice (March 2021)           0.10         460.00         $46.00

 05/18/2021   JNP     RPO       Emails regarding continued retention of Mercer.     0.10       1295.00         $129.50

 05/19/2021   JNP     RPO       Conference with J. Dubel regarding professional     0.20       1295.00         $259.00
                                retention related issues (2x).

 05/19/2021   JNP     RPO       Email regarding professional retention issue;       0.20       1295.00         $259.00
                                Conference with Joshua M. Fried regarding same.

 05/19/2021   GVD     RPO       Conference with J. Rovira (Hunton) re updated       0.20         950.00        $190.00
                                disclosures

 05/21/2021   GVD     RPO       Update and file OCP declarations                    0.30         950.00        $285.00

 05/26/2021   JMF     RPO       Review Cayman and Tierny OCP declarations (.2)      0.40       1050.00         $420.00
                                and OCP order re procedures re same (.2).

 05/27/2021   GVD     RPO       Review Walkers (Bermuda) OCP declaration            0.20         950.00        $190.00

                                                                                     3.00                     $3,014.50

  TOTAL SERVICES FOR THIS MATTER:                                                                      $1,603,754.00
Pachulski Stang Ziehl & Jones LLP                                             Page: 100
Highland Capital Management LP                                                Invoice 127958
36027 - 00002                                                                 May 31, 2021



 Expenses
 04/20/2020   CC        Conference Call [E105] Loop Up Conference Call, GVD      10.71
 01/31/2021   OS        Everlaw, Inv. 35074, Highland Capital Management LP     594.00
                        database for the month of January
 02/01/2021   FF        Filing Fee [E112] File & ServerXpress, Inv.              10.00
                        202102066501201, KKY
 02/01/2021   FF        Filing Fee [E112] File & ServerXpress, Inv.              10.00
                        202102066501201, KKY
 03/31/2021   OS        Everlaw, Inv. 38569, Highland Capital Management LP   3,454.00
                        databse for month of March
 04/01/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       4.90
 04/01/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       7.46
 04/01/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       7.22
 04/01/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       6.44
 04/02/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       0.14
 04/05/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       9.95
 04/05/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       0.07
 04/05/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      19.63
 04/05/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      10.92
 04/06/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       0.07
 04/06/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      77.45
 04/06/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       0.07
 04/06/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      27.40
 04/06/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      33.78
 04/08/2021   AT        Auto Travel Expense [E109] NYC Taxi, GVD                 29.75
 04/08/2021   BM        Business Meal [E111] Seamless, Chodanggol, Working       26.62
                        Meal, GVD
 04/08/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      17.29
 04/08/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       8.39
 04/09/2021   CC        Conference Call [E105] AT&T Conference Call, JAM          3.19
 04/12/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       7.91
 04/12/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      13.09
 04/12/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       0.70
 04/12/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      13.02
 04/12/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       6.93
 04/12/2021   CC        Conference Call [E105] AT&T Conference Call, JAM          1.46
Pachulski Stang Ziehl & Jones LLP                                             Page: 101
Highland Capital Management LP                                                Invoice 127958
36027 - 00002                                                                 May 31, 2021

 04/12/2021   CC        Conference Call [E105] AT&T Conference Call, GVD          7.11
 04/13/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       4.75
 04/13/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      22.51
 04/13/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       6.75
 04/14/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       4.06
 04/14/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       3.71
 04/14/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      26.94
 04/14/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      17.84
 04/14/2021   CC        Conference Call [E105] Loop Up Conference Call, JNP       5.46
 04/14/2021   CC        Conference Call [E105] AT&T Conference Call, JMF          4.38
 04/15/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      23.87
 04/15/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      18.76
 04/16/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD     118.77
 04/16/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      18.13
 04/16/2021   CC        Conference Call [E105] AT&T Conference Call, JAM          1.58
 04/19/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      26.32
 04/19/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      10.03
 04/19/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      27.28
 04/19/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       3.08
 04/20/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      13.83
 04/20/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      15.33
 04/21/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       8.19
 04/21/2021   CC        Conference Call [E105] Loop Up Conference Call, IDK       8.25
 04/21/2021   CC        Conference Call [E105] AT&T Conference Call, JMF         10.44
 04/21/2021   CC        Conference Call [E105] AT&T Conference Call, JMF          3.89
 04/22/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      25.48
 04/22/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      11.51
 04/22/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       3.50
 04/22/2021   CC        Conference Call [E105] AT&T Conference Call, JAM          2.98
 04/22/2021   CC        Conference Call [E105] AT&T Conference Call, GVD          4.41
 04/23/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      15.19
 04/23/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD       0.07
 04/26/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      10.36
 04/26/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD      57.73
Pachulski Stang Ziehl & Jones LLP                                                Page: 102
Highland Capital Management LP                                                   Invoice 127958
36027 - 00002                                                                    May 31, 2021


 04/26/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD         10.45
 04/26/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD         24.26
 04/26/2021   CC        Conference Call [E105] AT&T Conference Call, JAM             6.36
 04/26/2021   CC        Conference Call [E105] AT&T Conference Call, GVD             7.39
 04/26/2021   CC        Conference Call [E105] AT&T Conference Call, GVD             2.23
 04/27/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD         29.91
 04/27/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD          9.94
 04/27/2021   CC        Conference Call [E105] AT&T Conference Call, JAM             3.30
 04/27/2021   CC        Conference Call [E105] AT&T Conference Call, JAM             4.06
 04/27/2021   TR        Transcript [E116] Planet Depos, Inv. 405514, RJF           428.50
 04/28/2021   FE        36027.00002 FedEx Charges for 04-28-21                      23.69
 04/29/2021   AT        Auto Travel Expense [E109] NYC Taxi, GVD                    31.00
 04/29/2021   BM        Business Meal [E111] Seamless, BCD Tofu House, Working      28.79
                        Meal, GVD
 04/29/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD          3.84
 04/29/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD          3.71
 04/30/2021   CC        Conference Call [E105] Loop Up Conference Call, GVD         14.90
 04/30/2021   OS        Everlaw, Inv. 39718, Highland Capital Management LP      3,630.00
                        databse for the month of April
 04/30/2021   TR        Transcript [E116] Planet Depos, Inv. 406249, RJF           295.50
 05/01/2021   LN        36027.00002 Lexis Charges for 05-01-21                      13.34
 05/03/2021   FE        36027.00002 FedEx Charges for 05-03-21                      26.66
 05/03/2021   FE        36027.00002 FedEx Charges for 05-03-21                      20.43
 05/03/2021   FE        36027.00002 FedEx Charges for 05-03-21                      17.51
 05/03/2021   FE        36027.00002 FedEx Charges for 05-03-21                      20.07
 05/03/2021   LN        36027.00002 Lexis Charges for 05-03-21                       6.58
 05/03/2021   LN        36027.00002 Lexis Charges for 05-03-21                      10.48
 05/03/2021   LN        36027.00002 Lexis Charges for 05-03-21                      42.15
 05/03/2021   RE        ( 175 @0.10 PER PG)                                         17.50
 05/03/2021   RE        ( 1 @0.10 PER PG)                                            0.10
 05/03/2021   RE        ( 5 @0.10 PER PG)                                            0.50
 05/03/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 05/03/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                 1.90
 05/03/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
 05/03/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                  0.20
Pachulski Stang Ziehl & Jones LLP                                                   Page: 103
Highland Capital Management LP                                                      Invoice 127958
36027 - 00002                                                                       May 31, 2021


 05/03/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40
 05/03/2021   RE2       SCAN/COPY ( 56 @0.10 PER PG)                                    5.60
 05/03/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 05/03/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
 05/03/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 05/03/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40
 05/03/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40
 05/03/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
 05/03/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60
 05/03/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10
 05/03/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10
 05/03/2021   RE2       SCAN/COPY ( 70 @0.10 PER PG)                                    7.00
 05/03/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00
 05/03/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00
 05/03/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40
 05/03/2021   RE2       SCAN/COPY ( 48 @0.10 PER PG)                                    4.80
 05/04/2021   AT        Auto Travel Expense [E109] Elite Transportation Services,     120.22
                        Inv. 1826560, from PSZJ NY to Residence, JAM
 05/04/2021   BM        Business Meal [E111] New Moon Restaurant, working meal,        19.14
                        Winns
 05/04/2021   LN        36027.00002 Lexis Charges for 05-04-21                         42.15
 05/04/2021   RE        ( 1 @0.10 PER PG)                                               0.10
 05/04/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60
 05/04/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10
 05/04/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60
 05/04/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                    2.20
 05/04/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
 05/04/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60
 05/04/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90
 05/04/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
 05/04/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 05/04/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                    1.70
 05/04/2021   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                    3.90
 05/04/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00
 05/04/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80
Pachulski Stang Ziehl & Jones LLP                                               Page: 104
Highland Capital Management LP                                                  Invoice 127958
36027 - 00002                                                                   May 31, 2021


 05/04/2021   RE2       SCAN/COPY ( 56 @0.10 PER PG)                                5.60
 05/04/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 05/04/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                1.60
 05/04/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                1.00
 05/04/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                1.60
 05/05/2021   BM        Business Meal [E111] Smith & Wollensky, working meal,      31.13
                        GVD
 05/05/2021   LN        36027.00002 Lexis Charges for 05-05-21                     13.26
 05/05/2021   LN        36027.00002 Lexis Charges for 05-05-21                     19.54
 05/05/2021   LN        36027.00002 Lexis Charges for 05-05-21                     42.15
 05/05/2021   RE        ( 1160 @0.10 PER PG)                                      116.00
 05/05/2021   RE        ( 8 @0.10 PER PG)                                           0.80
 05/05/2021   RE        ( 1040 @0.10 PER PG)                                      104.00
 05/05/2021   RE        ( 2 @0.10 PER PG)                                           0.20
 05/05/2021   RE        ( 1166 @0.10 PER PG)                                      116.60
 05/05/2021   RE        ( 1 @0.10 PER PG)                                           0.10
 05/05/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                2.60
 05/05/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                3.20
 05/05/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                1.20
 05/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                1.80
 05/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                1.80
 05/05/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 05/05/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                 0.40
 05/05/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                2.80
 05/05/2021   RE2       SCAN/COPY ( 227 @0.10 PER PG)                              22.70
 05/05/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                1.70
 05/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                1.80
 05/05/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                 0.90
 05/05/2021   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                3.00
 05/05/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                2.40
 05/05/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                3.20
 05/05/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                3.20
 05/05/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                 0.40
 05/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                1.80
Pachulski Stang Ziehl & Jones LLP                       Page: 105
Highland Capital Management LP                          Invoice 127958
36027 - 00002                                           May 31, 2021

 05/05/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 05/05/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)        1.70
 05/05/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)         0.10
 05/05/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 05/05/2021   RE2       SCAN/COPY ( 259 @0.10 PER PG)      25.90
 05/05/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 05/05/2021   RE2       SCAN/COPY ( 283 @0.10 PER PG)      28.30
 05/05/2021   RE2       SCAN/COPY ( 40 @0.10 PER PG)        4.00
 05/05/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)        3.20
 05/05/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)        2.40
 05/05/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)        2.60
 05/05/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)        1.00
 05/05/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)         0.40
 05/05/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)        2.40
 05/05/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)        1.40
 05/05/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)        3.60
 05/05/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)        2.00
 05/05/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)        1.60
 05/05/2021   RE2       SCAN/COPY ( 34 @0.10 PER PG)        3.40
 05/05/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 05/05/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 05/05/2021   RE2       SCAN/COPY ( 251 @0.10 PER PG)      25.10
 05/05/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 05/05/2021   RE2       SCAN/COPY ( 76 @0.10 PER PG)        7.60
 05/05/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)        3.20
 05/05/2021   RE2       SCAN/COPY ( 102 @0.10 PER PG)      10.20
 05/05/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)        2.60
 05/05/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)        1.60
 05/05/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)        2.00
 05/05/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)        2.00
 05/05/2021   RE2       SCAN/COPY ( 44 @0.10 PER PG)        4.40
 05/05/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)        1.60
 05/05/2021   RE2       SCAN/COPY ( 52 @0.10 PER PG)        5.20
 05/05/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)        2.20
Pachulski Stang Ziehl & Jones LLP                      Page: 106
Highland Capital Management LP                         Invoice 127958
36027 - 00002                                          May 31, 2021


 05/05/2021   RE2       SCAN/COPY ( 94 @0.10 PER PG)       9.40
 05/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)       1.80
 05/05/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)       3.60
 05/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)       1.80
 05/05/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)       2.00
 05/05/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)       1.40
 05/05/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)       2.00
 05/05/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)       2.80
 05/05/2021   RE2       SCAN/COPY ( 34 @0.10 PER PG)       3.40
 05/05/2021   RE2       SCAN/COPY ( 82 @0.10 PER PG)       8.20
 05/05/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)       3.60
 05/05/2021   RE2       SCAN/COPY ( 94 @0.10 PER PG)       9.40
 05/05/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)       1.20
 05/05/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)        0.10
 05/05/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)        0.10
 05/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)       1.80
 05/05/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)       2.10
 05/05/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)        0.10
 05/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)       1.80
 05/05/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)        0.30
 05/05/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)       2.10
 05/05/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)       2.90
 05/05/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)        0.90
 05/05/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)        0.20
 05/05/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)       2.30
 05/05/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)       2.30
 05/05/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)       1.10
 05/05/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)       2.70
 05/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)       1.80
 05/05/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)       1.80
 05/05/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)       1.00
 05/05/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)       2.10
 05/05/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)       1.50
Pachulski Stang Ziehl & Jones LLP                                                   Page: 107
Highland Capital Management LP                                                      Invoice 127958
36027 - 00002                                                                       May 31, 2021

 05/05/2021   TR        Transcript [E116] Planet Depos, Inv. 406017, RJF              915.70
 05/06/2021   LN        36027.00002 Lexis Charges for 05-06-21                          6.53
 05/06/2021   LN        36027.00002 Lexis Charges for 05-06-21                         18.41
 05/06/2021   LN        36027.00002 Lexis Charges for 05-06-21                         42.15
 05/06/2021   RE        ( 6 @0.10 PER PG)                                               0.60
 05/06/2021   RE        ( 95 @0.10 PER PG)                                              9.50
 05/06/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                    1.70
 05/06/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30
 05/06/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60
 05/06/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                    1.70
 05/06/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90
 05/06/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60
 05/06/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00
 05/06/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90
 05/06/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                    2.70
 05/06/2021   TR        Transcript [E116] Planet Depos, Inv. 408060, RJF              831.00
 05/07/2021   AS        Attorney Service [E107] Nationwide Legal, Inv. 30470, JNP      52.00
 05/07/2021   LN        36027.00002 Lexis Charges for 05-07-21                        195.32
 05/07/2021   LN        36027.00002 Lexis Charges for 05-07-21                         42.15
 05/07/2021   RE        ( 92 @0.10 PER PG)                                              9.20
 05/07/2021   RE        ( 30 @0.10 PER PG)                                              3.00
 05/07/2021   RE        ( 2 @0.10 PER PG)                                               0.20
 05/07/2021   RE        ( 1 @0.10 PER PG)                                               0.10
 05/07/2021   RE        ( 151 @0.10 PER PG)                                            15.10
 05/07/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                    2.90
 05/07/2021   RE2       SCAN/COPY ( 58 @0.10 PER PG)                                    5.80
 05/07/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60
 05/07/2021   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                    7.20
 05/07/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80
 05/07/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80
 05/07/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 05/07/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00
 05/07/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 05/07/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                    3.20
Pachulski Stang Ziehl & Jones LLP                      Page: 108
Highland Capital Management LP                         Invoice 127958
36027 - 00002                                          May 31, 2021


 05/07/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)       2.40
 05/07/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)       1.80
 05/07/2021   RE2       SCAN/COPY ( 40 @0.10 PER PG)       4.00
 05/07/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)       1.80
 05/07/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)        0.80
 05/07/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)       1.60
 05/07/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)        0.80
 05/07/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)        0.20
 05/07/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)       1.70
 05/07/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)       1.00
 05/07/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)        0.80
 05/07/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)        0.60
 05/07/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)       1.40
 05/07/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)       1.20
 05/07/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)        0.80
 05/07/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)       1.00
 05/07/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)        0.80
 05/07/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)       1.20
 05/07/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)       1.60
 05/07/2021   RE2       SCAN/COPY ( 40 @0.10 PER PG)       4.00
 05/07/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)        0.50
 05/07/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)       1.50
 05/07/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)       1.50
 05/07/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)        0.70
 05/07/2021   RE2       SCAN/COPY ( 33 @0.10 PER PG)       3.30
 05/07/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)        0.90
 05/07/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)       2.20
 05/07/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)        0.60
 05/07/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)       2.00
 05/07/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)       1.20
 05/07/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)        0.80
 05/07/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)       1.20
 05/07/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)       1.40
Pachulski Stang Ziehl & Jones LLP                                Page: 109
Highland Capital Management LP                                   Invoice 127958
36027 - 00002                                                    May 31, 2021

 05/07/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                 3.20
 05/07/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                 1.80
 05/07/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                 2.00
 05/07/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                 2.00
 05/07/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                 1.20
 05/07/2021   RE2       SCAN/COPY ( 84 @0.10 PER PG)                 8.40
 05/07/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                 1.00
 05/07/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                 1.60
 05/07/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                 2.40
 05/07/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/07/2021   RE2       SCAN/COPY ( 38 @0.10 PER PG)                 3.80
 05/07/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                  0.40
 05/07/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                  0.20
 05/07/2021   RE2       SCAN/COPY ( 58 @0.10 PER PG)                 5.80
 05/07/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)                 2.30
 05/07/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                 1.90
 05/07/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                  0.20
 05/07/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                 1.90
 05/07/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                 1.80
 05/10/2021   LN        36027.00002 Lexis Charges for 05-10-21      34.02
 05/10/2021   LN        36027.00002 Lexis Charges for 05-10-21       6.53
 05/10/2021   LN        36027.00002 Lexis Charges for 05-10-21      42.15
 05/10/2021   RE        ( 13 @0.10 PER PG)                           1.30
 05/10/2021   RE        ( 120 @0.10 PER PG)                         12.00
 05/10/2021   RE        ( 45 @0.10 PER PG)                           4.50
 05/10/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                  0.50
 05/10/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/10/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/10/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                  0.20
 05/10/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                 1.40
 05/10/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/10/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                  0.60
 05/10/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)                 2.90
 05/10/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                 1.60
Pachulski Stang Ziehl & Jones LLP                                Page: 110
Highland Capital Management LP                                   Invoice 127958
36027 - 00002                                                    May 31, 2021


 05/10/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/10/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/10/2021   RE2       SCAN/COPY ( 30 @0.10 PER PG)                 3.00
 05/10/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/10/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)                 2.10
 05/10/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                  0.40
 05/10/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                 1.40
 05/10/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                  0.20
 05/10/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                 1.70
 05/10/2021   RE2       SCAN/COPY ( 48 @0.10 PER PG)                 4.80
 05/10/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                 1.70
 05/10/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/10/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/10/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                  0.20
 05/10/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                  0.40
 05/10/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/10/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/10/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                 1.20
 05/10/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)                 2.10
 05/10/2021   RE2       SCAN/COPY ( 44 @0.10 PER PG)                 4.40
 05/10/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                 1.90
 05/10/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                 1.40
 05/10/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                 1.40
 05/10/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                 1.40
 05/10/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                 2.00
 05/10/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                 2.00
 05/10/2021   TR        Transcript [E116] Planet Depos, RJF      1,550.50
 05/11/2021   LN        36027.00002 Lexis Charges for 05-11-21      42.15
 05/11/2021   RE        ( 18 @0.10 PER PG)                           1.80
 05/11/2021   RE        ( 5 @0.10 PER PG)                            0.50
 05/11/2021   RE2       SCAN/COPY ( 175 @0.10 PER PG)               17.50
 05/11/2021   RE2       SCAN/COPY ( 43 @0.10 PER PG)                 4.30
 05/11/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
Pachulski Stang Ziehl & Jones LLP                                Page: 111
Highland Capital Management LP                                   Invoice 127958
36027 - 00002                                                    May 31, 2021

 05/11/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                 1.60
 05/11/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                 1.40
 05/11/2021   RE2       SCAN/COPY ( 79 @0.10 PER PG)                 7.90
 05/11/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                 1.40
 05/11/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/11/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                  0.20
 05/11/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/11/2021   RE2       SCAN/COPY ( 82 @0.10 PER PG)                 8.20
 05/11/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                  0.40
 05/11/2021   RE2       SCAN/COPY ( 135 @0.10 PER PG)               13.50
 05/11/2021   RE2       SCAN/COPY ( 72 @0.10 PER PG)                 7.20
 05/11/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                 1.70
 05/11/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                  0.40
 05/11/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                 1.60
 05/11/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                 1.40
 05/11/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/11/2021   RE2       SCAN/COPY ( 71 @0.10 PER PG)                 7.10
 05/11/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                  0.60
 05/11/2021   RE2       SCAN/COPY ( 63 @0.10 PER PG)                 6.30
 05/11/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                 1.30
 05/11/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/11/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                  0.20
 05/11/2021   RE2       SCAN/COPY ( 56 @0.10 PER PG)                 5.60
 05/11/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                 1.50
 05/11/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/11/2021   RE2       SCAN/COPY ( 97 @0.10 PER PG)                 9.70
 05/11/2021   RE2       SCAN/COPY ( 86 @0.10 PER PG)                 8.60
 05/11/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/11/2021   RE2       SCAN/COPY ( 241 @0.10 PER PG)               24.10
 05/11/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                  0.50
 05/11/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                  0.50
 05/11/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                  0.10
 05/12/2021   LN        36027.00002 Lexis Charges for 05-12-21      42.15
 05/12/2021   RE        ( 2 @0.10 PER PG)                            0.20
Pachulski Stang Ziehl & Jones LLP                                Page: 112
Highland Capital Management LP                                   Invoice 127958
36027 - 00002                                                    May 31, 2021


 05/12/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/12/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/12/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)                 2.90
 05/12/2021   RE2       SCAN/COPY ( 37 @0.10 PER PG)                 3.70
 05/12/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                 1.30
 05/12/2021   RE2       SCAN/COPY ( 30 @0.10 PER PG)                 3.00
 05/12/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                 1.60
 05/12/2021   RE2       SCAN/COPY ( 50 @0.10 PER PG)                 5.00
 05/12/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                 1.20
 05/12/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                 1.60
 05/12/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                 1.30
 05/12/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/12/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                 1.20
 05/12/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                 1.10
 05/12/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                  0.50
 05/12/2021   TR        Transcript [E116] Planet Depos, RJF        453.00
 05/12/2021   TR        Transcript [E116] Planet Depos, RJF        487.50
 05/13/2021   LN        36027.00002 Lexis Charges for 05-13-21      42.28
 05/13/2021   RE        ( 1 @0.10 PER PG)                            0.10
 05/13/2021   RE2       SCAN/COPY ( 163 @0.10 PER PG)               16.30
 05/13/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                 2.70
 05/13/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                  0.20
 05/14/2021   LN        36027.00002 Lexis Charges for 05-14-21      42.30
 05/14/2021   RE        ( 1 @0.10 PER PG)                            0.10
 05/14/2021   RE        ( 42 @0.10 PER PG)                           4.20
 05/14/2021   RE        ( 30 @0.10 PER PG)                           3.00
 05/14/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)                 2.50
 05/14/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                 1.40
 05/14/2021   RE2       SCAN/COPY ( 26 @0.10 PER PG)                 2.60
 05/14/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/14/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                  0.70
 05/14/2021   RE2       SCAN/COPY ( 101 @0.10 PER PG)               10.10
 05/14/2021   RE2       SCAN/COPY ( 156 @0.10 PER PG)               15.60
Pachulski Stang Ziehl & Jones LLP                                            Page: 113
Highland Capital Management LP                                               Invoice 127958
36027 - 00002                                                                May 31, 2021

 05/14/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 05/14/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70
 05/14/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10
 05/14/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 05/14/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10
 05/14/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 05/14/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70
 05/14/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                             2.00
 05/14/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70
 05/14/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20
 05/14/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                             1.70
 05/14/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 05/14/2021   TR        Transcript [E116] TSG Reporting, Inv. 2048688, RJF   1,158.90
 05/17/2021   LN        36027.00002 Lexis Charges for 05-17-21                   6.81
 05/17/2021   LN        36027.00002 Lexis Charges for 05-17-21                  42.30
 05/17/2021   LN        36027.00002 Lexis Charges for 05-17-21                 203.45
 05/17/2021   RE        ( 16 @0.10 PER PG)                                       1.60
 05/17/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 05/17/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 05/17/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 05/17/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 05/17/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10
 05/17/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)                             2.90
 05/17/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                             1.30
 05/17/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 05/17/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10
 05/17/2021   RE2       SCAN/COPY ( 81 @0.10 PER PG)                             8.10
 05/17/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                             1.30
 05/17/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 05/17/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 05/17/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 05/17/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40
 05/17/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 05/17/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70
Pachulski Stang Ziehl & Jones LLP                                              Page: 114
Highland Capital Management LP                                                 Invoice 127958
36027 - 00002                                                                  May 31, 2021


 05/17/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 05/17/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 05/17/2021   RE2       SCAN/COPY ( 40 @0.10 PER PG)                               4.00
 05/17/2021   RE2       SCAN/COPY ( 329 @0.10 PER PG)                             32.90
 05/17/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                               2.20
 05/17/2021   RE2       SCAN/COPY ( 146 @0.10 PER PG)                             14.60
 05/17/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 05/18/2021   BM        Business Meal [E111] Potbelly Sandwich Shop, working      25.58
                        meal, S. Winns
 05/18/2021   LN        36027.00002 Lexis Charges for 05-18-21                    74.84
 05/18/2021   LN        36027.00002 Lexis Charges for 05-18-21                     7.29
 05/18/2021   LN        36027.00002 Lexis Charges for 05-18-21                    26.14
 05/18/2021   LN        36027.00002 Lexis Charges for 05-18-21                     7.28
 05/18/2021   LN        36027.00002 Lexis Charges for 05-18-21                    42.30
 05/18/2021   RE        ( 32 @0.10 PER PG)                                         3.20
 05/18/2021   RE        ( 1 @0.10 PER PG)                                          0.10
 05/18/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                               2.40
 05/18/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 05/18/2021   RE2       SCAN/COPY ( 58 @0.10 PER PG)                               5.80
 05/18/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 05/18/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                               2.70
 05/18/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 05/18/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30
 05/18/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40
 05/18/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)                               2.10
 05/18/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                               1.80
 05/18/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10
 05/18/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                               2.70
 05/18/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70
 05/18/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70
 05/18/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50
 05/18/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)                               1.80
 05/18/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70
 05/18/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00
Pachulski Stang Ziehl & Jones LLP                      Page: 115
Highland Capital Management LP                         Invoice 127958
36027 - 00002                                          May 31, 2021

 05/18/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)       2.50
 05/18/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)       2.50
 05/18/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)       1.30
 05/18/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)       2.50
 05/18/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)       1.80
 05/18/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)       1.70
 05/18/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)       1.50
 05/18/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)        0.70
 05/18/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)        0.40
 05/18/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)        0.30
 05/18/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)       1.30
 05/18/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)       1.30
 05/18/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)        0.60
 05/18/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)        0.50
 05/18/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)       1.40
 05/18/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)       1.70
 05/18/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)       2.90
 05/18/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)        0.90
 05/18/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)        0.80
 05/18/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)        0.40
 05/18/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)        0.50
 05/18/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)        0.80
 05/18/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)        0.90
 05/18/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)        0.90
 05/18/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)        0.60
 05/18/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)       1.40
 05/18/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)       1.30
 05/18/2021   RE2       SCAN/COPY ( 45 @0.10 PER PG)       4.50
 05/18/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)        0.60
 05/18/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)       1.30
 05/18/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)       1.10
 05/18/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)        0.30
 05/18/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)        0.20
 05/18/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)        0.50
Pachulski Stang Ziehl & Jones LLP                                Page: 116
Highland Capital Management LP                                   Invoice 127958
36027 - 00002                                                    May 31, 2021


 05/18/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                  0.70
 05/18/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/18/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                 1.20
 05/18/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                  0.50
 05/18/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                  0.90
 05/18/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                  0.90
 05/18/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)                 1.10
 05/18/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                  0.60
 05/18/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                  0.50
 05/18/2021   RE2       SCAN/COPY ( 37 @0.10 PER PG)                 3.70
 05/18/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                 1.00
 05/18/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                 1.50
 05/18/2021   RE2       SCAN/COPY ( 41 @0.10 PER PG)                 4.10
 05/18/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                  0.40
 05/18/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                 1.00
 05/18/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                 1.20
 05/18/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                  0.10
 05/18/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)                 1.60
 05/18/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/18/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                  0.90
 05/18/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                  0.90
 05/18/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                  0.90
 05/18/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/18/2021   RE2       SCAN/COPY ( 41 @0.10 PER PG)                 4.10
 05/18/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                 1.40
 05/19/2021   LN        36027.00002 Lexis Charges for 05-19-21      20.42
 05/19/2021   LN        36027.00002 Lexis Charges for 05-19-21      42.30
 05/19/2021   RE        ( 2 @0.10 PER PG)                            0.20
 05/19/2021   RE        ( 69 @0.10 PER PG)                           6.90
 05/19/2021   RE        ( 1 @0.10 PER PG)                            0.10
 05/19/2021   RE        ( 1 @0.10 PER PG)                            0.10
 05/19/2021   RE        ( 6 @0.10 PER PG)                            0.60
 05/19/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                  0.40
Pachulski Stang Ziehl & Jones LLP                       Page: 117
Highland Capital Management LP                          Invoice 127958
36027 - 00002                                           May 31, 2021

 05/19/2021   RE2       SCAN/COPY ( 31 @0.10 PER PG)        3.10
 05/19/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 05/19/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 05/19/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)        1.70
 05/19/2021   RE2       SCAN/COPY ( 58 @0.10 PER PG)        5.80
 05/19/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)        1.00
 05/19/2021   RE2       SCAN/COPY ( 72 @0.10 PER PG)        7.20
 05/19/2021   RE2       SCAN/COPY ( 37 @0.10 PER PG)        3.70
 05/19/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)        1.30
 05/19/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)        2.00
 05/19/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)        1.70
 05/19/2021   RE2       SCAN/COPY ( 227 @0.10 PER PG)      22.70
 05/19/2021   RE2       SCAN/COPY ( 251 @0.10 PER PG)      25.10
 05/19/2021   RE2       SCAN/COPY ( 40 @0.10 PER PG)        4.00
 05/19/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)        1.00
 05/19/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)         0.40
 05/19/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 05/19/2021   RE2       SCAN/COPY ( 23 @0.10 PER PG)        2.30
 05/19/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 05/19/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)        1.80
 05/19/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 05/19/2021   RE2       SCAN/COPY ( 259 @0.10 PER PG)      25.90
 05/19/2021   RE2       SCAN/COPY ( 283 @0.10 PER PG)      28.30
 05/19/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)        1.80
 05/19/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 05/19/2021   RE2       SCAN/COPY ( 29 @0.10 PER PG)        2.90
 05/19/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)        3.60
 05/19/2021   RE2       SCAN/COPY ( 66 @0.10 PER PG)        6.60
 05/19/2021   RE2       SCAN/COPY ( 47 @0.10 PER PG)        4.70
 05/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
 05/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
 05/19/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)         0.40
 05/19/2021   RE2       SCAN/COPY ( 865 @0.10 PER PG)      86.50
 05/19/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)        3.60
Pachulski Stang Ziehl & Jones LLP                                                   Page: 118
Highland Capital Management LP                                                      Invoice 127958
36027 - 00002                                                                       May 31, 2021


 05/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 05/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 05/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 05/19/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 05/19/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90
 05/19/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90
 05/19/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50
 05/19/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50
 05/19/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00
 05/19/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                     0.70
 05/19/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                    3.20
 05/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 05/19/2021   RE2       SCAN/COPY ( 1628 @0.10 PER PG)                                162.80
 05/19/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 05/19/2021   RE2       SCAN/COPY ( 65 @0.10 PER PG)                                    6.50
 05/19/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50
 05/20/2021   LN        36027.00002 Lexis Charges for 05-20-21                         47.63
 05/20/2021   LN        36027.00002 Lexis Charges for 05-20-21                         19.58
 05/20/2021   LN        36027.00002 Lexis Charges for 05-20-21                        116.53
 05/20/2021   LN        36027.00002 Lexis Charges for 05-20-21                         36.81
 05/20/2021   LN        36027.00002 Lexis Charges for 05-20-21                         42.30
 05/20/2021   RE        ( 1 @0.10 PER PG)                                               0.10
 05/20/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30
 05/20/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00
 05/20/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                    2.20
 05/20/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 05/21/2021   LN        36027.00002 Lexis Charges for 05-21-21                         42.30
 05/21/2021   RE        ( 14 @0.10 PER PG)                                              1.40
 05/21/2021   RE        ( 1 @0.10 PER PG)                                               0.10
 05/21/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 05/22/2021   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                    3.70
 05/24/2021   AS        Attorney Service [E107] Nationwide Legal, Inv. 30470, JNP      42.95
 05/24/2021   LN        36027.00002 Lexis Charges for 05-24-21                          6.81
Pachulski Stang Ziehl & Jones LLP                                Page: 119
Highland Capital Management LP                                   Invoice 127958
36027 - 00002                                                    May 31, 2021

 05/24/2021   LN        36027.00002 Lexis Charges for 05-24-21      42.30
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                  0.60
 05/24/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)                 2.80
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                  0.60
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                  0.60
 05/24/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                  0.50
 05/24/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                  0.70
 05/24/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                 1.40
 05/24/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                  0.20
 05/24/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/24/2021   RE2       SCAN/COPY ( 114 @0.10 PER PG)               11.40
 05/24/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                 1.00
 05/24/2021   RE2       SCAN/COPY ( 33 @0.10 PER PG)                 3.30
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                  0.60
 05/24/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                 1.00
 05/24/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)                  0.70
 05/24/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                 1.20
 05/24/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                  0.30
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                  0.40
 05/24/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/24/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/24/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                 1.00
 05/24/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                  0.50
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                  0.40
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                  0.40
 05/24/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                  0.50
 05/24/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                 1.20
 05/24/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                 1.30
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                  0.60
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)                  0.60
 05/24/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)                 1.00
 05/24/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                 1.30
 05/24/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                  0.80
 05/24/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)                 1.70
Pachulski Stang Ziehl & Jones LLP                       Page: 120
Highland Capital Management LP                          Invoice 127958
36027 - 00002                                           May 31, 2021


 05/24/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)        1.90
 05/24/2021   RE2       SCAN/COPY ( 18 @0.10 PER PG)        1.80
 05/24/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
 05/24/2021   RE2       SCAN/COPY ( 25 @0.10 PER PG)        2.50
 05/24/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)        2.00
 05/24/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)        2.10
 05/24/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 05/24/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)        3.20
 05/24/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 05/24/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)        1.50
 05/24/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)         0.80
 05/24/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 05/24/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 05/24/2021   RE2       SCAN/COPY ( 114 @0.10 PER PG)      11.40
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)         0.40
 05/24/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 05/24/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)        2.80
 05/24/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)        1.90
 05/24/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 05/24/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)         0.70
 05/24/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)        1.40
 05/24/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 05/24/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 05/24/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 05/24/2021   RE2       SCAN/COPY ( 17 @0.10 PER PG)        1.70
 05/24/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)         0.40
 05/24/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)         0.40
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)         0.40
 05/24/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 05/24/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)         0.80
 05/24/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
Pachulski Stang Ziehl & Jones LLP                       Page: 121
Highland Capital Management LP                          Invoice 127958
36027 - 00002                                           May 31, 2021

 05/24/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
 05/24/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)        3.20
 05/24/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)         0.30
 05/24/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)         0.90
 05/24/2021   RE2       SCAN/COPY ( 146 @0.10 PER PG)      14.60
 05/24/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
 05/24/2021   RE2       SCAN/COPY ( 53 @0.10 PER PG)        5.30
 05/24/2021   RE2       SCAN/COPY ( 590 @0.10 PER PG)      59.00
 05/24/2021   RE2       SCAN/COPY ( 298 @0.10 PER PG)      29.80
 05/24/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)        2.00
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)         0.60
 05/24/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)         0.70
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)         0.60
 05/24/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)        1.10
 05/24/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)         0.80
 05/24/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)         0.80
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)         0.60
 05/24/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)         0.70
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)         0.40
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)         0.40
 05/24/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)        1.40
 05/24/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)        1.20
 05/24/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)         0.80
 05/24/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)         0.50
 05/24/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)         0.20
 05/24/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)        1.10
 05/24/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)        1.10
 05/24/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)         0.80
 05/24/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)         0.70
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)         0.60
 05/24/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)        1.00
 05/24/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)        1.40
 05/24/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)        1.00
 05/24/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)        1.00
Pachulski Stang Ziehl & Jones LLP                      Page: 122
Highland Capital Management LP                         Invoice 127958
36027 - 00002                                          May 31, 2021


 05/24/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)        0.20
 05/24/2021   RE2       SCAN/COPY ( 33 @0.10 PER PG)       3.30
 05/24/2021   RE2       SCAN/COPY ( 32 @0.10 PER PG)       3.20
 05/24/2021   RE2       SCAN/COPY ( 9 @0.10 PER PG)        0.90
 05/24/2021   RE2       SCAN/COPY ( 31 @0.10 PER PG)       3.10
 05/24/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)       1.00
 05/24/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)        0.70
 05/24/2021   RE2       SCAN/COPY ( 28 @0.10 PER PG)       2.80
 05/24/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)        0.50
 05/24/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)        0.30
 05/24/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)        0.20
 05/24/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)       1.10
 05/24/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)       1.10
 05/24/2021   RE2       SCAN/COPY ( 11 @0.10 PER PG)       1.10
 05/24/2021   RE2       SCAN/COPY ( 7 @0.10 PER PG)        0.70
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)        0.60
 05/24/2021   RE2       SCAN/COPY ( 6 @0.10 PER PG)        0.60
 05/24/2021   RE2       SCAN/COPY ( 20 @0.10 PER PG)       2.00
 05/24/2021   RE2       SCAN/COPY ( 16 @0.10 PER PG)       1.60
 05/24/2021   RE2       SCAN/COPY ( 40 @0.10 PER PG)       4.00
 05/24/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)       1.20
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)        0.40
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)        0.40
 05/24/2021   RE2       SCAN/COPY ( 36 @0.10 PER PG)       3.60
 05/24/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)       2.20
 05/24/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)        0.20
 05/24/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)       1.20
 05/24/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)       2.10
 05/24/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)       2.70
 05/24/2021   RE2       SCAN/COPY ( 31 @0.10 PER PG)       3.10
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)        0.40
 05/24/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)        0.20
 05/24/2021   RE2       SCAN/COPY ( 10 @0.10 PER PG)       1.00
Pachulski Stang Ziehl & Jones LLP                                                   Page: 123
Highland Capital Management LP                                                      Invoice 127958
36027 - 00002                                                                       May 31, 2021

 05/24/2021   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80
 05/24/2021   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30
 05/24/2021   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50
 05/24/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 05/24/2021   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                    4.20
 05/24/2021   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10
 05/24/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 05/24/2021   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 05/24/2021   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
 05/24/2021   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90
 05/24/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40
 05/24/2021   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40
 05/24/2021   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
 05/24/2021   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
 05/24/2021   TR        Transcript [E116] TSG Reporting, Inv. 2048683 , JAM         1,003.50
 05/25/2021   AS        Attorney Service [E107] Nationwide Legal, Inv. 30470, JNP      45.50
 05/25/2021   BB        36027.00002 Bloomberg Charges through 05-25-21                936.40
 05/25/2021   LN        36027.00002 Lexis Charges for 05-25-21                         49.99
 05/25/2021   LN        36027.00002 Lexis Charges for 05-25-21                         42.30
 05/25/2021   RE        ( 2 @0.10 PER PG)                                               0.20
 05/25/2021   RE        ( 1 @0.10 PER PG)                                               0.10
 05/25/2021   RE        ( 7 @0.10 PER PG)                                               0.70
 05/25/2021   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                    4.60
 05/26/2021   LN        36027.00002 Lexis Charges for 05-26-21                          6.52
 05/26/2021   LN        36027.00002 Lexis Charges for 05-26-21                         42.30
 05/26/2021   RE        ( 5 @0.10 PER PG)                                               0.50
 05/26/2021   RE        ( 2 @0.10 PER PG)                                               0.20
 05/26/2021   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                    2.70
 05/26/2021   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                    2.20
 05/26/2021   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40
 05/26/2021   RE2       SCAN/COPY ( 78 @0.10 PER PG)                                    7.80
 05/27/2021   BM        Business Meal [E111] Potbelly Sandwich Shop, working           30.10
                        meal, BEL
 05/27/2021   LN        36027.00002 Lexis Charges for 05-27-21                         42.30
Pachulski Stang Ziehl & Jones LLP                                                Page: 124
Highland Capital Management LP                                                   Invoice 127958
36027 - 00002                                                                    May 31, 2021

 05/27/2021   RE        ( 2 @0.10 PER PG)                                             0.20
 05/28/2021   LN        36027.00002 Lexis Charges for 05-28-21                       42.30
 05/28/2021   RE        ( 2 @0.10 PER PG)                                             0.20
 05/28/2021   RE2       SCAN/COPY ( 132 @0.10 PER PG)                                13.20
 05/28/2021   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
 05/28/2021   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                  4.60
 05/28/2021   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                  2.40
 05/28/2021   TR        Transcript [E116] TSG Reporting, Inv. 2049505, JAM        2,353.80
 05/29/2021   FE        36027.00002 FedEx Charges for 05-29-21                       21.47
 05/29/2021   FE        36027.00002 FedEx Charges for 05-29-21                       18.49
 05/29/2021   FE        36027.00002 FedEx Charges for 05-29-21                       18.49
 05/31/2021   OS        Everlaw, Inv. 40902, Highland Capital Management LP       4,092.00
                        database for the month of May
 05/31/2021   PAC       Pacer - Court Research                                      890.40

   Total Expenses for this Matter                                             $28,644.71
Pachulski Stang Ziehl & Jones LLP                                                         Page: 125
Highland Capital Management LP                                                            Invoice 127958
36027 - 00002                                                                             May 31, 2021


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        05/31/2021

Total Fees                                                                                         $1,603,754.00

Total Expenses                                                                                             28,644.71

Total Due on Current Invoice                                                                       $1,632,398.71

  Outstanding Balance from prior invoices as of        05/31/2021          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed             Balance Due
 126769                  12/31/2020              $1,046,024.00            $4,130.90                  $210,529.30

 127125                  01/31/2021              $2,557,604.00          $32,906.65                   $511,520.80

 127314                  02/28/2021              $1,358,786.50          $21,401.29                   $271,757.30

 127522                  03/31/2021              $1,277,710.00          $13,687.50                   $255,542.00

 127680                  04/30/2021              $1,286,897.00            $8,173.58                $1,295,070.58

             Total Amount Due on Current and Prior Invoices:                                        $4,176,818.69
